\
AO 106 (SDNY Rev. 01/17) Application for a Search Warrant’

UNITED STATES DISTRICT CoURT

for the
Southern District of New York

l§eMAG 2%8

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

Loews Regency Hotel, 540 Parl< Avenue, Room
1628

APPLICATION FOR A SEARCH AND SEIZURE WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search Warrant and state under
penalty of perjury that I have reason to believe that on the following person 0r property (z'denzz']j) the person or describe the
property to be searched and give its location):

Loews Regency Hotel, 540 Park Avenue, Room 1628, a Suite that Encompasses Rooms 1628, 1629, and 1630 New York, NeW York 10065

 

 

77 locate'd'in‘thew_"`»$€)uthern~ Districtof NeW York . , there is now`,concealed (z'denti]j) the

person or describe the property to be seized)l

See Attached Affidavit and its Attachment A

The basis for the search under Fed R. Crim. P. 41 (c) is (cheek one er mere):
lit/evidence of a crime;
l'El/<;ontraband, fruits of crime, or other items illegally possessed;
Q”’}p’roperty designed for use, intended for use, or used in committing a crime;
l:l a person to be arrested or a person Who is unlawfully restrained

The search is related to a violation of:

Code Secti'on(s) Ojj‘ense Descrz`ption(s)

18 USC 371,'1005, 1014, 1343, Conspiracy, false bank entries, false statements to a financial
1344' 52 USC 30116 and 30109 institution, Wire fraud, bank fraud, and illegal campaign contributions

The application is based on these facts:
See Attached Affidavit and its Attachment A

ij Continued on the attached sheet.

ij Delayed notice of 30 days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of Which is set forth on the attached sheet.

 

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" l

Sworn to before me and signed in my presence. }'” l .

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b‘/ Judgej,’s)"sign`a;ture 1 :

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Cityendstete; NewYori<,NY moretti H€v» 7 9\*¥¥¥9»*`__;“$’

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Prz`nte name and tit`le"?‘ " `

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

In the Matter of the Application of the United TO BE FILED UNDER SEAL
States of Arnerica for a Search and Seizure

Warrant for the Premises Known and Described Agent Affidaw`t in Support of
as Loews Regency Hotel, 540 Park Avenue, Application for Search and Seizure
Room 1628, a Suite that Encompasses Rooms Warrant

1628, 1629, and 1630 New York, New York
10065, and Any Closed Containers/Items
Contained Therein

Reference NO. 2018R00127

 

 

SOUTHERN DISTRICT OF NEW YORK) ss.:

m_ Special Agent.,Federal Bureau of Investigation, being duly sworn, ,,

deposes and says:

I. Introduction

A. Affiant

 

2.4 On or about April 8, 2018, the Honorable Henry B. Pitman, United States
Magistrate Judge, issued a search and seizure Warrant for the premises known and described as
Loews Regency Hotel, 540 Park Avenue, Room 1728, New York, New York 10065, and Any 4
Closed Containers/Iterns Contained Therein. The warrant and my supporting affidavit (the
“Affldavit”) are appended hereto. The Affldavit is incorporated herein by reference in its entirety

as Exhibit A.

2017.08.02

 

3 . On or about April 9, 2018, based upon a conversation with another law enforcement
agent who spoke to an employee of Loews Regency Hotel, l learned that Michael Cohen is in fact
staying in Room 1628 (in a suite encompassing rooms 1628, 1629, and 1630) (collectively, “Room
1628”), not Room 1728. Accordingly, l respectfully submit the attached amended warrant
pursuant to Rule 41 of the Federal Rules of Criminal Procedure for the following Subj ect Premises:
Loews l{egency Hotel, 540 Park Avenue, Room 1628, New York, New York 10065, and Any
Closed Containers/Items Contained Therein (“Subject Premises-4”). For the reasons detailed in

the Affidavit and herein, l believe that there is probable cause to believe that Subject Premises-4

**contains_evidenceifr'uits;andn`nstrumentalitieseof"violations~ofel*S*U:S-.€~r§§~1005;(false~ban1e~~ ' ~

entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344 (bank ii'aud)
(collectively, the “Bank Fraud Offenses”), 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1)
(illegal campaign contributions) (the “Campaign Finance Offenses”), and 18 U.S.C. §§ 371
(conspiracy as it pertains to the other Subject Offenses) (collectively, the “Subject Offenses”).

4. Based on the foregoing, l respectfully request the court to issue a warrant to seize
the items and information specified in Attachment A to this affidavit and to the Search and Seizure

Warrant.

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5. in light of the confidential nature of the continuing investigation, I respectfully
request that this affidavit and all papers submitted herewith be maintained under seal until the

Court orders otherwise.

 

Special Agent
FBI

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Sworn to before me on ;’F’;/
9th day of April, 2018

 

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HoN. HENRtY B. PI'I‘MAN
UNrTED sTATEs MAGISTRATE JUDGE

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ATTACHlV[ENT A
I.. Premises to be Searched_Subject Premises-A

The premises to be searched (“Subject Premises-4”) are described as folloWs, and include
electronic devices, and all locked and closed containers found therein:

Room 1628 (a suite encompassing rooms 1628, 1629, and 1630) (collectively, “Room
1628”), located inside the Loews Regency Hotel at 540 Parlc Avenue, New York, New Yorl<
10065. The building is a luxury hotel located on Parlc Avenue and 6lst Street. Subject Premises-
4 is located on the 16th floor of the hotel.

II. Items to Be Seized
A. Evidence, Fruits, and Instrumentalities of the Subject Offenses

4 Ihe items to be seized nom Subject Premises-A are evidence, ii'uits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy, as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(banlc naud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign
contributions) (the “Subj ect Offenses”), described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated With him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including to _md/or entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or nom Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates.

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, nom January 1,
2013 to the present.

g. Evidence relating to agreements, loans, and/or financial transactions between

Cohen and_and/or entities controlled by _

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_` and any payments by-to Cohen, nom January

l, 2012 to the present.

o. Communications with others, including-and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or fmances, from January 1, 2013 to the
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated With an account at.a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, nom January 1, 2013 to the present

q. Evidence of Cohen’s intent as it relates to the Subject Off`enses under investigation

B. Search and Seizure of Electronically Stored Information

The items to be seized nom Subject Premises-4 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section II.A of this Attachment above, including, but not limited to, a MacBook Pro,
any other desktop and laptop computers, any Apple iPhone or other cellphone or smartphone

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belonging to Michael Cohen or in his possession, an Apple iPad Mini, portable hard drives, disk
drives, thumb drives, and personal digital assistants. In lieu of seizing any such computer devices
or storage media, this warrant also authorizes the copying of such devices or media for later review.

The items to be seized from Subject Premises-4 also include:

1. Any items or records needed to access the data stored on any seized or copied
computer devices or storage media, including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information.

2. Any items or records that may facilitate a forensic examination of the computer
devices or storage media, including any hardware or software manuals or other information
concerning the configuration of the seized or copied computer devices or storage media.

3. Any evidence concerning the identities or locations of those persons with access to,
control over, or ownership of the seized or copied computer devices or storage media.

 

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive
to the warrant

ln conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

o surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent tiles);

0 opening or cursorin reading the f1rst few “pages” of such files in order to determine
their precise contents;

o scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

o performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related

to the subject matter of the investigation; and

o reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

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Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
lI.A and II.B of this Attachment However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its
contents and to locate all data responsive to the Warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant to "
established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to
address potential privileges

 

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UNITED STATES DISTRICT COURT
SOU`I'H_ERN DISTRICT OF NEW YORK

________________________________________________________________ _.

 

in the Meaer er the Applieecion of the United § To BE man emma sEAL
States of America for a Search and Seizure §

Warrant for the Premises Known and Deserihecl § Agent Aftidavit in Suppurt of
as (1) 502 Park Avenue, _\Iew Applicatioo for Searcb and Seiznre
York, New York 10022, (2) Michael Cohen’s § Warrant

Ofiice at 30 Roekefeller Plaza, 23rd Floor, New § l
York, New York 10112, (3) Safe Deposit Bo:t #
Located at the TD Bauk Branch at 500 Park §

Avenue, New York, New Yorlr 10019, and (4) ` l
_ _ _**_Ijo"ews Regeney Hote1"540 Parlc Avenue; Room-:__ ------- _ w-- _

1728 New York, New Yorlc 10065, and Any§

Closed Containersfltems Contained Thereiu and: v

the Elecironic Devices Known and Described as§

(I) an Apple i]?hone with Phcne Number _§

_and (2) an Apple iPhone with Phone

Nurnber ~

Reference No. 2018R00127

 

SOUI'HERN DISTRICT DF NEW YORK`) ss.:

_Speeial Agent, Federal Bu:reau of Investigation, being duly sworn,

deposes and says:

 

]`.. Introduction
A. Affiant

 

2. I make this Afi;idavit in support cf an application pursuant to Rule 41 ofthe Federal

Rules of Crirninal Prccedure for a warrant to search the premises specified below (the “Subject

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Premises_”) and the electronic devices specified below (the “Subject Devices”) for, and to seize,
the items and information described in Attachments A, B, C, D, E and F. This affidavit is based
upon my personal knowledge; my review of documents and other evidence; my conversations With
other law enforcement personnel; and my training experience and advice received concerning the
use of electronic devices in criminal activity and the forensic analysis of electronically stored
information (“ESI”). Because this affidavit is being submitted for the limited purpose of

_esl'abl`ishi`ng probable cause; it‘d'oes~not include ali the;facts‘that I~ have learned- during-the-course
of my investigation Where the contents of documents and the actions, statements, and
conversations of others are reported herein, they are reported in substance and in part, except where
otherwise indicated

B. The Subject Premises and Subject Devices

3. Subject Premises-l, Subject Premises-Z, Subject Premises-3 and Subject Preinises-
4 (co]lectively_, the “Subj ect Prernises”) are particularly described as:
a. Subject Premises-l is Apartment-!ocated inside the building at 502
Park Avenue, New York, New York 10022. The building located at 502 Park Avenue is a 32»
floor brick residential building Subj ect Premises-l is located on the-floor of the building
Based on my review of New Yorlc City property records, lhave learned that Michael Cohen and
Laura Cohen own Subject Premises-l.l Additionally, as described helow, Subject Premises-l is
Cohen’s full-time residence
b. Subject Premises-2 is an office located on the 23rd floor of the building at

30 Rockefeller Plaza, New York, New York 10112. The building located at 30 Rockefelier Plaza

 

1 As noted inji‘a, I have learned that on or about October 28, 2015, Cohen transferred Subject
Premises-l into a trust.

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is a 615-floor office building that spans the entire block between Sixth Avenue and Rockefeller
Plaza. Subject Prernises-Z is located on the 23rd floor of the building inside of the offices of the
law firm Squire Patton Boggs. The office is assigned to Michael Cohen. As described below,
Michael Cohen works and conducts meetings at Subj ect Prernises-Z.

e. subject ri-emneS-s is a safety deposit box located voice the rn seek

branch location at 5 00 Park Avenue, New York, New York 10019. Based on my review of records

' "_rrfaintained by"I’BBank,_i“have learned thatthe safety'deposit box is'approxirnately'dveinches by-

ten inches in size, and is marked as box - The safety deposit box is in the name of Michael
Cohen and Laura Cohen.

d. Subject Premises~4 is Room 1728 located inside the Loews Regency Hotel
at 540 Parlc Avenue, New York, New York 10065. The building is a luxury hotel located on Park
Avenue and 6 lst Street. Subj ect Premises-4 is located on the 17th floor of the hotel1 Based on my
review of emails obtained pursuant to search warrants described below, l have learned that on or
about ]anuary 5, 2018, Cohen received an email from an employee of Loews Regency, which
included a price quote for a long-term stay suite based on a three-month stay ii'om January 8 to
April B, 2018.2 On or about January 29, 2018, Cohen sent.an email to a Loews Regency employee,
stating, in pertinent part: “I just spoke to my wife and she has scheduled the move for Thursday.
Please mark down that we will be taking possession on Thursday, February lst." Based on my
review of cell phone location data, l have learned that, over the past 24 hours, two cellular phones

used by Cohen have been located in the vicinity of Subject Premises-4. In particular, on or about

 

2 Although the quoted price contemplated a three-month stay from January 8 to April 3, it appears
that Cohen did not move in until February 1, and as of today, April 8, celiphone location
information demonstrates that Cohen’s cellular phones are in still in the vicinity of Subject
Premises-d.

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April B, 2018, law enforcement agents using a “triggerfish” device identified Room 1728 as the
room within the hotel in which the Subj ect Devices are most likely present3
e. Therefore, I believe that Cohen is temporarily residing in Subject
Premises-4-
4. Subject Device-l and Subject Device-2 (collectively, the “Subject Devices” are

particularly described as:

"_ “ ._SubjectDevice:l'is'an'AppleiPhone serviced'by-A'P&T-with-the-telephonenumber- -

- Based on my review of records maintained by AT&T, 1 have learned that Subj ect
Device-l is subscribed to Michael Cohen, Based on my review of cellphone location information
maintained by AT&T, l have learned that Subject Device-l is presently located in the Southern
District ofNew York.

b. Subject Device-2 is an Apple iPhone serviced by AT&T with the telephone number

_Based on my review of records maintained by AT&'I`, I have learned that Subject
Device-2 is subscribed to Michael Cohen, Based on my review of cellphone location information
maintained by AT&T, l have learned that Subject Devioe-Z is presently located in the Southetn
District ofNew York.

c. Based on my training, experience, and research, and from consulting the
manufacturer’s l and service providers’ advertisements and product technical specifications
available online, l know that the Subject Devices have capabilities that allow them to, among other

things: make and receive telephone calls; save and store contact infonnation; send and receive

 

3 Based on my conversations with these agents, I understand that it is also possible that the Subject
Devices are one floor below, in Room 1628. However, as noted, l understand that Cohen received
a price quote for a long-term stay suite and is residing there with his family. Based on my
conversations with FBI agents conducting surveillance, I understand that Room 1728 appears to
be a suite, whereas Room 1628 appears to be a standard room.

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suitcase

 

_____ __violations of 'l-I}~U:S:(l+§§-lOi)S--(t`alse-banlc~entries),- 1014 (false~statements-to--a--Enancial

emails and text messages,' download and run mobile telephone applications, including encrypted
call and messaging application such as WhatsApp, Signal, and Dust; take, send, and receive
pictures and videos; save and store notes and passwords; and store documents

C. The Subject Offenses

5. For the reasons detailed belowJ I believe that there is probable cause to believe that

the Subject Prernises and Subject Devices contain evidence, fruits, and instrtnnentalities of

institution), 1343 (wire fraud), and 1344 (banlr fraud) (collectively, the “Bank Fraud Ot`fenses”),
52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(l) (illegal campaign contributions) (the
“Campaign Finance Offenses”), and 18 U.S.C. §§ 371 (conspiracy as it pertains to the other
Subject 0ffenses) (ccllectively, the *‘Subject Ofi`enses”).

D. Prior Applications
6. The FBI and the United States Attorney’s Ofiice for the Southern District ofNew

Yorlc (“USAO”) have been investigating several courses of criminal conduct by Michael Cohen,
Cohen is an attorney Who currently holds himself out as the personal attorney for President Donald
Trnmp, and who previously served for over a decade as an executive in the 'I`rump Organization,
an international conglomerate with real estate and other holdings.

7. ln connection with an investigation then being conducted by the Office of the
Special Counsel (“SCO”), the FBI sought and obtained nom the I-lonorable Beryl A. Howell, Chiet`
United States District Judge for the Distn'ct cf Columbia, three search warrants for entails and
other content information associated with two email accounts used by Cohen, and one search

warrant for stored content associated with an iCloud account used by Cohen. Specitica]ly:

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a. On or about iuiy 18, 201?, the FBI sought and obtained a search warrant for
emails in the account -@gmail.com (the “Cohcn Gmail Aocount”) sent or received
between .ianuary 1, 2016 and July 18, 2017 (the “First Cohen Gmail Warrant”).

b. On or about August B, 2017, the FBI sought and obtained a search warrant
for content stored in the iCloud account associated with Apple ID _@gniail.com (the

“Cohen iCloud Account” and the “Cohen iCloud Warrant”).

 

warrant for emails in the Cohen Gmail Account sent or received between June la 2015 and
November 13, 2017 (the “Second Cohen Gmail Warrant”).

d. 011 or about November 13, 2017, the FBI sought and obtained a search
warrant for emails in the account __ (the “Cohen MDCPC Account”) sent or
received between the opening ofthe Cohen MDCPC Account4 and November 13, 201? (the “First
Cohen MDCPC Warrant”).

8. The SCO has since referred certain aspects of its investigation into Cohen to the
USAO, which is working with the FBI’s New York Field OE['ice. As part cf that referral, on or
about February 8, 2018, the SCO provided the USAO with all non-privileged emails and other
content information obtained pursuant to the First Cohen Gmail Warrant, Second Cohen Gmaii

Warrant, and Cohen MDCPC Warrant On or about March 7, 2018, the SCO provided the USAO

 

4 Based on my review of this warrant and the affidavit in support of it, I know that the warrant did
not specify a time period, but the affidavit indicated that, pursuant to court crder, the service
provider had provided non-content information for the Cohen MDCPC Account that indicated that
the account contained emails from the approximate period of March 2017r through the date of the
warrant

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c. - On~or-about_i\lovember -1-3,-20-1-7,- the -FBI soughtand~obtained~a-search---

_ ___ ____,F.._,=,,..,,___..

with all non-privileged content obtained pursuant to the Cohen iCloud Warrant5 A filter team
working with the SCO had previously reviewed the content produced pursuant to these warrants
for privilege

9. On or about February 28, 201 8, the USAO sought and obtained search Warrants for
emails in the Cohen Gmail Account and the Cohen MDCPC Account, among other accounts, sent

or received between Novemher 14, 201 ? and February 28, 2018 (the “Third Cohen Gmail Warrant”

and tl'E'“Second*Colien"MDCPC'Wan~ant”]. The'eontcnt produced~pursuant-to-these-warrantsis_ --

subject to an ongoing review for privilege by an SDNY filter team.‘5

10. The emails search warrants described above are referred to collectively as the
“C chen Email Warrants.”

11. On or about April ?, 2018, the USAO and FBI sought and obtained a warrant for
prospective and historical cellphone location information for Subject Device-l and Subject
Device-Z. 011 or about April 8, 201 B, the USAO and FBI sought and obtained authority to employ
an electronic technique, commonly known as a “h'iggertisii,” to determine the location of Subj ect
Dcvice-l and Subject Device-Z. l

II. Probable Cause
A. Overview

12. The United States Attorney’s Oiiice for the Southern District ofNew Yorlc and FBI
are investigaring, among other things, schemes by Target Subject Michael Cohen (a) to defraud

multiple banks from in or about 2016 up to and including the present, and (b) to make an illegal

 

5 The SCO had previously provided a subset of this non-privileged content on or about February
2, 201 8-

5 On or about February 28, 2018 and April 'i', 2018, the USA() and FBI sought and obtained Rule
41 search warrants authorizing the search of emails and content obtained pursuant to previously
issued warrants for additional subject offenses

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cummins

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campaign contribution in October 2016 to then~presidential candidate Donald Trump. As noted,
Cohen is an attorney who currently holds himself out as the personal attomey for President Donald
Trump, and who previously served for over a decade as an executive in the Trump Organization,
an international conglomerate with real estate and other holdings

13. The investigation has revealed that Cohen has made affirmative misrepresentations

in and omitted material mformarion nom financial statements and other disclosures that Cohen

"prov'rded_to“multiple"banlcs'in_connection with'-a-transaetion- -intended-to*relieve-Gohen- cf_

approximately $22 million in debt he owed on taxi medallion loans from the banks. As set forth
in detail bclow, in these financial statements and in his oral and other written statements to these
banlcs, Cohen appears to have (i) intentionally misrepresented his ability to pay cash by failing to
disclose cash he began receiving in 2017 from new consulting work; (ii] significantly understated
his total holdings of cash and cash equivalents; (iii) failed to disclose tens of thousands of dollars

he received in monthly interest income, and (iv) failed to inform the banks from which he was

racing debt relief that he had agreed to marc a $s.s million cash payment to a third parry, -

-in connection with -1cc[uisition ofthe taxi medallions securing Cohen’s

debt. By making these misrepresentations and material omissions, Cohen avoided making

monthly payments on his loans, and attempted to daudulently induce the banks to relieve him of

certain repayment obligations and personal guarantees that Coha and his wife had signed.

 

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15. Based on my review of emails obtained from the Cohen Email Warra;nts,

information obtained pursuant to the iCloud Warrant, and documents produced pursuant to

subpoenas, as well as my review of public sources, I have learned that Cohen has used the Subject

*Premises to~(a)`receive"documentsrelated-to-thc nansaetion-intended-to-relieve- Cohen-of-his-'taiei_~

medallion debt, (b) receive documents andlor conduct meetings related to his consulting world (c)
receive documents and!or conduct meetings relating to his finances and assets, some ofwhich, as
noted above and as detailed hirther herein, he has concealed from the banks in connection with the
remanding di his cain medallion debt (d) _
- and (c) house and operate electronic devices that were utilized in connection with, among
other things, the taxi medallion tl'ansaction, Cohen’s consulting work, and l_
Speciiically, as described below, Subject Premises~l likely contains evidence concerning Cohen’s
taxi medallion loans, his negotiations With banks, his personal iinances, his consulting worlr, his
tax returns, and_, as well as electronic devices containing such evidence,
all of which constitute or contain evidence of the Subject Oft`enses. Additionally, as described
belo\_v, Subject Prenlises-Z likely contains evidence relating to Cohen’s consulting work, his
finances, and_ as Well as electronic devices containing such evidence.
Subject Premises~§, as described below, likely contains evidence relating to Cohen’s assets and
iinances, including assets that may not have been disclosed to banks in connection With the

refinancing of Cohen’s taxi medallion debt or documents relating to such assets, and documents

or evidence related to _. Subject Premises-4 likely contains electronic

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devices, including Subject Device-l and Subj ect Device-E, Whieh themselves contain evidence of
the Subject Oft`enses, including concerning Cohen’s taxi medallion loans, his negotiations with
banlts, his personal iinances, his consulting work, his tax returns, and _
Accordingly, and as set forth in more detail below, there is probable cause to believe that the
Subject Premises and Subj ect Devices Will include evidence of the Subject Oft.`enses.

B. Prubahle Cause Regarding Subjeets’ Cornmission of the Sn hject Offenses7

 

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(i) Cohen ’s Statemenas to Sterlr'ng Notional Bartk

lti. As set forth in detail belew, in 2014, Cohen, through LLCs controlled by him and
his wife, Laura Cohen, entered into a series of loans from Sterling National Bault (“Sterling”) and
the Meh'ose Credit Union (“Melrose"), secured by taxi rnedalliensJ for approximately $20 million.
Though entered into by LLCs, the loans were also secured by personal guarantees in the names oi`
both Cohen and his wife. Over titne, as the taxi industry weakened and the medallions lost value,
Cohen sought to renegotiate the terms of those loans andr'or relieve himself ii'om their obligations,
including the personal guarantees As part of that effort, Cohen made a series of representations
to Sterling and Melrose about his net worth, assets, available cash and income, among other things.
Speciiically, based on my review of records maintained by Sterling and Melrose, and public
sources concerning the taxi industry and the value oftaxi medallions, as well as my participation

in interviews with a Sterling executive vice-president (the “Sterling Employee-i”) and two other

 

7 In the following recitation of probable cause, I h~equently refer to phone calls or text messages
involving Cohen. The text messages described herein as sent or received by Cohen were all sent
or received from the telephone numbers associated with Subject Device-l or Subject Device-Z.
The vast majority of the phone calls described herein made or received by Cohen were made or
received by the telephone numbers associated with Subject Device~`l or Subject Device-Z, although
in certain limited instances Cohen used a landline or other phone.

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Stcrling employees (“Sterling Employee-Z” and “Sterling Ernployee-B”), I have learned, among
other things, the following:

a. Taxi medallions are small metal plaques affixed to taxis. Without a medallion, it
is illegal to operate a taxi in cities with medallion systems, such as New York City. Cohen and his
wife own multiple LLCs that collectively own 32 taxi medallions (each LLC owns two

medallions).g Cohen’s purchase of these New York taxi medallions was originally financed by

'_loans'li'orn €apital One“banl<,' for'which"themedallions-servedascollateralr(-'_-Iohen-was-not~a_t - `__ _

operator, and leased his medallions to a third party. 'I'hat third party made monthly payments to
Cohen, who in turn used some ot` those proceeds to make his monthly loan payments to Capital
One.

b. ln early 2014, Cohen became a customer of Sterling when he sought to refinance a
mortgage on a rental property that he owned. In or around April 2014, Cohen raised with Sterling
the prospect of refinancing his taxi medallion loans, which were then at Capital One. By in or about
September 2014, Cohen began negotiating a lending transaction with Sterling that would allow
Cohen to pay off his loans at Capital 0ne and borrow more money from the then-increase in value
of the medallions- According to Sterling Employee-I, in 2014, prior to the recent upheaval in the
taxi industry-as a result of the emergence of ride-sharing services, such as Uber~#ta.ai medallion
loans were viewed by banks and investors as safe, short term credits, as the market value of taxi
medallions was consistently rising. Consequently, taxi medallion loans-like the loans held by
Cohen-were B‘equently retinanced at increasing amounts as the value of the medallions rose.

According to Sterling Employce-l, borrowers typically cashed out the increase in the loan amount

 

3 One of these companies, Mad Dog Cab Corp., was jointly owned by Sondra Cohen, Who l
believe is Cohen ’s mother.

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and used the additional funds for other purposes Cohen appears to have followed this approach in
2014, when he agreed to refinance his medallion loans for approximately $22 million, which-
according to letters from Capital One in Stcrling’s Eles_was greater than his previous debt at
Capital One Bank ($21 million, of which $14.6 million was a line of credit to Cohen). This allowed
Cohen to cash out the proceeds from the transaction

c. Based on my review of records maintained by Sterling, l have learned that on or

_'__ahoutDecemb'er 8,'20l4,'each*of€ohen’s'sixteen taxi~rneda]lion'l;]'_-.€s entered-into'-loan-agreements ------

and promissory notes with Sterling for the principal sum of $1,3‘75,000, with repayment due on
Decer.uber S, 2016. Each loan was signed by Michael or l'_.aura Cohen, depending on Who was the
sole shareholder ofthe L-LC. The address listed l`or each of the LLCs was the address for Subj ect
Premises-i . The loans were also each secured by a security agreement dated the same day, making
the medallions collateral for the notes. To give Sterling additional security, l\/lichael and Laura
Cohen signed personal guarantees and confessions ofjudgrnent, giving Ster]ing the right to pursue
collection against the Cohens’ personal assets were their corporations to default under the loan
agreements The personal guaranty agreements stated that the LLCS had offices at the address for
Subj ect Premises-l, and contained a notice provision that stated that any notices required by the
agreements should be mailed to Subject Premises-l. in total, Sterling agreed to lend approximately
$22 million to the Cohens’ companies

d. Pursuant to participation agreements, Sterling transferred 45` percent of Cohen’s

taxi medallion debt to Mel_rose.°

 

9 Melrose, which had a business principally focused on taxi medallion loaus, is now in
conservatorship by the National Credit Union Administration (“NCUA”).

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e. In evaluating Cohen’s requested retinancing of the taxi medallions, Sterling (and
Melrose, consistent with its participation in the deal) conducted due diligence At Sterling’s
request, Cohen provided Sterling with a statement of financial condition, dated August l, 2014
(the “August 2014 Financial Statement”), which indicated that Cohen had $lDO,?40,000 in total
assets, $23,550,000 in total liabilities, and a net worth of "t$’l'?,l‘.~'lt),t)t}(l.10 From my review of a

Sterling credit memorandum, dated September 29, 2014, l know that Sterling viewed the

 

transacti&ftavorablyl¥:`eause, accou_nt‘tttgforloanpaylnents;matthewsnom-the-medal-lions-were_

projected to be positive, the value ot` the collateral (as estimated by Sterling) exceeded $42 million,
and the net worth of Cohen_who was the direct obligor under the guarantee agreements-_was
over $7? million. An internal Sterling credit and risk rating analysis report, dated October 20,
2014, recommended approval of the loans for substantially the same reasons

f. Based on my review of records maintained by Sterling and public sources, lhave
learned that over time, the collateral backing Cohen’s loans (taai medallions] lessened invaiue due
to the rise in ride-sharing companies Additionally, Cohen began Jfalling behind on loan payments
to Sterling and Melrose. 1 lmow from records maintained by Sterling and an interview with Sterling
Employee-Z that, beginning iu or around Septernber 201 5, Cohen told Sterling, in sum and
substance, that the individual leasing Cohen’s medallions had fallen behind in making payments to
Cohen, and that as a result, the monthly cash flow from his taxi medallions had been reduced,
leaving him with a shortfall of approximately $16,000 each month. For instance, l have reviewed
an email from Sterling Employee-Z, dated September 9, 2015, summaring a call with Cohen-v

which according to the email and toll records for Cohen’s cellphone occurred on September 8,

 

10 Cohen subsequently provided Sterling with a revised statement of financial condition, also
dated August l, 2014, which reported assets of $99,420,000, total liabilities of $23,550,000, and a
net worth of$75,870,000.

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2015rduring which Cohen told Sterling Employee-Z, in sum and suhstance, about his cash tlow
problems and a monthly shortfall of approximately $16,000. ln that same email, Sterling
Employee-Z commented that despite Cohen’s statements his personal financial information
“indicate[d] a strong ability to make up the difference in payments.” Coheru however, according
to Sterling Employee-Z, pushed the bank for a reduction in Cohen’s monthly payments

g. From my review of records maintained by Sterling and my participation in an

 

interview witlf Sterling Employee:?,*[‘h'ave_learned*that-Gohen- and -Sterlngmployee»Z--spoke..
again on September 28, 2015, and that during the call Cohen stated, in sum and substance, that the
individual to whom Cohen leases the medallions had again reduced monthly payments to Cohen. l
know from my review of records maintained by Sterling that between in or about September 2015
and November 2015, Sterling raised the possibility-both internally and with Cohen_of Cohen
posting his real estate holdings, personal residence, or some other collateral as additional security
for the banks11 According to these records, however, Cohen resisted these requests From my
review of loan documents and records maintained by Sterling, llmow that in or about November
2015, as a result of Cohen’s representation that he was not earning sufficient returns on his
medallions to cover monthly interest payments, Sterling and Melrose agreed to amend their loans
with Cohen by, among other things, reducing the interest rate Cohen paid to Melrose and extending
the loan maturity date to Dccember 8, 2017.

h. l know from interviews with Sterling Employee-l and Sterling Employee-Z, as well
as emails 1 have reviewed, that in or about October 2016, Cohen told Sterling Employee-l that

Cohen had a potential buyer of his taxi medallions, named _who would agree to

 

ll Based on my review of property records, I know that on or about Oetober 28', 2015, around
the time period when Sterling raised the possibility of Cohen posting his personal residence-~
Subject Premises-l--as collateral, Cohen transferred Subject Prcmises-l into atmst.

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assume Cohen’s debt with Sterling and Melrose. Based on my review of records maintained by
Sterling, as well as the interviews with Sterling Ernplo_yee~l and Sterling Elnployee-Z referenced
above, I know that by or before October 2016, Cohen had entered into negotiations to sell his sixteen
corporate taxi medallion entities to_l _
for the balance of the loans, which at the time was $21,376,000. l know from my review of records

maintained by Sterling, and my participation in an interview with Sterling Employee-Z, that as a

__ennditi'olrof the transfer‘of the-medall-ion-loans-and beeauseSterEng -was~unfamiliar_with- _

-~Sterling requested that Cohen make a substantial principal payment on the loan, of
approximately one million dollars, prior to the transfer. Cohen rejected this request initially. But
on or about January 31, 2017, Cohen told Sterling Employee-l, in sum and substance, that he would
make a one million dollar principal reduction payment in order to move forward with the medallion
transfer deal with - Indeed, in an email sent by Cohen to Sterling Employee-Z on or
about February 22, 2017, Cohen confirmed that he “agreed to pay down 1 million from the loan
amount."

i. Pursuant to the participation agreements between Sterling and Melrose, Sterling
was required to secure Melrose’s agreement to participate in the uansi`er of the taxi medallion debt
from Cohen to _ O.n or about April 17, 2017, Sterling sent a memorandum to
Meirose summarizing the terms of the proposed transaction, and noting the requirement that
Melrose agree to the terms. On or about May 2, 2017, Sterling Employee-l told _
that Mel_rose had agreed to the deal in principle, and that Sterling would be sending the parties a
term sheet shortly.

j. ln order for the banks to conduct diligence and evaluate the proposed transaction

nilly, they requested financial information ii'otn the parties On or about luna 7, 2017, Sterling

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Ernployee~l entailed Cohen to request an “updated personal financial statement,” completed
jointly with Cohen’s wife, and Cohen’s most recent federal income tax return On or about lime
8, 201'?, Cohen emailed Sterling Employce-l a Sterling personal nnancial statement form that had
been filled out by hand, which referenced a statement cf financial condition, dated May 1, 2017
(the “May 201'! Financial Statelnent”) that was also attached The May 2017 Financial Statement
included a cover letter from Cohen’s accountant - stating, in sum and substance, that
'”_ __ _th_e_infonnation' in'th'c statem'ent'cain'ofl'om'€ohen-and-that-lad-not- eeni-i-nned~its-accuracy

or completeness The May 2017 Financial Statement stated that Cohen had total assets of
$41,955,000, total liabilities of $39,130,000, and a net worth of $2,825,000. The May 2017
Financial Statenlent indicated that Cohen’s assets were comprised of $1,250,000 in eash,
$26,155,000 in closely held companies (such as the taxi medallion entities and his real estate
holdings), $3,200,000 in real estate investrnents, and his $11,000,000 personal residence12

k. Based on my review of reports of law enforcement interviews of Sterling
Employee-l, I have learned that Sterling Employee-l reviewed the May 2017 Fiuancia] Statement
with Cohen to, among other things, ven"fy its accuracy, and Sterling Employee-l asked Cohen about
specific line items on the financial statement including the cash amount, value of medallions, and
total liabilities Cohen stated to Sterling Etnployee»-l, in sum and substance, that the May 201'}l
Financial Statement was accurate

l. On or about -August 16, 201?, Sterling Employee-l emailed Cohen and l-

_, attaching a non~binding term sheet memorializing the potential transaction between

 

12 Based on my review of Cohen’s financial statements, I know that the precipitous decline in
assets ti'oru his 2014 Enancial statement to his 2017 financial statements can be explained
primarily by reported depreciation in the value of Cohen’s real estate assets and medallion
investments

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Sterling, Melrose, Cohen1 and - The tenn sheet included a cover letter addressed

to Cohen at Subject Premises-l. The parties negotiated the provisions of the term sheet and, on or

about Septernber 5, 2017, Sterling Employee~l sent ,_md Cohen a copy of the
executed term sheet. According to the tenn sheen-would borrow $20,000,000

from Sterling and Melrose, to he seemed by the medallions that -Nas to acquire from

Cohen.

_ _ '_____" '_ 'T£§F§ffdf~th§ugTe§;i]erit,_a;rcordhrgtothe'term'Sheelf;$']','255;91'3 ill'Pl'in@iPal'(-Whi@h_ _ “' "'""_

is what would remain after the $20,000,000 payment on the outstanding loan balance) would be
repaid by Cohen and the two banks, With Cohen paying fifty percent and the banks dividing the
remaining half of the balance Based on my review of an internal Sterling credit memorandum,
dated October 4, 201'?, the parties reached apreliminary agreement that Cohen Would pay $632,955
of the remaining $1,265,912 principal loan balance, and Sterling and Melrose would absorb
$357,167 and $2?5,789, respectively, in the form of charge-ofl`s. According to Sterling Employee-
l, Sterling was willing to divide the repayment of the outstanding principal balance_despite its
prior insistence that Cohen make a principal pay-down of at least one million dollars-because
Cohen represented on a telephone ca11 with Sterling Ernployee_l, in sum and substance, that he had
insufficient liquidity to pay the full outstanding principal balance As part of the agreement, Sterling
and Melrose also agreed to relieve Cohen and his wife of the personal guarantees that they made
on behalf of the LLCs. Thus, after completing the `-transaction, Cohen would no longer
have had any outstanding obligations to Sterling or Melrose.

n. Based on my review of emails sent by Sterling employees, I have learned that
because the transaction between the parties was subject to full credit tmdervn'iting by Sterling and

Melrose (as Well as Melrose’s regulators at `NCUA), in August and September 2017, Sterling

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required and requested additional financial statements and tax returns for Cohen and ‘-
for its credit underwriting process In response to Sterling’s requests, on or about September 25,
2017, Cohen emailed Sterling Employee-2 a copy of his 2016 tax return. The tax return listed
Coh_en’s mailing address as Subject Premises-l. Additionally, on or about Detober 5, 2017, Cohen
re»sent Sterling Ernployee-Z a copy of his May 2017 Financial Statement. A_ day later, on OGtober

6, 2017, Cohen emailed Sterling Employee-2 a statement of financial condition, dated September

 

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o. Lilce the May 2017 Financial Staternent, the Septernber 2017 Financial Statement
included a cover letter fi‘om-, Cohen’s accountant, stating, in sum and substance, that
the information in the statement came from Cohen, and that -1ad not confirmed its accuracy
or completeness The Septernber 2017 Financial Statement stated that Cohen had total assets of
$33,43 0,000, total liabilities of $45,630,000, and a negative net worth of $12_.200,000-13 Notably,
unlike Cohen’s May 2017 Financial Statement, the September 2017 Financial Statement
represented to Sterling that Cohen had a negative net worth. The Septernber 2017 Financial
Statement indicated that Cohen’s assets Were comprised of $1,250,000 in cash, 317,630,000 in
closely held companies (including the taxi medallion entities and his real estate holdings),14

$3,200,000 in real estate ilwestments, and his $11,000,000 personal residence (Which, for the first

 

13 Based on my review of Cohen’s financial statements, l know that this hether decline in
assets can be explained primarily by reported depreciation in the value of Cohen’s real estate assets
and medallion investments

14 Notably, the September 2017 Financial Statement valued each of Cohen’s thirty-two New

'York taxi medallions at approximately $180,187.50, which was considerably less than the
$650,000 valuation ascribed to each medallion ia are cohen~‘_rem] sheet

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timc, he indicated was held by a trust .15 The September 201? Financial Statement included assets
and liabilities not held in Cohen’s name, such as various entities associated with his taxi mcdallions
and some of his real estate investment entities

p. From my participation in an interview with Sterling Employee-.'l, and my review of
records maintained by Sterling, l have also learned that around the time Cohen provided Sterling

with these financial statements_i.e., in or around September 2017-Cohen stopped paying

_ menthly"loan payments on histaiti'n:iedallion-loansl altogether. vAccording- to Sterling-Ernployee-_

2, Cohen informed Sterling, in sum and substance, that he had insufficient funds to pay the monthly
principal and interest payments on his medallion loans. By in or about Dccemher 2017, Sterling
and Melrose had not been paid approximately $276,937.92 in monthly principal and interest
payments on the medallion loans. Based on Cohen’s financial condition as conveyed in the
Scptember 201? Financial Statement, and his delinquency in making payments to Sterling, among
other things, the hank’s credit underwriting committee determined (and memorialized in a
December 2017 memorandum) that the Cohen-`- transaction was favorable for the bank
- that is, that-would be a better borrower than Cohen.

q. 011 or about December 26, 2017, Sterling sent Cohen a demand letter requesting
the immediate receipt of past-due loan payments The demand letter was addressed to Cohen at
Subject Premises-I. On Decernber 29, 2017, Sterling sent Cohen a letter stating that he was in
default under the loans between Sterling and Cohen’s medallion corporations The notice of
default was addressed to Cohen at Subject Premises-l . Cohen did not make an immediate payment

on the loans, but instead sent an e~mail to Sterling Employee-I. on or about ]anuary 24, 2018,

 

15 Based on my review of property records maintained by the City of New York, and my
participation in an interview with-l know that in 2015, Cohen transferred his residence to
a trust. He did not disclose that transaction to -or Sterling until in or about September 2017.

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stating that during the closing of the Cohen-- transaction, Cohen would “bring all
payments up to date as well as deposit the payoff difi`erential.” Cohen also requested by email on
January 24, '2018, that at the closing of the Cohen~`-transaction, Sterling provide a letter
stating that all of Cohen’s debts have been satisfied and that Cohen’s personal guarantees of the
medallion loans had been terminated

r. The Cohen--transaction, however, did not close. On or about lanuaiy

“_""29,_20'i8,_the"`-'-'attorney-emailed anomeysfor$terling- mtd-stated--that-“-at -this-time-_

there is no deal with Michael Cohen. Sornc ofthe ntunbers have changed and we are not prepared
to go forward.”

s. Based on my participation in the interview with Sterling Employee-Z and my
review of records maintained by Sterling, 1 know that alter the Cohen--ieal fell apart,
Sterling assigned Cohen’s loans to Sterling Employee-S', who specializes in collecting on
defaulting loans. From my participation in an interview with Sterling Employec-B, my review of
telephone call notes taken by Sterling Employee-B, and my review of telephone records, l know
that Sterling Employee~B spoke several times to Cohen on or about lanuary 30, 2018 about paying
down and)'or restructuring Cohen’s outstanding taxi medallion loans. Un the calls, which in total
lasted more than an hour, Cohen stated in sum and substance that he did not have more than
$1,250,000 to pay toward the medallion loans. On the call, in the course of reviewing the failed
Cohen-- transaction Sterling Employee-3 questioned Cohen about the price
-vas to have paid for each medallion., and whether there was a side agreement between
Cohen and - Cohen denied that there Was any side agreement with -

t. On or about January 31, 2018, Cohen emailed Sterling Employee~B and proposed

paying $500,000 to bring the loans current and $750,000 to bring the principal balance to

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$20,500,000. Cohen also suggested revised monthly interest payment amounts. The signature
block on the email indicated that Cohen’s address was the address for Subject Prcmises-Z. On or
about ]anuary 31, 2018, Sterling Employee-B responded to Cohen and stated, in sum and
substance, that Cohen would need to pay the entirety ofthe overdue payments and pay down the
principal balance of the loan to $20,000,000 (in total, a payment of approximately $1,750,000),
and would need to make larger monthly interest payments.

F ` "n._OhTabEnt'Fele,_Zl)lS; Cohen"emaile'd' Sterling-Employee-Sand-proposed-
“[p]ayment of $1.250n1 which ALL can be used to pay down principal, if [Sterling] will waive
past due amounts,” but stated “I do NOT have more than the $l .250m.” (Ernphasis in original.)
Cohen also stated, in sum and substance, that he had insufficient financial resources to post
additional collateral or pre-fund monthly payments. The signature block on the email indicated
that Cohen‘s address was the address for Subject Premises-Z. Based on my participation in an
interview with Sterling Employce~B, l have learned that since January 30, 2018, Sterling has
continued to renegotiate the medallion loans with Cohen based on Cohen’s representations about
his current financial position. ln particular, according to Sterling Ernployee-3, Cohen and Sterling
have an agreement in principal to restructure Cohen’s loans based in part of Cohen’s agreement to
make a principal payment of approximately $?50,000, to make a payment of $500,000 to become
current on interest payments, and to post $192,000 in cash collateral for his future monthly
payments on the loan. Cohen also agreed to pledge an interest he had in a property. Sterling
Employce-3 has stated that had Cohen indicated he had more than $1,250,000 available to him,
Sterling would have, among other things, negotiated for a larger reduction to the principal amount

of the loan.

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Cohen Concealed ll`rom Sterlingl and Melrose Cash Derived nom Consultina Worl<

l'i. As set forth in detail below, despite multiple written and oral representations by |
Cohen to Sterling (and, by extension, Melrosel'$) that he had insuflicient funds to pay down the
principal balance of the medallion loans, make monthly interest payments, or pay past~dne
amounts, it appears that between 2016 and the present, Cohen opened and maintained bank
aceounts--at_First-chublic -Banlc_ (_‘fF_irst_Republici ,_and then. recei,ved..millions_of'_dollarssiniv _. ____. .
consulting payments in these accounts, which he did not disclose to Sterling. Cohen set up these
accounts and received these funds during the very period in which he made disclosures to Sterling l
about his personal iinances (including his assets and liabilities) and his ability to make payments
on the medallion loans. In these disclosures to Sterling-and despite being asked about these bank
accounts by his accountant-Cohen misled the bank by claiming he had insufficient liquidity to
satisfy his obligations or meet the bank’s demands, while withholding information about these
ongoing revenue streams and liquid financial assets at First Republic.

18. Specil:ically, based on my review of documents and bank records produced l
pursuant to a subpoena by First Republic, and my participation in and review of reports ot` l
interviews with aFirst Repuhlic sales manager (“First Republic Employee-l”) and a First Republio
senior managing director (‘Tn'st Republic Employee-Z”), I have learned, among other things, the

following: `

 

15 Based on my review of a report of an interview conducted with an employee ot`Melrose, l l
have learned that, pursuant to the participation agreement between Sterling and Meh'ose, Cohen’s "
'linancial statements and other records in Sterling’s possession were forwarded to Melrose so that
Melrose could make a determination as to whether to approve of the Cohen-`
transaction Based on my review of reports of interviews with Melrose employees, l also Know
that Cohen called employees at Melrose regarding the Cohen--;ransaction.

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a. Cohen and his wife have been customers of First Republic since approximately
June 201 1. Cohen controls several checking and loan accounts at First Republic, some in his own
name and others in the names of corporate entities. According to First Republic’s know-your-
customer records on Cohen,l'" his primary physical address is the address for Subject Premises-l.
b. On or about October 26, 2016, in Manhattan, New Yorl(, Cohen opened a new

checking account at First Republic in the name of Essential Consultants LLC (the “Essential

 

Consultants _Account”)._`Cbh_eWWthWilwutliorized_signatoryon'the account 'A'ccording*to-
account opening documents, the primary address for Essential Consultants LLC was the address
for Subject Premises-l. When Cohen opened the Esscntial Consultants Account, First Republic
Employee-l conducted an in-person interview of Cohen- In response to a series of know-your-
customer questions about the purpose of the account-the answers to which First Republic
Employee~l entered into a formm-Cohen stated, in sum and substance, that he Was opening
Essential Consultants as a real estate consulting company to collect fees for investment consulting
Work, and all of his consulting clients would be domestic individuals based in the United States.
Cohen also stated, in sum and substance, that his purpose in setting up the account Was to keep the
revenue from his consulting busmess_-which he said Was not his main source of income_separate
ii~om his personal Jo'nances. As set forth below, there is probable cause to believe that Cohen’s
statements about the intended purpose of the account and source of funds for the account were

false. Specit`lcally,- as described below, the account was not intended to receive_and does not

 

'7 Certain financial institutions are required to conduct such procedures pursuant to the Banlc
Sccrecy Act and its implementing regulations See .31 U.S.C. § 5318; 31 C.F.R. § 1020.220.

13 First Republic Employee-l first filled out the form on the day he interviewed Cohen, Oetober
26, 2016. On or about Dccember 19, 2016, at the request of bank compliance personnel, First
R.epublic Employee-l updated the form to add more detail about Cohen’s statements

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appear to have received-money in connection with real estate consulting worlt; in addition, the

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account has received substantial payments from foreign sources.
c. I know from my review of First Republic bank records that Were scheduled by an
FBI forensic accountant that alter Cohen opened the Essential Consultants Account, Cohen
received payments into that account from foreign businesses and entities that do not reflect the
stated client profile for the residential and commercial real-estate consulting services. Speciiically,
"`"_"` __Hmy`revi`ew‘of the'Essential'Consultants'Account-schedule and-publie~sources§ l- lmow. the._ ___ __ .___ __ '
following:

i. Bcginning on or about lanuary 31, '20'17, Cohen began receiving monthly
payments of $83,3 33 into the Essential Consultants Account ii'om an entity called Columbus Nova
LLC. According to public sources, Columbus Nova is an investment management firm controlled
by chova Group, an industrial holding company based in Zurich_, Switaerland that is controlled
by Russian national Viktor Velcselberg. From January 2017 to August 201?, the Essential
Consultants Account received seven payments totaling $5 83,332.98 from Columbus Nova LLC.

ii. Beginning on or about April 5, 2017, the Essential Consultants Account
began receiving payments from Novartis luvestments, SARL, which I believe to be the in-house
financial subsidiary of the Swiss pharmaceutical company Novartis lnternational AG (‘*Novartis”).
Between April 2017 and Febluary 2013, the Essential Consultants Account received eleven Wire
payments from a Swiss bank account held in the name of Novartis, each in the amount of $99,980,
for atotal of $1,099,'?30.

iii. Begiiming in or about April 201?, the Essential Consultants Account started
receiving Wire payments from a bank account associated with the teleconununications company

AT&T lnc. (“AT&'I"’). Speciiically, on or about April 14, 2017, AT&'I` sent $100,000 to the t

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Essential Consultants Account and, from in or about lune 201? to in or about lanuary 2018, the
Essential Consultants Account received ten $50,000 payments from AT&T. ln total, AT&T sent
$600,000 to the Essential Consultants Account.

iv. On or about May ll), 20l 7, Junc 9, `2017, lilly 10, 2017, and November 2?,
2017, the Essential Consultants Account received four deposits in the amount $150,000 (totaling
$600,000) from a bank account in South Korea. The account holder from which the money was
se_nt i`s"Koi‘"eE Keiiispzu:_c`lEiliKt'fic§I;t'd._(“KAl”). 'K‘Al'is a'South Korea'-based-company--that~ -
produces and sells fixed-wing aircraft, helicopter aircrat`t, and satellites to the United States
Department of Defense, among other customers.

v. On or about May 22_. 201 7, the Essential Consultants Account received a
$150,000 deposit from an account at Kazkommertsbank, a Kazakhstani bank. The listed account
holder at Kazkommertsbank was a second Kazakhstani bank named BTA Bank, AO. A message
accompanying the wire payment indicated that the payment was a “monthly consulting fee as per
lnv BTA-lOl DD May 10, 201'?r consulting agreement WfN DD 08 05 2017 CN’[R WiNDD
08105!2017.”

vi. ln total, from on or about January 31, 2017 to on or about February 1, 2018,
the Essential Consultants Account received approximately $3,033,112.98 in transfers and checks
from the aforementioned entities. As of on or about Jauuary 10, 2018, the balance in the Essential
Consultants Account was $1,369,474.23. Cohen’s withdrawals from the Essential Consultants
account reveal that it was used for largely personal purposes, including to pay, among other things,
American Express bills and fees ii'om “thc Core Club,” a private social club in New Yorl<.

d. On or about April 4, 201?, Cohen opened another new checking account at First

chublic, this one in the name ofl_\/lichael D. Cohen & Associates, P.C. (the “MDC&;A Accouut”).

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Cohen Was the only authorized Signatory on the account. According to account opening
doculnents, the primary address for MDC&A Account was the address for Subject Premises-l.
Among other things, the MDC&A Account received ten wire transfers and one check from an
account in the name of Sqnire Patton Boggs, a law tith As noted above, Subject Preinises-Z is
located inside the New York office of Squire Patton Boggs. In total, from on or about April 5,

201?, to on or about .l'anuary '2, 2018, the MDC&A Account received $426,097.?0 in deposits, and

` __ _*th"€ balan_c_e'in*the_ac'countras'of'January_Z,_ZOlS,_was-$344;S4173-St- As discussed below-,_(~Iohen_ --_ -

never disclosed any of the balance in the Essential Consultants or MDC&.A accounts to Sterling
during the negotiations with respect to the - transaction or the subsequent loan
refinancing negotiations, including in his May 201? Financial Statement and September 2011r
Financial Statement.

19. Based on my review of emails that were seized pursuant to the Cohen Email
Warrants, and my review of reports of interviews with employees of AT&T and Novartis, it
appears that the aforementioned payments to the Essential Consultants Account and MDC&A
Account were for political consulting work, including consulting for niternational clients on issues
pending before the Trurnp administration Speciflcally, from my review of emails h‘om the Cohen
Gmail Aocount, the Cohen MDCPC Account, and public sources, l have learned the following:

a. On or about April 28, 201?, Cohen sent an email to an individual whom l believe
is affiliated with KAi. In the email, Cohen attached a “Consulting Agreement” between KAI and
Essential Consultants' dated as of about May 1, 2017. The agreeth indicates that Essential
Consultants had the address ot` Subject Prelnises-Z. The document indicates that Essential
Consultants Would render “consulting and advisory services, as requested” by KAI, and that KAl
Would pay Essential Consultants “a consulting fee of One Million Two Hundred Thousand

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($1,200,000.00) US Dollars,” disbursed through eight $150,000 installments between May 2017
and Deeember 201 ‘J’. l have also reviewed invoices in amounts of $150,000 that Cohen emailed
to an individual whom I believe is afliliated with KAI. At the top of the invoices the address listed
for Essential Consultants is the address for Subject Prernises-Z.

b. On or about May 8, 2017, Cohen sent an email to an individual whom l believe is

affiliated with BTA Bank. The signature block on Cohen’s email listed “Essent:ial Consultants

LLC” and a"ll/I‘ich'ael'']IF`C?)hH¢l{t_Assoc‘iat'e`s','PC”' andprovided"the address--for_Subject~Premises-.

2- In the email, Cohen attached a document purporting to be a “Consulting Agreement” between
BTA Banlt and Essential Consultants dated as cf about May S, 201'?. The agreement indicates that
Essential Consultants had the address of Subject Premises-Z. The document indicates that
Essential Consultants would render “consulting and advisory services” to BTA Banlc, and that
BTA Bank would pay Essential Consultants “a consulting fee of One Million Eight Hundred
Thousand ($1,800,000.00) US Dollars,” disbursed through monthly payments of $150,000. On or
about May 10, 2017, Cohen sent an email to an employee of BTA Bank, and attached to the email
an invoice to BTA Banlc in the name ofEssential Consultants, with the address of Subject Premises-
2. The invoice contemplated a $150,000 payment to Essential Consultants for a “monthly
consulting fee.”

c. On or about January 23, 201‘7, Cohen appears to have entered into a consulting
agreement with AT&T, which contemplates that Essential Consultants “shall render consulting and
advisory services to [A'I`&T]” and that AT&T would “advise [E.ssential Consultants] of those issues
and matters with respect to which AT&T Services desires [Essential Consultants]’s assistance and
advice.” 'I`he agreement indicates that Essential Consultants had the address of Subject Premises-

1. The contract calls for AT&T “to pay the Consultant for his services . . . a consulting fee ofFifty

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Thousand ($50,000) Dollars . . . per mon .” Based on my review of reports of interviews with
AT&T employees, I have learned that AT&T retained Cohen to consult on political issues,
including net neutrality, the merger between AT&T and Time Wamer, and tax reform.

d. On or about March l, 201?`, Cohen appears to have entered into a contract between
Novartis and Essential Consultants, which provides that Essential Consultants will “provide

consulting and advisory services to Novartis on matters that relate to the repeal and replacement of

the Affdrd_ab_leTaTrEf`in "the'US_an‘d“'any“ other' issues rmutually-agreeable--to-- [Essential._

Consultants] and Novartis.” The contract provides for a “consulting fee of One Million Two
Hundred Thousand ($1,200,000) US dollars,” to be paid to Essential Consultants in equal monthly
installments over the course cfa year. Based on my review of reports of interviews with Novartis
employees, 1 have learned that Novartis retained Cohen to provide political consulting services and
to gain access to relevant policymakers in the Tnn'np Administration.

e. ln or about February 2017, Cohen began negotiating the terms of a “strategic
alliance” with Squire Patton Boggs. On or about March 4, 2017, Squire Patton Boggs emailed
Cohen a “strategic alliance agreemen .” linder the terms of the agreement, Cohen agreed to
generate business for the law iirm, and Squire Patton Boggs agreed to pay to Cohen “an annual
strategic alliance fee of $500,000, payable in twelve (12) equal monthly installments.” Squire
Patton Boggs' also agreed to provide Cohen with “dedicated and segregated office space in [Squirc
Patton Boggs’s] New York and Washington D.C. oftices, which office space shall be physically
separate from [Squire Patton Boggs’s] oti:'lces and have locked doors and its own locked file
cabinets.” On or about April 3, 2017, Squire Patton Boggs announced on its website that is had
formed a “strategie alliance” with Michael D. Cohen & Associates and would “jointly represent

clients.”

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20, Despite the significant amount of money that Cohen received into the Essential
Consultants Account and the MDC&A Account, and the cash balance in both accounts, Cohen did
not disclose that information to Sterling or Melrosel Speciiically, based on my review of documents
provided by - (as noted above, Cohcn’s accountant at the thne), my participation in an

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have learned the following:

 

meeting, Cohen told - in sum and snbstance, that he had set tip a law practice called Michael
D. Cohen & Associates P.C., and a consulting company called Essential Consultants LLC. Cohen
told -, in sum and substance, that he expected tn earn $75,000 per month in connection with
his law practicc, and that he expected gross revenues for the consulting business tc be between live
and six million dollars annually.

b. In or about Octoher 2017, if not earlier, -vas preparing a personal iinanciai
statement for Cohen. On cr about Octobcr 6, 2017, -sent an email to Cohen in which '-
Wrote that “[a]ttac.hed is a draii: of the new PFS as of September 30, 2017” and attached a draft of
the September 2017 Finanoial Staternent. The draft statement reflected that as of September 30,
201?, Cohen had only $1,25 0,000 in cash, total assets of approximately $33,43 0,000 (comprised of
taxi medallion interests, real estate interests, and his personal residence and property), and liabilities
of approximately $45,630,000, leaving linn purportedly over $lZmillion in debt. In the same email,
-luestioned Cohen, in sum and substance, about the fact that the financial statement did not
list any value associated with either the Essential Consultants Account or the MDC&A Account:

“[w]e did not add any value for you[r] two operating entities - Michael D. Cohen & Asscciates

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a.'_ln' cr 'about"May 201-7;'-met-with- Cohen-at- -Subject~l?remises-Z._Atthe__

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POC [sic] and Essential Consultants LLC. Plcase advise whether or not these should be disclosed
and what value.”

c. On or about October 6, 2017, Cohen called -3y telephone-ewhich is reflected
on toll records for Cohen’s cellphone-and told - in sum and snbstance, not to include
Essential Consultants or MDC&A in the Septernber 201 ? Financial Statement because they had no
value. On or about October 6, 2017, following the call with-Cohen, using the Cohen
§Ecoun_hert_o-email 'witlrthe' answer “[l]oolcs-good-te-me.’;€ohen-never.directed _________ _______ __ __;
-to make any changes to his cash position as listed in the September 201'_,Jr Pinancial l
Statement. ln a letter dated October 6, 2017, addressed to -, Cohen stated, “l have reviewed l
the attached statement of financial condition and find it to be correct and consistent with the |
representations that I made to your flrrn. The attached is an accurate reflection of my assets,
liabilities and net worth (delicit) as of September `30, 201?.” Attached to that letter was the
Septcmber 2017 Finanoial Statement, which, as noted above, was then transmitted to Sterling in
connection with the proposed taxi medallion transaction between Sterling, Cohen, and 1_

21. Based on my review of a report of an hiterview with Sterling Employee-l, l have
learned that Cohen did not disclose his income stream from Essential Consultants to Sterling
Employee»l or, to his knowledge anyone else at Sterling. According to Sterling Ernployee-l,
knowledge of such an income stream would have affected Sterling’s demands during the
negotiations, particularly With respect to the amount of a principal paydown of Cohen’s debt.

Cohen Understated His Available Cash

______________.-_.-_-__--‘_-

22. In addition to withholding the existence of his Essential Consultants income ii'orn l

Sterling and Melrose, it appears that Cohen also substantially understated his available cash and l
cash equivalents in his huancial disclosures Specifically, lkncw from my review of the Septernber §
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201? Finaucial Statement that Cohen provided to Sterling that Cohen represented that he had
$1,250,000 in cash as of Septeniber 30, 2017. l also know that on or about .lanuary 30, 2018, in a
telephone call With Sterling Employee-B, and on February l, 2018, in an email to Sterling
Employee-S, Cohen represented that he did not have more than $1,250,000 in cash. But, i_i‘om my
review cfa summary of bank records that were scheduled by forensic accountants, l have learned

that Cohen had approximately '$5,000,000 in cash and cash equivalents as of September 30, 2017.

 

Additionally,_a's of`Febrlia_ry_l`,` `ZUl`B,_Col!en_had_approximately-'$6,000,000-in-cash'and_ cash_ _

equivalents Specitically, tl.'om my review ofthe account schedule and bank records, I have learned
the following:

a. Cohen has three checking and/or savings accounts at Capital One Bank, one of
which is in his wife’s name. As of Septcrnber 30, 2017, Cohen had $l,IDS,-‘SSD.BS in his savings
account, and $1;262,982.29 in total in the three accounts at Capital One Banlc. As ot` February l,
2018, Cohen had a total of $l ,3 89,245.?8 in these accounts

b. Cohen has three accounts at Morgan Stanley in his name. As of September 30,
201 ?, the combined total in cash and cash equivalents in those three accounts was $1,2?0,600.41.
As ochbruary 1, 2018, Cohen had $1,284.996.13 in these accounts

c. As ofSeptember BU, 2017, Cohen had $260,689.18 in an account at Signatm‘e Bank.
As ofFebruary l, 2018, Cohen had $261,51‘?.55 in this account.

d. In addition to the Essential Consultants Account and MDC&_A. Account at F_irst
Republic, Cohen also had two joint checking accounts with Laura Cohen at First Repuhlic. ln total,
as of September 30, 201'}'_. Cohen had at least $1,8?6,209_27 in total in his four accounts at First

Republic. As ofFebruary l, 2018, Cohen had $3,332,992.95 in these accounts

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e. Cohen has an account at Bethpage Credit Union with $25,931,39 in it as of
Septelnber 30, 2017.

t`. As of September 30, 2017, Cohen had $l ?,542.54 in accounts at Sterling.

g. Cohen has two accounts at TD Bank-one in his name and one held jointly with his
Wife. Cohen also has a safety deposit box at TD Bank-+Subj ect Prernises-B_ The safety deposit

box was opened on December 13, 2017 in the names of Michael and Laura Cohen.

- --_-- -- -_-_h__lmtai;aS-Orseptemberaerial-asmarhad-at-lanta-nascartose-his aecoums_--

at Capital One Banlc, City National Banl<, Signature Banlt, Sterling Bank, Bethpage Credit Union,
First _Republic, and Morgan Stanley. As of February 1, 2018, Cohen had $6,268,732.59 in his
accounts at Capital One Banlc, City National Bank, Signature Bank, First Republic, and Morgan
Stanley.lS'

23. Accordingly, based on the foregoing, it appears that Cohen’s written and oral
representations to Sterling and Melrose that he did not have more than $1,250,00(] were false, and
that Cohen withheld information regarding approximately $5 million in iiunds Bom Sterling and
Melrose in order to secure favorable terms in his renegotiation ot` his medallion loan. Based on
my participation in an interview with Sterling Employee-Z, and my review of reports of interviews
with Sterling Employee-l and two Melrose employees, it is my understanding that that Sterling
and Melrose would view Cohen’s understating of his assets as material to its decision whether t_o

renegotiate Cohen’s medallion loans and on what tenns, or to its decision whether approve of the
transfer ot` those loans to -

19 Based on my review of the account schedules described above, I know that, as of the date of this
afiidavit, the account balances for TD Banlt have not yet been included in the schedule for either
date and the account balances for Sterling National Banlc and Bethpage Credit Union have not yet
been included in the schedule for February 1, 2018. Thus, to the extent that these accounts have
positive balances, Cohen’s total balances in fact were even higher on these dates.

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Cohen Has Unreoorted Interest lncome

 

24. It appears that Cohen also hid from Sterling interest income that he was receiving in h
connection with a six million dollar loan he made to another individual. Specitieally, I know from |
my review of the May 2017 Financial Statement and September 2017 Financial Statement that
Cohen provided to Sterling that Cohen did not disclose that he had made a note receivable in the
amount of approximately $6 million, or that he was earning approximately $60,000 per month in

___ `d_ mt’erest”income“in"connection~wili:rthat-loan--.- -But,~h-'em-my-reviewo£ a_summary_of.baulc.records__ __ _______

that were reviewed by another law enforcement agent, my review of property records and l

 

documents obtained pursuant to the Cohen Email Warrants, and my participation in an interview

math-l have learned the following

a. Based on my review of property records, I have learned that on or about March 12,
2012, Cohen agreed to lend __lPP-\`Oxjmately l
$2,000,000.2° It appears that the promissory note was unsecured by any real property On or about
April 28, 2014, Cohen and- amended the promissory note, and restructured the loan to ll
increase the principal amount to approximater $5,000,000. Undcr the terms of the amended l
promissory notc, the loan was secured hy_ apartment in _, Florida. On l
or about April B, 2015, Cohen and -restated the promissory note to increase the principal |

amount to $6,000,000.21

b. Based on my review of a copy of the restated ncte, which was obtained pursuant to

the Cohen Email Warrants, I have learned that under the terms of the amended and restated l

 

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21 The note states that the loan` ls to _ husband and Wlfe

jointly and severally For ease of reference, l refer simply to‘ ‘-1ercin.

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promissory note, Cohen’s loan to _s an interest-only loan, and that the principal balance
of the loan bears interest at an annual rate of 12.25 percent I also know that the amended and
restated promissory note includes a schedule of payments that require -to pay Cohen
approximately $61,250 per month beginning in April 2015 and ending in April 2019. The note also
requires ma-»epey the panelpal balance er s6,000,000 en Aprll zs, 2019.

c. Based on my review of bank records, I have learned that, consistent with the terms

~ot` the~amended_and-restated promissory »neteT---has*made--monthly_-payments_of__.

approximately $61,250 since April 2015. Specii`lcally, based on my review of records maintained
by Capital One Bank, l have learned that nom April 2015 to October 2015, Cohen received checks
horn an entity called_. totaling $61,250 per month, which he
deposited into his personal bank account at Capital One Bank.22 lt appears from my review of bank
records and public sources that :-is the owner of l_

Froln my review of records maintained by Capital One Banlr, l have also learned that since October
2015, Cohen has received checks nom an entity called l_. totaling
561,250 per month, which he deposited into his personal bank account at Capital One Banlc. lt
appears ii'om my review of bank records and public sources that -s also the owner of l-
_ln total, it appears that Cohen receives approximately $735,000 per year
in interest payments from -

d. Based on my review of Cohen’s May 2017 and September 2017 Financial
Statements, my review of his 2015 and 2016 tax returns obtained via subpoena and from the Cohen

Email Warrants, and my participation in an interview with - l have learned that Cohen did

 

22 ln April 2015, Cohen received a pro-rated payment For all months thereafter, the total payment
equaled $61,250, but -)hen made the payment in multiple checks

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not disclose this interest income he was receiving from -to Sterling or Melrose, or list it
on his tax returns. I have also learned that while this interest income is taxable, Cohen did not tell
--his accountant-»-about the income, and -only learned about the income because he
began doing _taxes in .'l[)l'l".23

25. - Accordingly, based on the foregoing, it appears that Cohcn’s representations to
Sterling and Melrose that he did not have more than $l,250,000 were false, and that Cohen
Mation relating-ftl `tlie"ititDst_income~lre“ is receiving i':`rom---in- order to
secure favorable terms in his renegotiation oi` his medallion loan.

cohen ned a side Ageemem was -

26. As set forth in detail below, during the course of Cohen’s negotiations to sell his
interest in taxi medallions and the associated debt to _ Cohen not only
misrepresented his Enancial position to Sterling, but also failed to disclose a side agreement he
had negotiated with- it appears that -.greed to pay an above-market price
for Cohen’s taxi cab medallions, and in exchange Cohen agreed to pay -lpproximately
$3.8 million in cash. Speciflcally, from my review of documents produced pursuant to a subpoena
by Sterling, and my participation in interviews with Sterling Employee-l, Sterling Employee-»Z,
and Sterling Ernployee~B, l have learned, among other things, the following:

a. On or about Septemher 5, 2017, an executed term sheet was circulated by Sterling
Employee~l to Cohen and - The term sheet listed Cohen’s address as the address for
Subject Prernises-l. According to the term sheet, _would borrow $20,000,0{]0

horn Sterling and Mehose, to be secured by the medallions that -was to acquire from

 

23 Accordingly, this interest income-which should have been reported as such on Cohen’s tax
retm'ns--is included herein in calculations of Cohen’s true cash position.

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Cohen. At a price of $20 million for thirty-two taxi medallions, the proposed transaction valued
each medallion as worth .$625,000. The term sheet also contemplated a $1,265,913 pay-down of
the principal balance ot` the loan. The term sheet made no mention of a $3.3 million payment from
Cohen to _ or any other form of payment or iinancial transaction between the parties

b. Addit`lonally, an internal Sterling credit memorandum, dated October 4, 2017,
describing the terms of the Cohen--transaction and the new loan to `_did

not menti€n any p`ayments_h_'om'Colrerrto“_including--a~$?:e§"million_payment._Ihd_ _ __

memorandum also noted that the “loan amount of $2UMM indicates a SGZSM purchase price per
medallion” but “it is recognized that this is not in line with current market values.” lndeed,
according to an internal Sterling memorandum dated February 5, 2018, in the month ot` lanuary
201 S, taxi medallions sold for amounts ranging from $120,000 to $372,0[}{}. According to Sterling
Employee-] and Sterling Employee~Z, they were never told that _igreed to a purchase
price of $625,000 in exchange for a hnnp sum payment from Cohen, or that Cohen would make
any payment to -

c. On or about January '30, 2018, Sterling Employee»B asked Cohen whether Cohen
had a side agreement with _to pay -a sum of money for entering into the
medallion transaction Sterling Employee-3 asked Cohen about such au arrangement because,
according to Sterling Employee-Ii, the price that - was paying for each medallion
appeared to be well above the market price. Cohen stated, in sum and substance, that he had no
side agreement-_and never had a side agreement-»with -

27. While Cohen and_ did not disclose any payment from Cohen to
_in communications with Sterling, it appears that such a payment was contemplated

lndeed, based on my review ot` records maintained by -and my participation in an interview

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with -I have learned the following, in substance and in part, regarding the proposed side
payment from Cohen to-

a. On or about September 19, 2017,- prepared a memorandum for Cohen
omnoa, =‘soio or NYC Modanioo manos aaa nom Assmopaoo” cho “-Momoraodum").

The -Mernorandum summarized the proposed transaction between Cohen and _

in part, as follows: “Michael and Laura Cohen will transfer ownership of their 13 NYC medallion

n entities to a liuyer who wdl assume their bBlt’indebtetlness;upon- the [Sohensi]-paying downthe_

door portfolio ortho 13 ooaaos by $500,000 and o cash payment to rho noyor or $:J,,soo,ooo.mt
b. According to -Cohen told him the parameters of the deal, including the
payment of $3,800,000 to - but-iid not know where Cohen was going to obtain
$3,800,000 to pay - As noted above, Cohen had more than $5,000,000 in cash and
cash equivalents as of Septernber 2017., but had only disclosed in his September 201’? Financial
Statement that he had '$l .25 million in cash.
28. Based on my review of records maintained by Sterling (as Well as Melrose, the bank

with the participating interest in the loans} and reports of interviews of representatives of Sterling

(and Melrose), l have seen no evidence that Sterling, Melrose, or any other financial institution
involved in the potential deal with Cohen and -was aware of the planned $3.8 million

side payment from Cohen tc-

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24 The reference to thirteen medallions appears to be an error by - Cohen and his wife
together owned sixteen corporations which in turn owned 32 taxi medallions.

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C. Probahle Cause Justifying Search of the Subject Prernises and Subject Devices

45. Based on the foregoing, my review of records produced pursuant to subpoenas and
the Cohen E'mail Warrants, and the iCloud Warrant, and my training and experience there is
probable cause to believe that the Subject Premises and Subject Devices have been used in
furtherance of the Subject OH`enses and are likely to contain instrumentalities evidence, and fruits
of the Subject Offenses. Speci:tically, there is probable cause to believe that Cohen permanently
resides at Subject Prcmises~l and, at least in part, works at both Subject Prernises~l and Subject
Premises~Z, and that those locations contain evidence relating to the Sterling taxi medallion

transaction, Cohen’s assets, Cohen’s consulting work for Essential Consultants LLC, and his

_ Additionally, there is probable cause to believe that Subject Premises»li
contains evidence ofCohen’s assets and_ Finally, there is probable cause

to believe that Subject Premises-4, in which Cohen is temporarily residing, contains electronic

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devices, including Subject Device-l and Subject Device-Z, which, in turn, contain evidence of the
Subject let`enses, such as evidence relating to the Sterling taxi medallion transaction, Cohen’s
assets, Cohcn’s consulting work for Essential Consultants I_J..C, and _

46. First, there is probable cause to believe that Cohen lives and operates his businesses,
at least in part, at Subject Premises-l. Specit`lcally, ii'om my review of properw records, lknow

that Michael Cohen and Laura Cohen own (in unst) Subject Premises-l. From my review of

 

 

Cohen’s tax returns, l know lie`lists_liiWrimair§Fresidence-as-S'ubjcct-Premiscs*l._Additionally, __ _____.

nom my review of emails produced pursuant to the Cohen Email Warrants, llmow that Cohen
routinely refers to Subj ect Premises-l as his home, For examplc, on or about September 28, 2017
and October 6, 2017, Cohen emailed individuals that his home address is the address for Subject
Premises-l . I also know from my review cf emails that Cohen receives package delivery
notifications that list Cohen’s address as the address for Subject Premises-l_ Cohen has also
provided the address of Subject P1'emises-l as the address for Essential Consultants and Michael
D. Cohen & Associatcs, P.C. For example, the certificates of incorporation and account opening
documents at First Republic for both entities list their addresses as the address for Subject
Premises-l. See supra ‘|Hl lS(b), lS(d). The consulting agreement between Essential Consultants
and AT&T also indicated the address for Essential Consulta`nts is the address for Subject Premises-
1. See suproil l9(c).
4?. There is also probable cause to believe that Subject Premises-l is likely to contain
instrumentalities evidence, and B'uits of the Subject Offenses. Speciflcally, from my review of
emails produced pursnautto subpoena and the Cohen Email Warrants and iCloud Warrant, as well

as my training and experience I know the following:

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a. According to records maintained by Sterling, the address for all of Cohen’s_taxi
medallion lJLCs is the address for Subject Premises-l. See supra '[[ 16(c). Additionally, the
medallion loan documents indicate that any mailings related to the loans should be sent to Subj ect
Prernises-l. See itt Based on my training and experience, as Well as my review of public sources,
l lcnow that individuals keep records of properties and assets in which they have ownership

interests Accordingly, l submit that Subject Prernises-l likely contains evidence of Cohen’s

_ownershfp"of the tail medalli'oTl?LC's,_ the*i'evenue"thatrthose-medal-lions-generate, and-the_

transaction with Sterling in 2014 to re-t`inance the medallion loans that were then with Capital One
Banlr.

b. From my review ot` records maintained by Sterling, I also know that Sterling
addressed documents relating to the -transaction and Cohen’s attempts to modify the
terms of the medallion loans to Subject Prernises-l. For instance, Sterling addressed the
transaction term sheet, see supra il 16(1), and its demand letter and notice of default, see supra 1|
l6(q), to Subject Premises-l. Accordingly, Subj ect Premises-l likely contains evidence
concerning the -transaction and Cohen‘s negotiations with Sterling. Some of those
records-snch as records relating to a payment from Cohen to --were concealed nom
Sterling and cannot be obtained via subpoena to Sterling. Additionally, even where documents
were sent to Cohen by Sterling (and therefore are available from Sterling via subpoena), the fact
that they may be found in Subject Premises-l will be relevant to Cohen’s possession or knowledge
of the documents

c. Frorn my review of records maintained by First Repnblic, l know that Cohen
provided the address for Subject Premises-l as the mailing addresses for the Essential Consultants

Account and MDC&A Account, See supra ll'[[ lB(b), 18(e). Accordingly, it is likely that Subject

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Premises-l contains records relating to the Essential Consultants Account and MDC&A Account,
including, among other things, account opening documents, bank statements, documents provided
as part of the know-your-customer process, any notes made by Cohen when he was opening the
accounts, wire transfer records, and canceled checks. Even where these records can be obtained
from First Republic, the fact that they may be found in Subject Premises-l will be relevant to,

among other things, Cohen’s ownership of the accounts, or his knowledge of transactions or the

 

 

existence of hinds in accounts
d. Based on my review of records maintained by Capital One Bank, TD Banlc, Morgan
Stanley, City National Banlc, Signature Bank, and Bethpage Credit Union, i know that Cohen
provided the address for Subject Prernises-l as the mailing for his accounts at each of these
Enancial institutions Accordingly, it is likely that Subject Premises-l contains records relating to
these accounts, including, among other things, bank statements that list account balances. The
existence of these records in Subj ect Premises-l will be relevant to, among other things, Cohen’s
ownership of the accounts and his knowledge of the balances in these accounts
e. Additionally, Cohen may have records of other bank accounts or assets that were
not disclosed to Sterling and are not presently known by law enforcement For example, as
described above, Cohen has received interest income since 2015 that he has not disclosed to
Sterling or paid taxes on. Also, on Cohen’s August 2014 Financial Statement, see supra 1[ l6(e),
he disclosed $10,000,000 in “investrnents in overseas entities.”30 The value of these investments
was omitted from subsequent financial statements. Howevcr, for the reasons outlined above, there

is probable cause to believe that Cohen omitted the value of those investments from his 2017

 

30 Based on my participation in an interview with Sterling Employee-3, l have learned that
Cohen told Sterling Employee-S that the reference to “invesnnents in overseas entities” on his
2014 Financial Staternent was to serve merely as a “placeholder” for potential future investments

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Enancial statements in order to understate his assets As Subject Premises-l is Cohen’s primary
residence and he uses 83ij ect Premises-l as the mailing address for bank records, there is probable
cause to believe that account statements for unknown bank accounts or assets concealed from
Sterling are likely to be found in Subject Premises-l.

f. Based on my review of records maintained by AT&T and produced pursuant to the

Cohen Email Warrants, llcnow that the address Cohen provided to AT&T for Essential Consultants

 

l is the address for §_dbj*e'ct §r€mises»l'l"$ee supra 1119(€)._Therefore;there is~probable-cause~to__-_

believe that Subject Premises-l will content evidence concerning the operation of Essential
Consultants cr money that Cohen received, through Essential Consultants, from AT&T.
Additionally, because Cohen used the address for Subject Premiscs-l -for at least one consulting
arrangement involving Essential Consultants, there is probable cause to believe that Subject
Premises~l may contain records of other consulting arrangements that Cohen, through Essential
Consultants, has with other individuals or entities

g. Based on my review of records maintained try-recounting tirm, and emails
produced pursuant to the Cohen Email Warrants, l have learned that '-accounting iirm sent
documents to Subject Pren:iises-l and used the address for Subject Premises-l as the address listed
on Cohen’s personal and corporate tax returns See supra 1[ 16(11). For instance, on or about
Octobcr 6, 2017, an employee at -accounting firm emailed Cohen that she had sent
Cohen’s September 2017 Financial Statement by FedEx to Cohen’s attention Accordingly_.

Cohen’s tax records are likely to be found in Subject Prernises-l.

h. Based on my review ofbank records and publicly-available documents Ilmow that

 

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i. Based on my review of emails produced pursuanttc the Cohen Eniail Warrants and

iCloud Warrant, 1 know that Cohen used at least one Apple iPhonc, an Apple iPad Mini, and a

 

manner Pro re access his iCloud account Basedealawrenson-ecause-reeoraepmviaea-by - _ 1__"._._
Applc pursuant to the iCloud Warrant, l know that electronic devices linked to Cohen’s iCloud
account were used at Subject Ptemises-l to, among other things, place telephone calls and backup
'n`ies to Cohen’s iCloud account Accordingly, there is probable cause to believe that Subject
Premises-l contains electronic devices, including certain Apple products, that for reasons
discussed below are liker to contain evidence cf the Subject Ot’fenses.

j. Based on my review of emails produced pursuant to the Cohen Ernail Warrants, l
understand that Subject Prcmises-l recently sustained water damage to certain parts cf the
premises, and that Cohen has engaged contractors to perform certain remediation work on the
premises In addition, as set forth above, I believe that Cohen and his family are temporarily
residing at Subject Premiscs-4 in the Loew’s Regency Hotel, which is approximately two blocks
from Subject Prernises-l. However, based on my review of a work order sent to Cohen’s email

by a contractor, I' understand that the Hrst phase ofthe work order called for the connector to “Paclc

& Reniove all items & furnishings in Living Room, Kitchen, Sons Room & Dining Rocrn” and f

store them off-site. In addition, based on my review of drawings sentto Cohen by the contractor,
it appears that the work is primarily being done in these rcoms. Thus, l believe that the

construction »-to the extent it is still ongoing - would not necessarily have caused Cohen to move

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all documents or evidence responsive to the warrant out ofSubj ect Premises-l, because it does not
appear that work is being done to the portion of Subject Premises-l, such as a home office or
Cohcn’s own room, where such documents or evidence would most likely be t`ound.31

48. Second, there is probable cause to believe that Cohen uses Subject Premises»Z as
ofEce space, and also that Subject Premises-Z contains certain electronic dcvices. Specitlcally,

from my review ofthe “stratcgic alliance agreement" between Squire Patton Boggs and Cohen,

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office at Subject Prcmises»?.. See supra 1[1] lS(cl), l9(e). Indeed, I have learned that pursuant to
Cohen's agreement with the law t`nTn, he has “dedicated and segregated office space” in Squire
Patton Boggs’s offices on the 23rd floor of 30 Rockefeller Plaza, and that the space is “physically
separate” from the iirm’s offices and has “1ocked doors and its own locked tile cabinets.” See
supra ‘[1 19(e). Additionally, I know that under the terms of the agreement, Cohen agreed to
“arrange for [his] own computer server system that is not connected to [Squire Patton Boggs’s]
computer network system.” I know from my participation in an interview with -who met
Cohen at Subject Premises-$l in 2017, that Subject Premises-2 is an office with a door, it appears
to be used only by Cohen, and it contains, among other things, a computer and paper files,
According to -when -saw Cohen at Subject Prernises~Z, he had two cellular
telephones in Subject Premises-Z. l also know ii‘om my review of emails produced pursuant to the

Cohen Enlail Warrants that Cohen uses the address for Subject Premises~?. in the signature block

 

31 As noted below, based on my training and experience, I believe that individuals who travel or
stay in hotels for short-term periods commonly bring some items with them, such as portable
electronic devices or sensitive items, meaning that Cohen has likely taken some evidence horn
Subject Premises-l to Subject Premises-4. Nevertheless, given the temporary nature of Cohen’s
stay at Subject Premises-4 and the scope of the work being done at Subject Premises-l, I behave
it is unlikely that Cohen has taken all evidence that would be subject to seizure out of Subject
Premises-l.

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on his emails. Based on my review of notes of a call between Cohen and First Republic Employee~
2 (which notes were taken by another First Republic employee, who was participating in the call
and taking notes], I know that, on or about November 15, 201?, Cohen told First Republic
Employee-Z that he had a new office at 30 Rock. Moreover, I know from an article in Vam'!y Faz'r
published on or about February 14, 2018, that Cohen was interviewed by the magazine in Subject
Premises-2 in or about February 2018.

' 49€'"` ThW:"is_almb_aleaus"e to' believe that SubjectPremises=Z' is'likely`"-to-contain
instrumentalities, evidence, and fruits of the Subject Offenses. Specirically, from my review of
emails produced pursuant to subpoena and the Cohen Ernail Warrants and iCloud Warrant, as well
as my training and experience, Iknow the following:

a. According to records maintained by Sterling, when Cohen was entailing with
Sterling Employee-B in 2018 about a modification to his existing loan from Sterling, Cohen listed
his address in his email as the address for Subject Premises-Z. See supra 1[ llS(t), 16(11).
Accordingly, Subject Premises-Z likely contains evidence concerning Cohen’s loan modification
negotiations with Sterling.

b. Based on my review of records obtained pursuant to the Cohen Email Warrants, l
know that the address Cohen provided to KAI and BTA for Essential Consultants is the address
for Subject Premises-Z. See supra 111[ `l9(a), 19(b). Theret`ore, there is probable cause to believe
that Subject Prernises-Z will contain evidence concerning the operation of Essential Consultants
or money that Cohen received, through Essential Consultants, from KAI and BTA, among other
entities with which Cohen had a consulting arrangement Additionally, based on my review of
emails sent in 2018 that were obtained pursuant to the Cohen Ernail Warrants, I know that Cohen

continues to enter into consulting arrangements through Essential Consultants, and agreements

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relating to those arrangements indicate that Essential Consultants is located at Subject Premises-
2. Additionally, because Cohen used the address for Subject Premises-Z for multiple consulting
arrangements involving Essential Consultants, there is probable cause to believe that Subject
Premises& may contain records of other unknown consulting arrangements that Cohen has with

other individuals or entities.

c. Based on my review of records maintained by -mcounting iirm, and emails

 

produced pursuant to the Cohen `Einail'Wmll"a_s"ntv paltic'ipati'on-in-an-interview~with
-l have learned that -visited Subject Premises~?. to meet with Cohen about his taxes.
See supra ‘[[ ZU(a). At that meeting, -:liscussed with Cohen whether Cohen should disclose
Essential Consultants on his personal financial statement to banks According, there is probable
cause to believe that Subject Premises-Z will contain evidence relating to Cohen’s taxes, or notes
of his conversation with - Moreover, the fact that Cohen used Subject `Premises~Z for a
meeting regarding his personal financial matters provides probable cause to believe that documents
and information regarding his finances will be found in Subject Premises-Z.
d. Based on my participation in an interview with -l know that Cohen maintains
a computer in Subject Premises-Z. From my review of IP data produced pursuant to a subpoena
and pen register to Google, it appears that Cohen is logging into his Gmail account from Subj ect
Premises-?.. Accordingly, there is probable cause to believe that Subject Prernises-2 contains
electronic devices, that for reasons discussed below are likely to contain evidence of the Subject
Ot‘fenses.
e. Based upon my training and experience l have learned that individuals who
maintain businesses typically keep records relating to the business-such as contracts with clients

and records of payments-_at the business’ identitied location 1 am not aware ot` any addresses

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associated with Essential Consultants other than Subject Prernises-l and Subject Prernises»Z.
Accordingly, there is probable cause to believe that Subject Prernises-l and Subject Prernises-?.
will contain business records for Essentia] Consultants.

50. Third, there is probable cause to believe that Subject Premises-3 is lilcer to contain
instrumentalities evidence, and fruits of the Subject Offenses. ln particular:

a. As noted above, Cohen has two bank accounts at TD Bank. In or about November

2017, as Cohen was recelvlng substantial incon‘Etroin consultim'lt=tvhich'lte"did'not"discl'ose
to Sterling-Cohen opened the safety deposit box at TD Bank, which is Subject Prernises~B. ln
light of the aforementioned evidence that Cohen conceals assets, including assets at TD Banlc,
there is probable cause to believe that Subject Prernises-'3 contains financial assets, objects of value
and/or documents relating to such assets or objects of value that Cohen likely did not disclose to
Sterling. lndeed, based on my training and experience, I ann aware that people often conceal

valuable items in safety deposit boxes Accordiugly, there is probable cause to believe that Subject

Prernises-S will contain evidence of the Bank Fraud Offenses.

 

 

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51. Based on my review ofemails obtained pursuantto the Cohen Erna:il Warrants and
cell phone location information, I believe that Cohen is temporarily residing in Subject Prernises-
4. See supra 1[1[ S(d). 'I`here is also probable cause to believe that Subject Prernises-4 contains

instrumentalities and evidence of the Subject Offerlses, including, the following'.

 

 

33 As noted above, Subject Preniises-S is approximately ive inches by ten inches. Accordingly, 1
do not believe that it would Ht a large volume ofhard copy documents; however, a small number
of hartl--cop§,7 documents,. or a large volume of documents contained on a flash drive or other
portable storage device, would tit in Subj ect Prernises~?».

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b. As described above, at the time Cohen moved to Subject Premises~4, he was also
in the lmidst of ongoing negotiations with Sterling regarding the refinancing of his medallion debts.
Por example on l unitary 3 0, 2018, Cohen had a lengthy Phone call with Sterling Employee-B about
his finances and the proposed restructuring, and on February l, 2018, Cohen sent an email to
Sterling Ernployee»3 claiming that he did not have more than $1.25 million in cash. See supra 1111

16(u). Thus, there is probable cause that Cohen took at least some documents and evidence relating

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consult them in connection with these negotiations

c. As described above, Cohen used at least one Apple iPhone, an Apple iPad Mini,
and a MacBook Pro to access his iCloud account, and these electronic devices linked to Cohen’s
iCloud account were used at Subject Premises-l - Cohens’ permanent residence - to place
telephone calls and backup files to Cohen’s iCloud account See supra 1111 47(i). Although Cohen’s
stay at Subject Premises~_¢l is temporary, based on roy training and experience l know that
individuals who travel or stay in hotels for short-term periods commonly bring portable electronic
devices with them, such as cellular phones, tablets, or laptops. Accordingly, there is probable
cause to believe that Subject Premises~4, where Cohen currently appears to be residing, contains
electronic devices, including Subject Device-l, Subject Device-Z, andr'or certain Apple products,
that for the reasons discussed herein are likely -to contain evidence of the Subject 0ft`enses.

d. Moreover, as set forth above, based on cellplione location information l know that
Subject Device-l and Subject Device-Z were in the vicinity of Subject Premises-4 as recently as
this morning (April S, 2018). As set forth above, there is probable cause to believe that Cohen
used the Subject Devices in hirtherance of the Subject Offenses, including to communicate with

Sterling employees regarding the medallion transaction, with First Republic employees regarding

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the Essential Consultants Account, with his accountant regarding his finances, and with

  

52. Although Cohen appears to be residing currently in Subject Premises-4, it is

unknown whether Cohen will be physically present within Subject Premises~4 at the moment the

warrant sought herein are executed IfCohen is within Subject Premises-4 at that moment, Subject

Device-l and Subject Device-?. ~ his cellphones »- will likely also be within Subject Premises-4.

 

 

lt`Cohen is not within Subject Premises-¢i_at th_atin`oni€ifthe_devim'ill'lilcely'be on his person,

wherever he is located (which, based on location data for Subject Device-l and Subject Device-Z

as recently as today, is lilcer to be in the Southern District ofNew Yorlr). As such, this warrant

seeks separate authority to seize Subject Device~]. and Subject Devicc-Z, in the event that those

devices are not located within Subject Premises~4 (or another Subject Premises) at the moment the

warrants sought herein are executed

D. Probable Cause Justifying Seareb of ESI

53. Based on the foregoing, there is probable cause to believe that Subject Premises-l,

Subject Premises-2 and Subject Premises~4 contain electronic devices that are likely to contain

evidence, huits, and instrumentalities of the Subject Offenses (and, as set forth above, that Subject

Deviee-l and Subject Device-2 arc themselves electronic devices that are likely to contain

evidence of the Subject Ot"fenses). Specifically, based on my review of information produced

pursuant to the Cohen En:lail Warrants, the iCloud Warrant, and subpoenas, as well as pen register
data, l submit that there is probable cause that Subject Premises-l contains an Apple iPad Mini, a
MacBook Pro, and has, at various times, contained Apple cellphones; similarly, there is probable

cause that Subject Premises-2 contains a computer and has, at various times,

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contained Apple

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cellphones. These devices are likely to include evidence, fruits, and instrumentalities of the
Subj ect 0ft`enses for the following reasons:

a. As described throughout this aflidavit, Cohen used email to send and receive
communications related to the Subject Oft`enses. ln particular, Cohen used email to send and

receive communications with Sterling, First Republic:- the entities to which he is providing

consulting services-among others. While some of these emails have

 

already been bbt`ain€d_via subpoenas and'searcli'warran*t's, `I know ti'on'i_ruy'traininguird_experien'ce' '

that individuals can and do delete emails from their Internet-based inboxes but retain copies of
those emails on their hard drives. I also know that individuals often have multiple email accounts,
some of which may not be known to law enforcementl and as a result electronic devices can be a
unique repository of all emails relevant to certain Subj ect Oft`enses. Indeed, ii'om my involvement
in this investigation, l know that Cohen had an email account with the 'I`rump Organization, but
the USAO and FBI have not been able to obtain the contents of that account to date. Thus, emails
relevant to the Subject Oft`enses arc likely stored on electronic devices in Subject Premises-l,
Subject Premises~Z and/or Subj ect Premises-4-

b. Additionally, Subject Premises-l, Subject Premise-Z and Subject Premises-4 likely
contain electronic copies of documents relevant to the Subj ect Ofi"enses. hideed, l know ii'on‘l my
training and experience that individuals often retain copies of important documents on their
computers or other electronic devices capable of storing information, including cellphones (such
as the Subject Devices) and tablets Here, there are a number of documents that Cohen has likely
retained that will be relevant to the Subject Ot"t`euses. F or example, electronic devices may include

documentation of Cohen’s true net worth, a listing of his assets, an accounting of his available

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cash-, consulting agreements with third parties, and l_

among other evidence of the Subject Offenses.

c. Third, l know from my review of emails obtained pursuant to the Cohen Email
Warrants that Cohen sent up online banking with Pirst Republic. Based on my training and
experience, llcnow that individuals who set up online banking often receive electronic notices

concerning financial transactions and, on occasion, save records of their linancial transactions to

 

their devices. Accordingly, _tliei"e is probamlie?e_tha`t`€`dhén"s electronl'c_devices
contain evidence of banking activity, including the existence of bank accounts or assets that Cohen _

did not disclose to Sterling or Melrose.

d. Fourth,1 from my review of records produced by Apple, I know that Cohen

 

communicates using text message as well as encrypted communications applications These
applications that Cohen has downloaded onto a phone include, but arc not limited to, WhatsApp,
Signal, and Dust. llcnow from my review of toll records and text messages that, in particular,
Cohen communicated with -lsing these encrypted applications Accordingly, there is
probable cause to believe that Cohen’s cellphones » the Subj ect Devices _ will contain encrypted
messages that are not otherwise accessible relating to the Subject Offenses. rt
54. Based on my training and experiences I know that individuals who engage in
iinancial crimes commonly use computers to communicate with co-conspirators, keep financial
ledgers, and retain fraudulent documents As a resultj they often store data on their computers l
related to their illegal activity, which can include logs of online or cellphone-based “chats” with l
co-conspirators; email correspondence; contact information of co~conspirators, including
telephone numbers, email addresses, and identiiiers for instant messaging and social medial

accounts; bank account numbers; and/or records of uses of funds.

 

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55.

Based on my training and.experience, I also know that, where computers are used

in furtherance of criminal activity, evidence of the criminal activity can often be found months or

even years alter it occurred This is typically true because:

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Electronic iles can be stored on a hard drive for years at little or no cost and users thus
have little incentive to delete data that may be useful to consult in the ithure.

Even when a user does choose to delete data, the data can often be recovered months
or years later with the appropriate forensic tools. When a tile is “deleted” on a horne

_cornp_uter, the data contained in the tile does not actually disappear, but instead remains

 

 

on the hard drive, in “slack space,” until it is overwridcn' by new data that cannot be
stored elsewhere on the computer. Similarly, files that have been viewed on the Internet
are generally downloaded into a temporary Internet directory or “cache,” which is only
overwritten as the “cache” fills up and is replaced with more recently viewed Internct
pages. Thus, the ability to retrieve from a hard drive or other electronic storage media
depends less on when the Ele was created or viewed than on a particular user’s
operating system, storage capacity, and computer habits.

In the event that a user changes computers, the user will typically transfer files ii'om
the old computer to the new computer, so as not to lose data. ln addition, users often
keep backups of their data on electronic storage media such as thumb drives, flash
memory cards, CD-ROMs, or portable hard drives.

Based on the foregoing, I respectfully submit there is probable cause to believe that

Cohen engaged in the Subj ect OH`enses, and that evidence of this criminal activity is likely to be

found in the Subject Premises, on computers and electronic media found in the Subject Premises,

and on the Subject Devices. ln particular, there is probable cause to believe that the Subject

Prernises and Subj ect Devices will contain evidence, ii'uits, and instrumentalities of violations of

the Subj ect Offenses, as more nllly described in Section ll of Attachments A, B, C, D, E and F to

the proposed warrants, including the following:

a. Evidence necessary to establish the occupancy or ownership of the Subject

Premises, including without limitation, utility and telephone bills, mail envelopes, addressed

correspondence, bank statements, identification documents, and keys.

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b. Evidence relating to Sterling, Melrose, and!or taxi medallions.
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c. Evidence relating to; a plan, proposal, or agreement for Cohen and/or entities
associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilitics, to others, including to _ ndr‘or entities associated with him.

d. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose

e. Evidence relating to Essential Consultants, LLC, including any documents that

 

 

indicate the nature and purpose of payments made td§'_fr_oHMtiEl*Chnspultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

f. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen &. Associates,
or evidence ofthe purpose of accounts opened in the name ofMichael D. Cohen & Associates.

g1 Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through

entities, including tax returns, personal financial statements and bank records

h. Evidence relating to agreements, loans, and/or financial transactions between

Cohen. and_ and any payments by-n Cohen.

 

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p. Communications with others, mcluding-and/or other accountants,

relating to Cohen’s bank aceounts, taxes, debts, and/or finances;

q. Cornmunications, records, doeuruents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial instinition,' the nature of any business or entity associated With an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that iinancial institution ;

1'. Evidenc:e of Cohen’s intent as it -mlates tothe Subjectl)fi`enses under investigation
I[I. P'recedures for Searching ESI

A-. Exeention of Warrant for ESI

57. Federal Rnle of Criminal Procedure 41 (e`)(Z)(B) provides that a Wan'ant to search

for and seize property “may authorize the seizure of electronic storage media or the seizure or

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copying of electronically stored information . . . for later revievv.” Consistent With Rule 41, this
application requests authorization to seize any computer devices and storage media and transport
them to an appropriate law enforcement facility for review. This is typically necessary for a number
of rcasons:

l First, the volume of data on computer devices and storage media is often impractical
for law enforcement personnel to review in its entirety at the search location.

» Second, because computer data is particularly vulnerable to inadvertent or intentional

modification or destruction, cdmputer devlces are idEally_ex`aiiih"i_etl_iu a_connt§ll'ed
environment such as a law enforcement laboratory, Where trained personnel, using
specialized sottware, can make a forensic copy of the storage media that can be
subsequently reviewed in a manner that does not change the underlying data.

c Thjrd, there are so many types of computer hardware and software in use today that it
can be impossible to bring to the search site all of the necessary technical manuals and
specialized personnel and equipment potentially required to safely access the
underlying computer data.

¢ Fourth, many factors can complicate and prolong recovery of data from a computer
device, including the increasingly common use of passwords, enclyption, or other
features or configurations designed to protect or conceal data on the computer, Which
often take considerable time and resources for forensic personnel to detect and resolve

58. As discussed herein, Squire Patton Boggs is a functioning law firm that conducts

legitimate business unrelated to Cohen’s commission of the Subject Offenses. Subject Premiscs-
2 is an office located inside of Squirc Patton Boggs’s New Yorlc cft`lce. ln order to execute the
warrant in the most reasonable fashion, law enforcement personnel Will attempt to investigate on
the scene of what computers or storage media, ifany, must be seized or copied, and What computers
or storage media need not he seized or..copied..Law enforcement personnel will speak with _Squire
Patton Boggs personnel on the scene as may be appropriate to determine which files and electronic
devices Within Subject Premiscs~Z belong to or were used by Cohen. While, based on the

forcgoing, it does not appear that Cohen shared electronic devices or a server with Squire Patton

Boggs, where appropriate law enforcement personnel will copy data, rather than physically seize

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computers, to reduce the extent of any disruption of Squire Patton Boggs’s operations H`, after
inspecting the seized computers oH~site, it is determined that some or all of this equipment is no
longer necessary to retrieve and preserve the evidence, the Government will return it.

59. Additionally, because Cohen is an attorney, and claims to serve as a personal
attorney for Trnmp, the review of evidence seized from the Subject Premises and Subject Devices

will be conducted pursuant to established screening procedures to ensure that the law enforcement

 

personnel involved in the investigation, including attorneys fd`r th`e“G`r')ve'rtnnenl; collect evidence__

in amanner reasonably designed to protect any attorney-client or other applicable privilege When
appropriate, the procedures will include use of a designated “frlter team,” separate and apart from
the investigative team, in order to review potentially privileged communications and determine
which communications to release to the investigation and prosecution team.

B. Accessing ESI on the Subject Devices
60. As described above, the Subject Devices are both Apple brand devices.

61. I know from my training and experience, as Well as from information found in
publicly available materials including those published by Apple, that some models of Apple
devices such as iPhones and iPads offer their users the ability to unlock the device via the use of a
fingerprint or thumbprint (collectively, “fingerprint”) in lieu of a numeric or alphaunmeric
passcode or password. This feature is called Touch ID. I also know that the Apple iPhone X offers
its users the ability to unlock the device via the use of facial recognition (through infrared and
visible light scans) in lieu of a nmneric or alphanumeric passcode or password. ”[his feature is
called Face [D.

62. lf a user enables Tonch l]) on a given Apple deviee, he or she can register up to 5
fingerprints that can be used to unlock that device. The user can then use any of the registered

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fingerprints to unlock the device by pressing the relevant finger(s) to the device’s Touch ID sensor,
which is found in the round button (often referred to as the “home” button] found at the bottom
center of the front of the device. lf a user enables Face lD on a given Apple device, he or she can
unlock the device by raising the iPhone to his or her face, or tapping the screen. ln my training
and experience, users oprple devices that offer Tonch ID or Face lD often enable it because it is

considered to be a more convenient way to unlock the device than by entering a numeric or

 

alphanumeric passcode or password, as well as_anioie scenicwa to protecTtEdevicc-.‘:’s_conténts{ '

63. In some circumstances, Toucb ID or Face ID cannot be used to unlock a device that
has either security feature enabled, and a passcode or password must be used iostead. These
circumstances include: (l) when the device has just been turned on or restartcd; (2) when more
than 48 hours has passed since the last time the device Was unlocked; (3) when the passcode or
password has not been entered in the last 6 days, and the device has not been unlocked via Toucb
lD in the last 8 hours or the device has not been unlocked via Face [D in the last 4 hours; (4) the
device has received a remote lock command; or [5) five unsuccessful attempts to unlock the device
via Touch ID or Face lD are made.

64. The passcodes or passvvords that would unlock the Subject Devices are not known
to law enforcement Thus, it will likely be necessary to press the fingers of the user of the Subject
Devices to the devices’ Touch lD sensor, or hold the Subject Devices in front of the user’s face to
activate the Face 1`D sensor, in an attempt to unlock the devices for the purpose of executing the
search authorized by this warrant Attempting to unlock the relevant Apple devices via Toucb ID
With the use of the Engerprints of the user, or via Face ID by holding the device in front of the
user’s face, is necessary because the government may not otherwise be able to access the data

contained on those devices for the purpose of executing the search authorized by this warrant

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65. Based on these facts and my training and experience, it is likely that Cohen is the
user of the Subject Devices, and thus that his fingerprints are among those that are able to unlole
the Subj ect Devices via Toucb ID or his face is able to unlock the Subject Devices via Face lD.

66. Although l do not know which of a given user’s 10 fingerprints is capable of
unlocking a particular device, based on my training and experience l know that it is common for a

user to unlock.a Touch [D-enabled Apple device via the fingerprints on thumbs or index fingers

 

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within the five attempts permitted by Toucb [D, this will simply result in the device requiring the
entry of a password or passcode before it can be unlocked.

67. I also know from my training and experience5 and my review of publicly available
materials published by Apple that Apple brand devices, such as the Subject Devices, have a feature
that allows a user to erase the contents of the device remotely. By logging into the Internet, the
user or any other individual who possesses the user’s account information can take steps to
completely wipe the contents of the device, thereby destroying evidence of criminal conduct, along
with any other information on the device. The only means to prevent this action is to disable the
device’s ability to connect to the luternet immediately upon seizurc, which requires either access
to the device itself to alter the scttings, ortho usc of specialized equipment that is not consistently
available to law enforcement agents at every arrest

68. Due to the foregoing, l request that the Court authorize law enforcement to press
the fingers (including thumbs) of Cohen to the Toucb lD sensors the Subj ect Devices, or hold the
Subject Devices in front of Cohen’s face, for the purpose of attempting to unlock the Subject

Devices via Touch ll) or Face ]D in order to search the contents as authorized by this warrant

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C. Review of ES]

69. Following seizure of any computer devices and storage media and!or the creation
of forensic image copies, law enforcement personnel (including, in addition to law enforcement
officers and agents, and depending on the nature of the ESI and the status of the investigation and
related proceedings, attorneys for the government attorney support staff, agency personnel

assisting the government in this investigation and outside technical experts under government

 

control) wlll `reviE'vv`tlie`ESIE)Htain_ed-the_mih `for information 'responsive'to' tli'e' vval'ra]it._""

70. In conducting this review, law enforcement personnel may use various techniques
to determine Which liles or other ESI contain evidence or fruits of the Subject Offenses. Such
techniques may include, for example:

0 surveying directories or folders and the individual files they contain (analogous to
looking at the outside cfa tile cabinet for the markings it contains and opening a drawer
believed to contain pertinent tiles);

o conducting a tile-by-file review by “opening” or reading the first few “pages” of such
files in order to determine their precise contents (analogous to performing a cursory

examination of each document in a tile cabinet to determine its relevance);

0 “scanning” storage areas to discover and possibly recover recently deleted data or
delibelately hidden Eles; and

¢ performing electronic lceyword searches through all electronic storage areas to
determine the existence and location of data potentially related to the subject matter of
the investigationa"; and

n reviewing metadata, system infonnation, configuration Hles, registry data, and any
other information rei]ecting how, when, and by Whom the computer Was used.

 

34 Keyword searches alone are typically inadequate to detect all relevant data. For one thing,
lteyword searches work only for text dala, yet many types of files, such as images and videos, do
not store data as searchablc text. Moreover, even as to text data, there may be information properly
subject to seizure but that is not captured by a keyword search because the infonnaticn does not
contain the keywol'ds being searched.

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71. Law enforcement personnel will make reasonable efforts to restrict their search to
data falling within the categories of evidence specified in the warrant Dependjng on the
circumstances, however, law enforcement personnel may need to conduct a complete review of all
the ESI from seized devices or storage media to evaluate its contents and to locate all data
responsive to the warrant

D. Return of ESI

 

7_2.__lf the GEv-ernment determines that th`e`elEiti*oiiie"tlevices‘are~nerlonger necessary-_

to retrieve and preserve the data, and the devices themselves are not subject to seizure pursuant to
Federal Rule of Criminal Procedure 41(0), the Govennnent will return these items, upon request
Cornputer data that is encrypted or unrcadable will not he returned unless law enforcement
personnel have determined that the data is not (i) an instrumentality of the oH`ense, (ii) a huit of

the criminal activity, (iii) contraband, (iv) otherwise umawhluy possessed, or (v) evidence of the

Subject Offenses.

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AO 93 (SDNY Rev. 05/10) Search and Seizurc Warrant _

UNITED STATES DISTRICT COURT

for the
Southern District of New York

In the Matter of the Search of

(Brz'ej]y describe the property to be searched
01' identij the person by name and address)

Case No.

Loews Regency Hote|, 540 Park Avenue, Room 1728,
New York, New York 10065, and any closed
containers/items contained therein, See Attachment D

SEARCH AN]) SEIZURE WARRANT

To: ‘ Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of New York

(ide)rtijj/ the person or describe the property to be searched and give its location)i
Loews Rege'ncy Hotel, 540 Park Avenue, Room 1728, New York, New York 10065, and any closed containers/items

contained therein, See Attachment D

The person or property to be searched, described above, is believed to conceal (identi]j) the person or describe the
property to be seizedQZ

See Attachment D

l find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
Pl`OPel`ty~ ` '
YOU ARE COMMANDED to execute this Warrant on or before il _)»\>~ "" ig
(not to exceed 14 days)

il in the daytime 6:00 a.m. to 10 p.m. l ij at any time in the day or night as l find reasonable cause has been
established

Unless delayed notice is authorized belovv, you must give a copy cf the Warrant and a receipt for the property
taken to the person from Whom, or from Whose premises, the property Was taken, or leave the copy and receipt at the
place Where the property Was taken

The officer executing this Warrant, or an officer present during the execution ofthe warrant, must prepare an

inventory as required by law and promptly return this Warrant and inventory to the Clerk ofthe Court.

Upon its return, this Warrant and inventory should be filed under seal by the Clerk of the Court.
USA/.U]niz‘ia]s

ij l find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
oftrial), and authorize the officer executing this Warrant to delay notice to the person Who, or Whosc property, will be
Seat`CheCl Ol‘ SelZ€d (c]reck the appropriate boij lijI` days (not Io exceed 30).
Eluntil, the facts justifying, the later specific date of

Date and time issued: L’\"E"ig 7 ;g€l 63.§‘1. /§/ l`lz'tn C;/ g' Q;`l' 4`\*-#\

Judge ’s signature

Crry and state New Yorr<. NY Hon. nean B. Prrman. u.s. Maqistrate Judae
1 Printed name and title

 

 

AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time Warrant eXecuted: Copy of Warrant and inventory left With:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

 

Certii“rcation

 

I declare under penalty of perjury that this inventory is correct and Was returned along With the original Warrant
to the Court.

Date:

 

Executing ojj‘icer ’s signature

 

Printed name and title

 

 

 

 

 

ATTACHN[ENT D

I. Premises to be Searched-Subject Premises~4

The premises to be searched (“Subject Premises~4”) are described as follows, and include
electronic devices, and all locked and closed containers found therein:

Room 1728 located inside the Loews Regency Hotel at 540 Parl< Avenue, New Yorl<, New
Yorl< 10065. The building is a luxury hotel located on Parl< Avenue and 61st Street. Subject
,Premises~4 is located on the 17th floor ofthe hotel.

I[. Items to Be Seized
A. Evidence, Fruits, and Instrumentalities of the Subject Offenses

aide'M~--e~»~Yifl?heAitems'to_beseized,from Subj ect,]?remises-_4__are,,evidence~. t`ruits, and instrumentalities , ,
of violations of 18 U.S.C. §§ 371 (conspirac.y, as it pertains to the other Subject Offenses), 1005
(false bank entries)§ 1014 (false statements to a financial institution), 1343 (Wire fraud), and 1344
(banlc fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign
contributions) (the “Subject Offenses”), described as follows: '

a. Evidence relating to Sterling National Banl;, Melrose Credit Union, and/or taxi
medallions, nom lanuary l, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated With him to transfer anv interest in taxi medallions, and any associated debts or
liabilities, to others, including to j nd/or entities associated With hjm.

 

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
With Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any Work done by Cohen or any other individuals in connection With Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates. ~

f. Evidence relating to Cohen’s net Worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, Whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January l,

2013 to the present

g. Evidence relating to agreements, loans, and/or financial transactions between

Cohen and_zrnd/or entities controlled by _

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2017.03.02

 

 

   

and any payments by -to Cohen, from lanuary

1. 2012 to the present.

o. Communications With others, including-and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from lanuary 1, 2013 to the

present

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated With an account at a

financial institution; the source of funds flowing into an account; or the purpose or nature of any

financial transactions involving that financial institution, from lanuary 1, 2013 to the present.

q. Evidence of Cohen’s intent as it relates to the Subject Oft`enses under investigation

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises-4 also include any computer devices and
storage media that may contain any electronically stored information falling Within the categories
set forth in Section II.A of this Attachment above, including, but not limited to, a MacBook Pro,
any other desktop and laptop computers, any Apple iPhone or other cellphone or smartphone

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2017.03.02

 
 

 

belonging to Michael Cohen or in his possession, an Apple iPad l\/lini, portable hard drives, disk
drives, thumb drives, and personal digital assistants ln lieu of seizing any such computer devices
or storage media, this warrant also authorizes the copying of such devices or media for later review.

The items to be seized from Subject Premises~4 also include:

l. Any items or records needed to access the data stored on any seized or copied
computer devices or storage media-, including but not limited to any physical keys, encryption
devices, or records of lo gin credentials, passwords, private encryption keys, or similar information

2. Any items or records that may facilitate a forensic examination of the computer
devices or storage media, including any hardware or software manuals or other information
concerning the configuration of the seized or copied computer devices or storage media,

3. Any evidence concerning the identities or locations of those persons with access to,

 

"" c*ontr"o`l`"over;ortownership*ofthe"seized*or*copied-computer»'devicesor'-`storagemedia.

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive

to the Warrant.

ln conducting this review,' law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

v surveying various file “directories” and the individual files they contain (analogous to
lo oking at the outside of a file cabinet for the markings it contains and opening a drawer

believed to contain pertinent files);

~ opening or cursorily reading»the first few “pages” of such Hles in order to determine
their precise contents ;

¢ scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files ;

o performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related

to the subject matter of the investigation; and

¢ reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, When, and by whom the computer Was used.

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' Law enforcement personnel will make reasonable efforts v to search only for files,
documents, or other electronically stored information within the categories identified in Section_s
II.A and II.B of this Attachment However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its

contents and to locate all data responsive to the warrant

Additionally, review of the items described in this Attachment shall be conducted pursuant to
established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to

address potential privileges

 

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2017.03.02

 

UNITED STATES DISTRICT COURT
SOUTHERN DlSTRICT OF NEW YORK

 

ln the Matter of the Application of the United TO BE FILED UNDER SEAL
States of America for a Search and Seizure

Warrant for the Premises Known and Described Agent Affidavit in Support of
as Lo`ews Regency Hotel, 540 Park Avenue, Application for Search and Seizure
Room 1628, a Suite that Encompasses Rooms Warrant

1628, 1629, and 1630 New York, New York
10065, and Any Closed Containers/ltems
Contained Therein _

Reference No. 2018R00127

 

 

SOUTHERN DISTRICT OF NEW YORK) ss.:

ea_.~_'inn ,,,,,,,,,,, -Special.Agent,-EederaLBureau_oflnvestigation,being duly SWOrn.

 

deposes and says:

I. Introduction

At'l", ,r,

 

2. On or about April 8, 2018, the Honorable Henry B. Pitman, United States
Magistrate Judge, issued a search and seizure warrant for the premises known and described as
Loews Regency Hotel, 540 Park Avenue, Room 1728, New York, New York 10065, and Any
Closed Containers/ltems Contained Therein. The warrant and my Supporting affidavit (the
“Affidavit”) are appended hereto. The Affidavit is incorporated herein by reference in its entirety

as Exhibit A.

2017.08.02

 

3 . On or about April 9, 2018, based upon a conversation with another law enforcement
agent who spoke to an employee of Loews Regency Hotel, 1 learned that Michael Cohen is in fact
staying in Room 1628 (in a suite encompassing rooms 1628, 1629, and 163 0) (collectively, “Room
1628”), not Room 1728. Accordingly, 1 respectfully submit the attached amended warrant
pursuant to Rule 41 of the Federal Rules of Criminal Procedure for the following Subject Premises:
Loews Regency Hotel, 540 Park Avenue, Room 1628, New York, New York 10065, and Any
Closed Containers/Items Contained Therein (“Subject Premises~4”). For the reasons detailed in

the Affidavit and herein, 1 believe that there is probable cause to believe that Subject Premises-4

 

contains evidence, fruits, and instrumentalities of violations of 18 U.S.C. §§ 1005 (false bank
entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344 (bank fraud)
(collectively, the “Bank Fraud Offenses”), 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1)
(illegal campaign contributions) (the “Campaign Finance Offenses”), and 18 U.S.C. §§ 371
(conspiracy as it pertains to the other Subject Offenses) (collectively, the “Subject Offenses”).

4. Based on the foregoing, 1 respectfully request the court to issue a warrant to seize
the items and information specified in Attachment A to this affidavit and to the Search and Seizure

Warrant.

` 2017.08.02

 

5. In light of the confidential nature of the continuing investigation, 1 respectfully
request that this affidavit and all papers Submitted herewith be maintained under seal until the

Court orders otherwise.

    

Special Agent
FBI `

Sworn to before me on

9th day of April, 2018

 

' ` n .,
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HoN. HENRY B. €PITMAN
UNITED srArEs MAGISTRATE JUDGE

2017.08.02

 

ATTACHMENT A

I. Premises to be Searched--Subject Premises-4

The premises to be searched (“Subject Prernises`-4”) are described as follows, and include
electronic devices, and all locked and closed containers found therein:

_ Room 1628 (a suite encompassing rooms 1628, 1629, and 1630) (collectively, “Room
1628”), located inside the Loews Regency Hotel at 540 Park Avenue, New York, New York
10065. The building ls a luxury hotel located on Park Avenue and 61st Street. Subject Premises-
4 is located on the 16th floor of the hotel

II. Items to Be Seized

A. Evidence, Fruits, and lnstrumentalities of the Subject Offenses

 

 

The 1tems to be selzed from Subj§tPremises-4 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy, as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign
contributions) (the “Subject Offenses”), described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit _Union, and/or taxi
medallions, from January 1, 2013 to the present

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer anv interest in taxi medallions, and any associated debts or
liabilities, to others, including to and/or entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen &. Associates.

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally`or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present

g Evidence relating to agreements, loans, and/or financial transactions between

Cohen and _and/or entities controlled by t_
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1 and any payments by-to Cohen, from January

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0. Ccmmunicaticns with others, including _and/Or Other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

q. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises~4 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section II.A of this Attachment above, including, but not limited to, a MacBook Pro,
any other desktop and laptop computers, any Apple iPhone or other cellphone or smartphone

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2017.08.02

 

belonging to Michael Cohen or in his possession,4 an Apple iPad Mini, portable hard drives, disk
drives, thumb drives, and personal digital assistants. In' lieu of seizing any such computer devices
or storage media, this warrant also authorizes the copying of such devices or media for later review.

The items to be seized from Subject Premises-4 also include: '

1. Any items or records needed to access the data stored on any seized or copied
computer devices or storage media, including but not limited to any physical keys, encryption
devices, or records of logincredentials, passwords, private encryption keys, or similar information.

2. Any items or records that may facilitate a forensic examination of the computer
devices or storage media, including any hardware or software manuals or other information
concerning the configuration of the seized or copied computer devices or storage media,

3, Any evidence concerning the,identities or locations of those persons with access to,
control over, or ownership of the seized or copied computer devices or storage media,

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement’personnel (which may include, _in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency

personnel assisting the government in this investigation, and outside technical experts under
y government control) are authorized to review the ESI contained therein for information responsive
to the warrant,

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

0 surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

6 opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

0 scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files ;

0 v performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are int1mate1y related
to the subject matter of the investigation; and `

0 reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, When, and by Whom the computer was used.

2017.08.02

 

Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
II.A and II.B of this Attachment However, law enforcement personnel are authorized to conduct ‘
a complete review of all the ESI‘from seized devices or storage media if necessary to evaluate its
contents and to locate all data responsive to the Warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant to
established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to
address potential privileges

 

2017.08.02

 

UNITED STATES DISTRICT COURT
SOU`I'H_ERN DISTRICT OF NEW YORK

________________________________________________________________ _.

 

in the Maaer cf the Application of the United § To BE man umwa sEAL
States of America for a Search and Seizure §

Wan'ant for the Premises Known and Deserihecl § Agent Aftidavit in Suppurt of
as (1) 502 Park Avenue, _\Iew Application for Search and Seizure
York, New York 10022, (2) Michael Cohen’s § Warrant

Office at 30 Roekefeller Plaza, 23rd Fioor, New § l
York, New York 10112, (3) Safe Deposit Bo:t #
Loeated at the TD Bank Branch at 500 Park §

Avenue, New York, New York 10019, and (4) ` l
_ _ _**_]Io"ews Regeney Hotel"$¢$fl Park Avenue; Room-:__ ------- _ w-- _

1728 New Yorlc, New York 10065, and Any§

Closed Containersfltmns Containecl Therein and: v

the Elecironic Devices Known and Described as§

(I) an Apple i]?hone with Phone Number _§

_and (2) an Apple iPhone with Phone

Nurnber ~

Reference No. 2018R00127

 

SOUI'HERN DISTRICT DF NEW YORK`) ss.:

_Speeial Agent, Federal Bu:reau of Investigatien, being duly sworn,

deposes and says:

 

]`.. Introduction
A. Affiant

 

2. I make this Afi;idavit in support of an application pursuant to Rule 41 of the Federal

Rules of Crirninal Proeedure for a warrant to search the premises specified below (the “Subjeet

2
2017.08.02

 

Prernises_”) and the electronic devices speciiied below (the “Subject Devices”) for, and to seize,
the items and information described in Attachments A, B, C, D, E and F. This affidavit is based
upon my personal knowledge; my review of documents and other evidence; my conversations With
other law enforcement personnel; and my training, experience and advice received concerning the
use of electronic devices in criminal activity and the forensic analysis of electronically stored
information (“ESI”). Because this affidavit is being submitted for the limited purpose of

_est'ablishi`ng probable cause; it‘d'oes~not include all the;facts‘that I~ have learned- during-the-course
of my investigation, Where the contents of documents and the actions, statements, and
conversations of others are reported herein, they are reported in substance and in part, except Where
otherwise indicated

B. The Subject Premises and Subject Devices

3. Subject Premises-l, Subject Premises-Z, Subject Premiscs-B and Subject Premises-
4 (co]iectively_, the “Subj ect Prernises”) are particularly described as:
a. Subject Premiscs-1 is Apal'tment-!ocated inside the building at 502
Park Avenue, New York, New York 10022. The building located at 502 Park Avenue is a 32»
floor brick residential building Subj ect Premises-l is located on the-floor of the building.
Based on my review of New Yorlc City property records, Ihave learned that Michael Cohen and
Laura Cohen own Subject Prenlises-l.l Additionally, as described below, Subject Premises-l is
Cohen’s full-time residence
b. Subject Prernises-2 is an office located on the 23rd floor of the building at

30 Rockefeller Plaza, New York, New York 10112. The building located at 30 Rockefcller Plaza

 

1 As noted inji‘a, I have learned that on or about October 28, 2015, Cohen transferred Subject
Premises-l into a trust.

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is a 615-floor office building that spans the entire block between Sixth Avenue and Roclcefeller
Plaza. Subject Prernises-Z is located on the 23rd floor of the building inside of the offices of the
law firm Squire Patton Boggs. The office is assigned to Michael Cohen. As described below,
Michacl Cohen works and conducts meetings at Subj ect Premises-Z.

c. subject remand is a safety deposit box located aside the re nasa

branch location at 5 00 Parlc Avcnue, New York, New York 10019. Based on my review of records

' "_maintained by"I’BBank,_l“have learned thatthe safety'deposit box isapproximately-Eveinches by-

ten inches in size, and is marked as box - The safety deposit box is in the name of Michael
Cohen and Laura Cohen.

d. Subject Prerniscs-4 is Room 1728 located inside the Loews Regency Hotel
at 540 Parlc Avcnue, New York, New Yorlt 10065. The building is a luxury hotel located on Park
Avenue and 6 lst Street. Subj ect Premises-4 is located on the 17th floor of the hotel1 Based on my
review of emails obtained pursuant to search warrants described below, 1 have learned that on or
about ]anuary 5, 2018, Cohen received an email from an employee of Loews Regcncy, which
included a price quote for a long-term stay suite based on a three-month stay ii'oln January 8 to
April 8, 2018.2 On or about .lanuary 29, 2018, Cohen sent.an email to a Loews Regency employee,
stating, in pertinent part: “I just spoke to my wife and she has scheduled the move for Thursday.
Please mark down that we will be taking possession on Thursday, February lst." Based on my
review of cell phone location data, I have learned that, over the past 24 hours', two cellular phones

used by Cohen have been located in the vicinity of Subject Premises-4. In particular, on or about

 

2 Aithough the quoted price contemplated a three-month stay from January 8 to April 8, it appears
that Cohen did not move in until February 1, and as of today, April 8, cellphone location
information demonstrates that Cohen’s cellular phones are in still in the vicinity of Subject
Premises-d.

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April B, 2018, law enforcement agents using a “triggerfish” device identiiied Room 1728 as the
room within the hotel in which the Subj ect Devices are most likely present3
e. Therefore, I believe that Cohen is temporarily residing in Subject
Prcmises-4-
4. Subject Device-l and Subject Device-2 (collectively, the “Subject Devices” are

particularly described as:

"_ “ ._SubjectDevicerl'is'an'AppleiPhone serviced'by-A'P&T-with-the-telephonenumber- -

- Based on my review of records maintained by AT&T, 1 have learned that Subj ect
Devicc-l is subscribed to Miehael Cohen, Based on my review of cellphone location information
maintained by AT&T, l have learned that Subject Device-l is presently located in the Southern
District of New York.

b. Subject Device-2 is an Apple iPhone serviced by AT&T with the telephone number

_Based on my review of records maintained by AT&'I`, I have learned that Subject
Device~Z is subscribed to Michael Cohen. Based on my review of cellphone location information
maintained by AT&T, 1 have learned that Subject Device-2 is presently located in the Southem
District ofNew York.

c. Based on my training, experience, and research, and from consulting the
manufacturer’s l and service providers’ advertisements and product technical specifications
available online, I know that the Subject Devices have capabilities that allow them to, among other

things: make and receive telephone calls; save and store contact information; send and receive

 

3 Based on my conversations with these agents, I understh that it is also possible that the Subject
Devices are one floor below, in Room 1628. However, as ncted, I understand that Cohen received
a price quote for a long-term stay suite and is residing there with his family Based on my
conversations with FBI agents conducting surveillance, I understand that Room 1728 appears to
be a suite, threas Roorn 1628 appears to be a standard room.

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suitcase

 

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emails and text messages,' download and run mobile telephone applications, including encrypted
call and messaging application such as WhatsApp, Signal, and Dust; take, send, and receive
pictures and videos; save and store notes and passwords; and store documentsl

C. The Subject Offenses

5. For the reasons detailed belowJ I believe that there is probable cause to believe that

the Subject Premises and Subject Devices contain evidence, fruits, and instnunentalities of

institution), 1343 (wire fraud), and 1344 (banlt fraud) (collectively, the “Bank Fraud Offenses”),
52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(l) (illegal campaign contributions) (the
“Campaign Finance Offenses”), and 18 U.S.C. §§ 371 (conspiracy as it pertains to the other
Subject 0ft`enses) (collectively, the *‘Subject Offenses”).

D. Prior Applications
6. The FBI and the United Statcs Attorney’s Ofiice for the Southeru District ofNew

Yorlc (“USAO”) have been investigating several courses of criminal conduct by Michael Cohen.
Cohen is an attorney who currently holds himself out as the personal attorney for President Dcnald
Trump, and who previously served for over a decade as an executive in the 'I`rump Organization,
an international conglomerate with real estate and other holdings.

7. ln connection with an investigation then being conducted by the Ofiice of the
Specia.l Counsel (“SCO”), the FBI sought and obtained h'om the I-lonorable Beryl A. Howell, Chiet`
United States District lodge for the Distn'ct of Columbia, three search warrants for entails and
other content information associated with two email accounts used by Cohen, and one search

warrant for stored content associated with an iCloud account used by Cohen. Specihcally:

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a. On or about luly 18, 201’,"', the FBI sought and obtained a search warrant for
emails in the account -@gmail.com (the “Cohen Gmail Account”) sent or received
between lanuary 1, 2016 and luly 18, 2017 (the “First Cohen Gmail Warrant”).

b. On or about August B, 2017, the FBI sought and obtained a search warrant
for content stored in the iCloud account associated with Apple ID _@gmail.com (the

“Cohcn iCloud Account” and the “Cohen iCloud Warrant”).

 

warrant for emails in the Cohen Gmail Accouut sent or received between luna 11 2015 and
November 13, 2017 (the “Second Cohen Gmail Warrant”).

d. On or about November 13, 2017, the FBI sought and obtained a search
warrant for emails in the account __ (the “Cohen MDCPC Account”) sent or
received between the opening of the Cohen MDCPC Account4 and November 13, 201? (the “First
Cohen MDCPC Warrant”).

8. The SCO has since referred certain aspects of its investigation into Cohen to the
USAO, which is working with the FBI’s New York Field OE['ice. As part of that referral, on or
about Fcbruary 8, 2018s the SCO provided the USAO with all non-privileged emails and other
content information obtained pursuant to the First Cohen Gmail Warrant, Second Cohen Gmail

Warrant, and Cohen MDCPC Warrant. On or about March 7, 2018, the SCO provided the USAO

 

4 Based on my review of this warrant and the affidavit in support of it, l know that the warrant did
not specify a time period, but the affidavit indicated that, pursuant to court order, the service
provider had provided non-content information for the Cohen MDCPC Account that indicated that
the account contained emails from the approximate period of March 2017r through the date of the
warrant

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c. - On~or-about_l\lovember -1-3,-20-1-7,- the -FBI soughtand~obtained~a-search---

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with all non-privileged content obtained pursuant to the Cohen iCloud Warrant5 A filter team
working with the SCO had previously reviewed the content produced pursuant to these warrants
for privilege

9. On or about February 28, 2018, the USAO sought and obtained search warrants for
emails in the Cohen Gmail Account and the Cohen MDCPC Account, among other accounts, sent

or received between November 14, 201 ? and February 28, 2018 (the “Third Cohen Gmail Warrant”

and tl'E'“Second*Colien"MDCPC'Wan~ant”]. The'content produced~pursuant-to-these-warrantsis_ --

subject to an ongoing review for privilege by an SDNY filter team.‘5

10. The emails search warrants described above are referred to collectively as the
“C chen Email Warrants.”

11. On or about April ?, 2018, the USAO and FBI sought and obtained a warrant for
prospective and historical cellphone location information for Subject Device-l and Subject
Device-2. On or about April 8, 201 B, the USAO and FBI sought and obtained authority to employ
an electronic technique, commonly known as a “u'iggert:ish,” to determine the location of Subj ect
Device-l and Subject Device-Z. l

II. Probahle Cause
A. Overview

12. The United States Attomey’s Oliice for the Southern District ofNew York and FBI
are investigaring, among other things, schemes by Target Subject Michael Cohen (a) to defraud

multiple banks from in or about 2016 up to and including the present, and (b) to make an illegal

 

5 The SCO had previously provided a subset of this non-privileged content on or about February
2, 201 8-

5 On or about February 28, 2018 and April 'i", 2018, the USA() and FBI sought and obtained Rule
41 search warrants authorizing the search of emails and content obtained pursuant to previously
issued warrants for additional subject offenses

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campaign contribution in October 2016 to then~presidential candidate Donald Trump. As noted,
Cohen is an attorney who currently holds himself out as the personal attorney for President Donald
Trlnnp, and who previously served for over a decade as an executive in the Trump Organization,
an international conglomerate with real estate and other holdings

13. The investigation has revealed that Cohen has made affirmative misrepresentations

in and omitted material mformation nom financial statements and other disclosures that Cohen

"prov'rded_to“multiple"banlcs'in_connection with'-a-transaction- -intended-to*reiieve-Gehen- of_

approximately $22 million in debt he owed on taxi medallion loans from the banks. As set forth
in detail below, in these tinancial statements, and in his oral and other written statements to these
banlcs, Cohen appears to have (i) intentionally misrepresented his ability to pay cash by failing to
disclose cash he began receiving in 2017 from new consulting work; (ii] significantly understated
his total holdings of cash and cash equivalents; (iii) failed to disclose tens of thousands of dollars

he received in monthly interest lncome, and (iv) failed to inform the banks from which he was

asking debt relief mar he had agreed to make a $s.s million cash payment to a third pmy, -

_in connection with _icc[uisition of the taxi medallions securing Cohen’s

debt. By making these misrepresentations and material omissions, Cohen avoided making

monthly payments on his loans, and attempted to haudulently induce the banks to relieve him ot`

certain repayment obligations and personal guarantees that Coha and his wife had signed

 

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15. Based on my review of emails obtained from the Cohen Email Warrants,

information obtained pursuant to the iCloud Warrant, and documents produced pursuant to

subpoenas, as well as my review of public sources, I have learned that Cohen has used the Subject

*Premises to~(a)`receive"documentsrelated-to-the n'ansaction-intended-to-relieve- Cohen-of-his-'tarei_~

medallion debt, (b) receive documents andlor conduct meetings related to his consulting world (c)
receive documents and!or conduct meetings relating to his finances and assets, some of which, as
noted above and as detailed hirther herein, he has concealed from the banks in connection with the
refinancing ar his can medallion debt (a) _
- and (e) house and operate electronic devices that were utilized in connection with, among
other things, the taxi medallion transaction, Cohen’s consulting work, and l_
Speciiically, as described beiow, Subject Prenn`ses~l likely contains evidence concerning Cohen’s
taxi medallion loans, his negotiations with banks, his personal finances, his consulting worlr, his
tax returns, and_, as well as electronic devices containing such evidence,
all of which constitute or contain evidence of the Subject Oft`enses. Additionally, as described
below, Subject Premises-Z likely contains evidence relating to Cohen’s consulting work, his
finances, and_ as well as electronic devices containing such evidence
Subject Prernises~§, as described below, likely contains evidence relating to Cohen’s assets and
finances, including assets that may not have been disclosed to banks in connection with the

refinancing of Cohen’s taxi medallion debt or documents relating to such assets, and documents

or evidence related to _. Subject Premises-4 likely contains electronic

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devices, including Subject Device-l and Subj ect Device-E, which themselves contain evidence of
the Subject Offenses, including concerning Cohen’s taxi medallion loans, his negotiations with
banirs, his personal iinances, his consulting work, his tax rettu'ns, and _
Accordingly, and as set forth in more detail below, there is probable cause to believe that the
Subject Premises and Subj ect Devices Will include evidence of the Subject Ofi.`enses.

B. Probahle Cause Regarding Subjects’ Cornmissiou of the Su hject Offenses7

 

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(i) Cohen ’s Statements to .S‘terlr'ng Notional Bank

lti. As set forth in detail below, in 2014, Cohen, through LLCs controlled by him and
his wife, Laura Cohen, entered into a series of loans from Sterling National Bault (“Sterling”) and
the Melrose Credit Union (“Melrose"), secured by taxi medallicmsJ for approximately $20 million.
Though entered into by LLCs, the loans were also secured by personal guarantees in the names ol`
both Cohen and his wife. Over time, as the taxi industry weakened and the medallions lost value,
Cohen sought to renegotiate the terms of those loans andfor relieve himself ii'orn their obligations,
including the personal guarantees As part of that effort, Cohen made a series of representations
to Sterling and Melrose about his net worth, assets, available cash and income, among other things.
Specitically, based on my review of records maintained by Sterling and Melrose, and public
sources concerning the taxi industry and the value oftaxi medallions, as well as my participation

in interviews with a Sterling executive vice-president (the “Sterling Employee-i”) and two other

 

7 In the following recitation of probable cause, l B~equently refer to phone calls or text messages
involving Cohen. The text messages described herein as sent or received by Cohen were all sent
or received front the telephone numbers associated with Subject Device-l or Subject Devicc-Z.
The vast majority of the phone calls described herein made or received by Cohen were made or
received by the telephone numbers associated with Subject Device~`l or Subject Device-Z, although
in certain limited instances Cohen used a landline or other phone.

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Sterling employees (“Sterling Employee-Z” and “Sterling Employee-B”), l have learned, among
other things, the following:

a. Taxi lnedailions are small metal plaques affixed to taxis. Without a medallion, it
is illegal to operate a taxi in cities with medallion systems, such as New York City. Cohen and his
wife own multiple LLCs that collectively own 32 taxi medallions (each LLC owns two

rnedallions).g Cohen’s purchase of these New York taxi medallions was originally financed by

'_loans'ii'orn €apital One“banl<,' for'which"themedallions-servedascollateralrGolren-was-not~a_t - `__ _

operator, and leased his medallions to a third party. 'I'hat third party made monthly payments to
Cohen, who in turn used some ot` those proceeds to make his monthly loan payments to Capital
One.

b. in early 2014, Cohen became a customer of Sterling when he sought to refinance a
mortgage on a rental property that he owned ln or around April 2014, Cohen raised with Sterling
the prospect of refinancing his taxi medallion loans, which were then at Capital One. By in or about
September 2014, Cohen began negotiating a lending transaction with Sterling that would allow
Cohen to pay off his loans at Capital 0ne and borrow more money from the then-increase in value
of the medallions- According to Sterling Einployee-l, in 2014, prior to the recent upheaval in the
taxi industry-as a result of the emergence of ride-sharing services, such as Uber~eta.ai medallion
loans were viewed by banks and investors as safe, short term credits, as the market value of taxi
medallions was consistently rising. Consequently, taxi medallion loans-like the loans held by
Cohen-were B‘equcntly retinanoed at increasing amounts as the value of the medallions rose.

According to Sterling Employec-l, borrowers typically cashed out the increase in the loan amount

 

3 One of these companies, Mad Dog Cab Corp., was jointly owned by Sondra Cohen, who l
believe is Cohen ’s mothcr.

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and used the additional funds for other purposes Cohen appears to have followed this approach in
2014, when he agreed to refinance his medallion loans for approximately $22 million, which-
aecording to letters from Capital One in Sterling’s Eles_was greater than his previous debt at
Capital One Bank ($21 million, of which $14.6 million was a line of credit to Cohen). This allowed
Cohen to cash out the proceeds from the transaction,

c. Based on my review of records maintained by Sterling, I have learned that on or

_'__aboutDeeemb'er 8,'20l4,'each*of€ohen’s'sixteen taxi~meda]lion'l;]'_-.€s entered-into'-loan-agreements ------

and promissory notes with Sterling for the principal sum of $1,3‘75,000, with repayment due on
Decer.ober S, 2016. Each loan was signed by Michael or l'_.aura Cohen, depending on Who was the
sole shareholder of the L-LC. The address listed l`or each of the LLCs was the address for Subj ect
Premises-l . The loans were also each secured by a security agreement dated the same day, making
the medallions collateral for the notes To give Sterling additional security, l\/_[ichael and Laura
Cohen signed personal guarantees and confessions ofjudgment, giving Sterling the right to pursue
collection against the Cohens’ personal assets were their corporations to default under the loan
agreements The personal guaranty agreements stated that the LLCS had offices at the address for
Subj ect Premises-l, and contained a notice provision that stated that any notices required by the
agreements should be mailed to Subject Premises-l. ln total, Sterling agreed to lend approximately
$22 million to the Cohens’ companies

d. Pursuant to participation agreements, Sterling transferred 45` percent of Cohen’s

taxi medallion debt to Melrose.°

 

9 Melrose, which had a business principally focused on taxi medallion loans, is now in
conservatorship by the National Credit Union Administration (“NCUA”).

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e. In evaluating Cohen’s requested retinancing of the taxi medallions, Sterling (and
Melrose, consistent with its participation in the deal) conducted due diligence. At Sterling’s
request, Cohen provided Sterling with a statement of financial eondition, dated August l, 2014
(the “August 2014 Financial Staternent”), which indicated that Cohen had $lDO,?40,000 in total
assets, $23,550,000 in total liabilities, and a net worth of "t$’l'?,l‘.~'li),l)[}(l.10 From my review of a

Sterling credit memorandum, dated September 29, 2014, l know that Sterling viewed the

 

transacti&itavorablyln:`eause, aceou_nt‘itrgforloanpaylnents;cashhows-nom-the-medal-lions-were_

projected to be positive, the value ot` the collateral (as estimated by Sterling) exceeded $42 million,
and the net worth of Cohcn_who was the direct obligor under the guarantee agreelnents-_was
over $7? million. An internal Sterling credit and risk rating analysis report, dated Oetober 20,
2014, recommended approval of the loans for substantially the same reasons

f. Based on my review of records maintained by Sterling and public sources, l_have
learned that over time, the collateral backing Cohen’s loans (tasi medallions] lessened invalue due
to the rise in ride-sharing companies Addltionally, Cohen began Jfalling behind on loan payments
to Sterling and Melrose. l lcnow from records maintained by Sterling and an interview with Sterling
Employee-Z that, beginning in or around Septernber 201 5, Cohen told Sterling, in sum and
substance, that the individual leasing Cohen’s medallions bad fallen behind in making payments to
Cohen, and that as a result, the monthly cash flow from his taxi medallions had been reduced,
leaving him with a shortfall of approximately $16,000 each month. For instance, l have reviewed
an email from Sterling Elnployee-Z, dated September 9, 2015, summarizing a call with Cohen-v

which according to the email and toll records for Cohen’s cellphone occurred on Septernber 8,

 

10 Cohen subsequently provided Sterling with a revised statement of iinancial condition, also
dated August l, 2014, which reported assets of $99,420,000, total liabilities of $23,550,000, and a
net worth of$75,870,000.

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2015rduring which Cohen told Sterling Employee-Z, in sum and substance, about his cash flow
problems and a monthly shortfall of approximately $16,000. ln that same email, Sterling
Ernployee-Z commented that despite Cohen’s statements, his personal financial information
“indicate[d] a strong ability to make up the difference in payments.” Coheru however, according
to Sterling Employee-Z, pushed the bank for a reduction in Cohen’s monthly payments

g. From my review of records maintained by Sterling and my participation in an

 

interview witlf Sterling Emplr')yee:?,*[‘h'ave_learned*that-Gohen- and -Sterlngmployee»Z--spolre..
again on September 28, 2015, and that during the call Cohen stated, in sum and substance, that the
individual to whom Cohen leases the medallions had again reduced monthly payments to Cohen. l
know from my review of records maintained by Sterling that between in or about September 2015
and November 2015, Sterling raised the possibility-both internally and with Cohen_of Cohen
posting his real estate holdings, personal residence, or some other collateral as additional security
for the banks11 According to these records, however, Cohen resisted these requests From my
review of loan documents and records maintained by Sterling, I know that in or about November
2015, as a result of Cohen’s representation that he was not earning sufficient returns on his
medallions to cover monthly interest payments, Sterling and Melrose agreed to amend their loans
with Cohen by, among other things, reducing the interest rate Cohen paid to Melrose and extending
the loan maturity date to December 8, 2017.

h. l know from interviews with Sterling Employce-l and Sterling Employee-Z, as well
as emails l have reviewed, that in or about October 2016, Cohen told Sterling Employee-l that

Cohen had a potential buyer of his taxi medallions, named _who would agree to

 

“ Based on my review of property uecords, I know that on or about Oetober 28', 2015, around
the time period when Sterling raised the possibility of Cohen posting his personal residence-~
Subject Prernises-l--as collateral, Cohen transferred Subject Premises-l into atmst.

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assume Cohen’s debt with Sterling and Melrose. Based on my review of records maintained by
Sterling, as well as the interviews with Sterling Ernplo_yee~l and Sterling Employee-Z referenced
above, I know that by or before October 2016, Cohen had entered into negotiations to sell his sixteen
corporate taxi medallion entities to_l _
for the balance of the loans, which at the time was $21,376,000. l know from my review of records

maintained by Sterling, and my participation in an interview with Sterling EInployee-Z, that as a

__ennditi'olrof the transfer‘of the-medall-ion-loans-and beeauseSterEng -was~unfamiliar_with- _

-~Sterling requested that Cohen make a substantial principal payment on the loan, of
approximately one million dollars, prior to the transfer. Cohen rejected this request initially. But
on or about January 31, 2017, Cohen told Sterling Employee-l, in sum and substance, that he would
make a one million dollar principal reduction payment in order to move forward with the medallion
transfer deal with - Indeed, in an email sent by Cohen to Sterling Employee-Z on or
about February 22, 2017, Cohen confirmed that he “agreed to pay down 1 million from the loan
amount."

i. Pursuant to the participation agreements between Sterling and Melrose, Sterling
was required to secure Melrose’s agreement to participate in the transfer of the taxi medallion debt
from Cohen to _ O.n or about April 17, 2017, Sterling sent a memorandum to
Melrose summarizing the terms of the proposed transaction, and noting the requirement that
Melrose agree to the terms. On or about May 2, 2017, Sterling Ernployee-l told _
that Melrose had agreed to the deal in principle, and that Sterling would be sending the parties a
term sheet shortly.

j. ln order for the banks to conduct diligence and evaluate the proposed transaction

nilly, they requested financial information irons the parties On or about luna 7, 2017, Sterling

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Employee~l entailed Cohen to request an “updated personal financial statement,” completed
jointly with Cohen’s wife, and Cohen’s most recent federal income tax return. On or about lone
8, 201'?, Cohen emailed Sterling Employce-l a Sterling personal nnancial statement form that had
been filled out by hand, which referenced a statement cf financial condition, dated May 1, 2017
(the “May 201'! Financial Statelnent”) that was also attached The May 2017 Financial Stater_nent
included a cover letter from Cohen’s accountant - stating, in sum and substance, that
'”_ __ _th_e_infonnation' in'th'c statem'ent'cain'efl'om'€ohen-and-that-lad-not- eeoi-i-nned~its-accuraey

or completeness The May 2017 Financial Statement stated that Cohen had total assets of
$41,955,000, total liabilities of $39,130,000, and a net worth of $2,825,000. The May 2017
Financial Statenlent indicated that Cohen’s assets were comprised of $1,250,000 in casb,
$26,155,000 in closely held companies (such as the taxi medallion entities and his real estate
holdings), $3,200,000 in real estate investments, and his $11,000,000 personal residence12

k. Based on my review of reports of law enforcement interviews of Sterling
Employee-l, I have learned that Sterling Employee-l reviewed the May 2017 Fiuanoia] Statement
with Cohen to, among other things, verify its accuracy, and Sterling Employee-l asked Cohen about
specific line items on the financial statement including the cash amount, value of medallions, and
total liabilities Cohen stated to Sterling Employee»-l, in sum and substance, that the May 201'}l
Financial Statement was accurate

l. On or about -August 16, 201?, Sterling Employee-l emailed Cohen and l-

_, attaching a non~binding term sheet memorializing the potential transaction between

 

12 Based on my review of Cohen’s financial statements, I know that the precipitous decline in
assets ti'oru his 2014 Enancial statement to his 2017 financial statements can be explained
primarily by reported depreciation in the value of Cohen’s real estate assets and medallion
investments

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Sterling, Melrose, Cohen1 and - The tenn sheet included a cover letter addressed

to Cohen at Subject Premiscs-l. The parties negotiated the provisions of the term sheet and, on or

about September 5, 201 7, Sterling Employee~l sent ,_lnd Cohen a copy of the
executed term sheet. According to the tenn sheen-would borrow $20,000,000

from Sterling and Melrose, to he seemed by the medallions that -Nas to acquire from

Cohen.

_ _ '_____" '_ 'T£§F§ffdf~th§ugTe§;i]nnt,_ancordntgtothe'term'Sheelf;$']','255;91'3 ill'Pl'in@iPal'(-Whi@h_ _ “' "'""_

is what would remain after the $20,000,000 payment on the outstanding loan balance) would be
repaid by Cohen and the two banks, With Cohen paying fifty percent and the banks dividing the
remaining half of the balance Based on my review of an internal Sterling credit memorandum.,
dated October 4, 201'?, the parties reached apreliminary agreement that Cohen Would pay $632,955
of the remaining $1,265,912 principal loan balance, and Sterling and Melrose would absorb
$357,167 and $2?5,789, respectively, in the form of charge-otis According to Sterling Employee-
l, Sterling was willing to divide the repayment of the outstanding principal balance_despite its
prior insistence that Cohen make a principal pay-down of at least one million dollars-because
Cohen represented on a telephone call with Sterling Enlployee_l, in sum and substance, that he had
insufficient liquidity to pay the full outstanding principal balance As part of the agreement, Sterling
and Melrose also agreed to relieve Cohen and his wife of the personal guarantees that they made
on behalf of the LLCs. Thus, after completing the `-transaction, Cohen would no longer
have had any outstanding obligations to Sterling or Melrose.

n. Based on my review of emails sent by Sterling employees, I have learned that
because the transaction between the parties was subject to full credit rmdervn'iting by Sterling and

Melrose (as Well as Melrose’s regulators at `NCUA), in August and September 2017, Sterling

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required and requested additional financial statements and tax returns for Cohen and ‘-
for its credit underwriting process In response to Sterling’s requests, on or about September 25,
2017, Cohen emailed Sterling Employee-Z a copy of his 2016 tax return. The tax return listed
Coh_en’s mailing address as Subject Premises-l. Additionally, on or about Detober 5, 2017, Cohen
re»sent Sterling Ernployee-Z a copy of his May 2017 Financial Statement. A_ day later, on OGtober

6, 2017, Cohen emailed Sterling Ernployee-2 a statement of financial condition, dated September

 

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o. Lilce the May 2017 Financial Statement, the Septernber 2017 Financial Statement
included a cover letter fi‘om-, Cohen’s accountant, stating, in sum and substance, that
the information in the statement came fi'om Cohen, and that -1ad not confirmed its accuracy
or completeness The Septernber 2017 Financial Statement stated that Cohen had total assets of
$33,43 0,000, total liabilities of $45,630,000, and a negative net worth of $12_.200,000-13 Notably,
unlike Cohen’s May 2017 Financial Statement, the September 201'}' Financial Statement
represented to Sterling that Cohen had a negative net worth. The Septernber 2017 Financial
Statement indicated that Cohcn’s assets Were comprised of $1,250,000 in cash, 317,630,000 in
closely held companies (including the taxi medallion entities and his real estate holdings),14

$3,200,000 in real estate investments, and his $11,000,000 personal residence (Which, for the first

 

13 Based on my review of Cohen’s financial statements, l know that this ii.nther decline in
assets can be explained primarily by reported depreciation in the value of Cohen’s real estate assets
and medallion investments

14 Notably, the September 2017 Financial Staternent valued each of Cohen’s thirty-two New

York taxi medallions at approximately $180,18'?.50, which was considerably less than the
$650,000 valuation ascribed to each medallion ia the cohen~‘_tem] sheet

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timc, he indicated was held by a trust .15 The September 201? Financial Statement included assets
and liabilities not held in Cohen’s name, such as various entities associated with his taxi mcdallions
and some of his real estate investment entities.

p. From my participation in an interview with Sterling Employee-.'l, and my review of
records maintained by Sterling, l have also learned that around the time Cohen provided Sterling

with these financial statements_i.e., in or around September 2017-Cohen stopped paying

_ monthly"loan payments on histaiti'n:iedallion-loansl altogether. vAccording- to Sterling-Ernployee-_

2, Cohen informed Sterling, in sum and substance, that he had insufficient funds to pay the monthly
principal and interest payments on his medallion loans. By in or about Dccemher 2017, Sterling
and Melrose had not been paid approximately $276,937.92 in monthly principal and interest
payments on the medallion loans. Based on Cohen’s financial condition as conveyed in the
September 201? Financial Statement, and his delinquency in making payments to Sterling, among
other things, the hank’s credit underwriting committee determined (and memorialized in a
December 2017 memorandum) that the Cohen-`- transaction was favorable for the bank
- that is, that-would be a better borrower than Cohen.

q. 011 or about December 26, 2017, Sterling sent Cohen a demand letter requesting
the immediate receipt of past-due loan payments The demand letter was addressed to Cohen at
Subject Premises-I. On Decernber 29, 2017, Sterling sent Cohen a letter stating that he was in
default under the loans between Sterling and Cohen’s medallion corporations The notice of
default was addressed to Cohen at Subject Premises-l . Cohen did not make an immediate payment

on the loans, but instead sent an e~mail to Sterling Employee-I. on or about ]anuary 24, 2018,

 

15 Based on my review of property records maintained by the City of New York, and my
participation in an interview with-l know that in 2015, Cohen transferred his residence to
a trust He did not disclose that transaction to -or Sterling until in or about September 2017.

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stating that during the closing of the Cohen-- transaction, Cohen would “bring all
payments up to date as well as deposit the payoff difi`erential.” Cohen also requested by email on
January 24, '2018, that at the closing of the Cohen~`-transaction, Sterling provide a letter
stating that all of Cohen’s debts have been satisfied and that Cohen’s personal guarantees of the
medallion loans had been terminated

r. The Cohen--transaction, however, did not close. On or about lanuaiy

“_""29,_20t8,_the"`-'-'attorney-emailed anomeysfor$terling- mtd-stated--that-“-at -this-time-_

there is no deal with Michael Cohen. Sornc ofthe ntunbers have changed and we are not prepared
to go forward.”

s. Based on my participation in the interview with Sterling Employee-Z and my
review of records maintained by Sterling, 1 know that alter the Cohen--ieal fell apart,
Sterling assigned Cohen’s loans to Sterling Employee-S', who specializes in collecting on
defaulting loans. From my participation in an interview with Sterling Employec-B, my review of
telephone call notes taken by Sterling Employee-B, and my review of telephone records, l know
that Sterling Employee~B spoke several times to Cohen on or about lanuary 30, 2018 about paying
down and)'or restructuring Cohen’s outstanding taxi medallion loans. Un the calls, which in total
lasted more than an hour, Cohen stated in sum and substance that he did not have more than
$1,250,000 to pay toward the medallion loans. On the call, in the course of reviewing the failed
Cohen-- transaction Sterling Employee-3 questioned Cohen about the price
-vas to have paid for each medallion., and whether there was a side agreement between
Cohen and - Cohen denied that there Was any side agreement with -

t. On or about January 31, 2018, Cohen emailed Sterling Employee~B and proposed

paying $500,000 to bring the loans current and $750,000 to bring the principal balance to

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$20,500,000. Cohen also suggested revised monthly interest payment amounts. The signature
block on the email indicated that Cohen’s address was the address for Subject Prcmises-Z. On or
about ]anuary 31, 2018, Sterling Employee-B responded to Cohen and stated, in sum and
substance, that Cohen would need to pay the entirety ofthe overdue payments and pay down the
principal balance of the loan to $20,000,000 (in total, a payment of approximately $1,750,000),
and would need to make larger monthly interest payments.

F ` "n._OhTabEnt'Fele,_Zl)lS; Cohen"emaile'd' Sterling-Employee-Sand-proposed-
“[p]ayment of $1.250n1 which ALL can be used to pay down principal, if [Sterling] will waive
past due amounts,” but stated “I do NOT have more than the $l .250m.” (Ernphasis in original.)
Cohen also stated, in sum and substance, that he had insufficient financial resources to post
additional collateral or pre-fund monthly payments. The signature block on the email indicated
that Cohen‘s address was the address for Subject Premises-Z. Based on lny participation in an
interview with Sterling Employce~B, l have learned that since January 30, 2018, Sterling has
continued to renegotiate the medallion loans with Cohen based on Cohen’s representations about
his current financial position. ln particular, according to Sterling Ernployee-3, Cohen and Sterling
have an agreement in principal to restructure Cohen’s loans based in part of Cohen’s agreement to
make a principal payment of approximately $?50,000, to make a payment of $500,000 to become
current on interest payments, and to post $192,000 in cash collateral for his future monthly
payments on the loan. Cohen also agreed to pledge an interest he had in a property. Sterling
Employce-3 has stated that had Cohen indicated he had more than $1,250,000 available to him,
Sterling would have, among other things, negotiated for a larger reduction to the principal amount

of the loan.

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(a) cohen Made amean Merepresenmaons Aer ne Fewnces re seats l

Cohen Concealed ll`rom Sterlingl and Melrose Cash Derived nom Consultina Worl<

l'i. As set forth in detail below, despite multiple written and oral representations by |
Cohen to Sterling (and, by extension, Melrosel'$) that he had insuflicient funds to pay down the
principal balance of the medallion loans, make monthly interest payments, or pay past~dne
amounts, it appears that between 2016 and the present, Cohen opened and maintained bank
aceounts--at_First-chublic -Banlc_ (_‘fF_irst_Republici ,_and then. recei,ved..millions_of'_dollarssiniv _. ____. .
consulting payments in these accounts, which he did not disclose to Sterling. Cohen set up these
accounts and received these funds during the very period in which he made disclosures to Sterling l
about his personal iinances (including his assets and liabilities) and his ability to make payments
on the medallion loans. In these disclosures to Sterling-and despite being asked about these bank
accounts by his accountant-Cohen misled the bank by claiming he had insufficient liquidity to
satisfy his obligations or meet the bank’s demands, while withholding information about these
ongoing revenue streams and liquid financial assets at First Republic.

18. Specil:ically, based on my review of documents and bank records produced l
pursuant to a subpoena by First Republic, and my participation in and review of reports ot` l
interviews with aFirst Repuhlic sales manager (“First Republic Employee-l”) and a First Republio
senior managing director (‘Tn'st Republic Employee-Z”), I have learned, among other things, the

following: `

 

15 Based on my review of a report of an interview conducted with an employee ot`Melrose, l l
have learned that, pursuant to the participation agreement between Sterling and Meh'ose, Cohen’s "
'linancial statements and other records in Sterling’s possession were forwarded to Melrose so that
Melrose could make a determination as to whether to approve of the Cohen-`
transaction Based on my review of reports of interviews with Melrose employees, l also Know
that Cohen called employees at Melrose regarding the Cohen--;ransaction.

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a. Cohen and his wife have been customers of First Republic since approximately
June 201 1. Cohen controls several checking and loan accounts at First Republic, some in his own
name and others in the names of corporate entities. According to First Republic’s know-your-
customer records on Cohen,l'" his primary physical address is the address for Subject Premises-l.
b. On or about October 26, 2016, in Manhattan, New York, Cohen opened a new

checking account at First Republic in the name of Essential Consultants LLC (the “Essential

 

Consultants _Account”)._`Cbh_eWWthWilwutliorized_signatoryon'the account 'A'ccording*to-
account opening documents, the primary address for Essential Consultants LLC was the address
for Subject Premises-l. When Cohen opened the Esscntial Consultants Account, First Republic
Employee-l conducted an in-person interview of Cohen- In response to a series of know-your-
customer questions about the purpose of the account-the answers to which First Republic
Employee~l entered into a formm-Cohen stated, in sum and substance, that he Was opening
Essential Consultants as a real estate consulting company to collect fees for investment consulting
Work, and all of his consulting clients would be domestic individuals based in the United States.
Cohen also stated, in sum and substance, that his purpose in setting up the account Was to keep the
revenue from his consulting busmess_-which he said Was not his main source of income_separate
ii~om his personal Jo'nances. As set forth below, there is probable cause to believe that Cohen’s
statements about the intended purpose of the account and source of funds for the account were

false. Specit`lcally,- as described below, the account was not intended to receive_and does not

 

'7 Certain financial institutions are required to conduct such procedures pursuant to the Banlc
Sccrecy Act and its implementing regulations See .31 U.S.C. § 5318; 31 C.F.R. § 1020.220.

13 First Republic Employee-l first filled out the form on the day he interviewed Cohen, Oetober
26, 2016. On or about Dccember 19, 2016, at the request of bank compliance personnel, First
R.epublic Employee-l updated the form to add more detail about Cohen’s statements

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appear to have received-money in connection with real estate consulting worlt; in addition, the

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account has received substantial payments from foreign sources.
c. I know from my review of First Republic bank records that Were scheduled by an
FBI forensic accountant that alter Cohen opened the Essential Consultants Account, Cohen
received payments into that account from foreign businesses and entities that do not reflect the
stated client profile for the residential and commercial real-estate consulting services. Speciiically,
"`"_"` __Hmy`revi`ew‘of the'Essential'Consultants'Account-schedule and-publie~sources§ l- lmow. the._ ___ __ .___ __ '
following:

i. Bcginning on or about lanuary 31, '20'17, Cohen began receiving monthly
payments of $83,3 33 into the Essential Consultants Account ii'om an entity called Columbus Nova
LLC. According to public sources, Columbus Nova is an investment management firm controlled
by chova Group, an industrial holding company based in Zurich_, Switaerland that is controlled
by Russian national Viktor Velcselberg. From January 2017 to August 201?, the Essential
Consultants Account received seven payments totaling $5 83,332.98 from Columbus Nova LLC.

ii. Beginning on or about April 5, 2017, the Essential Consultants Account
began receiving payments from Novartis luvestments, SARL, which I believe to be the in-house
financial subsidiary of the Swiss pharmaceutical company Novartis lnternational AG (‘*Novartis”).
Between April 2017 and Febluary 2013, the Essential Consultants Account received eleven Wire
payments from a Swiss bank account held in the name of Novartis, each in the amount of $99,980,
for atotal of $1,099,'?30.

iii. Begiiming in or about April 201?, the Essential Consultants Account started
receiving Wire payments from a bank account associated with the teleconununications company

AT&T lnc. (“AT&'I"’). Speciiically, on or about April 14, 2017, AT&'I` sent $100,000 to the t

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Essential Consultants Account and, from in or about lune 201? to in or about lanuary 2018, the
Essential Consultants Account received ten $50,000 payments from AT&T. ln total, AT&T sent
$600,000 to the Essential Consultants Account.

iv. On or about May ll), 20l 7, Junc 9, `2017, lilly 10, 2017, and November 2?,
2017, the Essential Consultants Account received four deposits in the amount $150,000 (totaling
$600,000) from a bank account in South Korea. The account holder from which the money was
se_nt i`s"Koi‘"eE Keiiispzu:_c`lEiliKt'fic§I;t'd._(“KAl”). 'K‘Al'is a'South Korea'-based-company--that~ -
produces and sells fixed-wing aircraft, helicopter aircrat`t, and satellites to the United States
Department of Defense, among other customers.

v. On or about May 22_. 201 7, the Essential Consultants Account received a
$150,000 deposit from an account at Kazkommertsbank, a Kazakhstani bank. The listed account
holder at Kazkommertsbank was a second Kazakhstani bank named BTA Bank, AO. A message
accompanying the wire payment indicated that the payment was a “monthly consulting fee as per
lnv BTA-lOl DD May 10, 201'?r consulting agreement WfN DD 08 05 2017 CN’[R WiNDD
08105!2017.”

vi. ln total, from on or about January 31, 2017 to on or about February 1, 2018,
the Essential Consultants Account received approximately $3,033,112.98 in transfers and checks
from the aforementioned entities. As of on or about Jauuary 10, 2018, the balance in the Essential
Consultants Account was $1,369,474.23. Cohen’s withdrawals from the Essential Consultants
account reveal that it was used for largely personal purposes, including to pay, among other things,
American Express bills and fees ii'om “thc Core Club,” a private social club in New Yorl<.

d. On or about April 4, 201?, Cohen opened another new checking account at First

chublic, this one in the name ofl_\/lichael D. Cohen & Associates, P.C. (the “MDC&;A Accouut”).

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Cohen Was the only authorized Signatory on the account. According to account opening
doculnents, the primary address for MDC&A Account was the address for Subject Premises-l.
Among other things, the MDC&A Account received ten wire transfers and one check from an
account in the name of Sqnire Patton Boggs, a law tith As noted above, Subject Preinises-Z is
located inside the New York office of Squire Patton Boggs. In total, from on or about April 5,

201?, to on or about .l'anuary '2, 2018, the MDC&A Account received $426,097.?0 in deposits, and

` __ _*th"€ balan_c_e'in*the_ac'countras'of'January_Z,_ZOlS,_was-$344;S4173-St- As discussed below-,_(~Iohen_ --_ -

never disclosed any of the balance in the Essential Consultants or MDC&.A accounts to Sterling
during the negotiations with respect to the - transaction or the subsequent loan
refinancing negotiations, including in his May 201? Financial Statement and September 2011r
Financial Statement.

19. Based on my review of emails that were seized pursuant to the Cohen Email
Warrants, and my review of reports of interviews with employees of AT&T and Novartis, it
appears that the aforementioned payments to the Essential Consultants Account and MDC&A
Account were for political consulting work, including consulting for niternational clients on issues
pending before the Trurnp administration Speciflcally, from my review of emails h‘om the Cohen
Gmail Aocount, the Cohen MDCPC Account, and public sources, l have learned the following:

a. On or about April 28, 201?, Cohen sent an email to an individual whom l believe
is affiliated with KAi. In the email, Cohen attached a “Consulting Agreement” between KAI and
Essential Consultants' dated as of about May 1, 2017. The agreeth indicates that Essential
Consultants had the address ot` Subject Prelnises-Z. The document indicates that Essential
Consultants Would render “consulting and advisory services, as requested” by KAI, and that KAl
Would pay Essential Consultants “a consulting fee of One Million Two Hundred Thousand

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($1,200,000.00) US Dollars,” disbursed through eight $150,000 installments between May 2017
and Deeember 201 ‘J’. l have also reviewed invoices in amounts of $150,000 that Cohen emailed
to an individual whom I believe is afliliated with KAI. At the top of the invoices the address listed
for Essential Consultants is the address for Subject Prernises-Z.

b. On or about May 8, 2017, Cohen sent an email to an individual whom l believe is

affiliated with BTA Bank. The signature block on Cohen’s email listed “Essent:ial Consultants

LLC” and a"ll/I‘ich'ael'']IF`C?)hH¢l{t_Assoc‘iat'e`s','PC”' andprovided"the address--for_Subject~Premises-.

2- In the email, Cohen attached a document purporting to be a “Consulting Agreement” between
BTA Banlt and Essential Consultants dated as cf about May S, 201'?. The agreement indicates that
Essential Consultants had the address of Subject Premises-Z. The document indicates that
Essential Consultants would render “consulting and advisory services” to BTA Banlc, and that
BTA Bank would pay Essential Consultants “a consulting fee of One Million Eight Hundred
Thousand ($1,800,000.00) US Dollars,” disbursed through monthly payments of $150,000. On or
about May 10, 2017, Cohen sent an email to an employee of BTA Bank, and attached to the email
an invoice to BTA Banlc in the name ofEssential Consultants, with the address of Subject Premises-
2. The invoice contemplated a $150,000 payment to Essential Consultants for a “monthly
consulting fee.”

c. On or about January 23, 201‘7, Cohen appears to have entered into a consulting
agreement with AT&T, which contemplates that Essential Consultants “shall render consulting and
advisory services to [A'I`&T]” and that AT&T would “advise [E.ssential Consultants] of those issues
and matters with respect to which AT&T Services desires [Essential Consultants]’s assistance and
advice.” 'I`he agreement indicates that Essential Consultants had the address of Subject Premises-

1. The contract calls for AT&T “to pay the Consultant for his services . . . a consulting fee ofFifty

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Thousand ($50,000) Dollars . . . per mon .” Based on my review of reports of interviews with
AT&T employees, I have learned that AT&T retained Cohen to consult on political issues,
including net neutrality, the merger between AT&T and Time Wamer, and tax reform.

d. On or about March l, 201?`, Cohen appears to have entered into a contract between
Novartis and Essential Consultants, which provides that Essential Consultants will “provide

consulting and advisory services to Novartis on matters that relate to the repeal and replacement of

the Affdrd_ab_leTaTrEf`in "the'US_an‘d“'any“ other' issues rmutually-agreeable--to-- [Essential._

Consultants] and Novartis.” The contract provides for a “consulting fee of One Million Two
Hundred Thousand ($1,200,000) US dollars,” to be paid to Essential Consultants in equal monthly
installments over the course cfa year. Based on my review of reports of interviews with Novartis
employees, 1 have learned that Novartis retained Cohen to provide political consulting services and
to gain access to relevant policymakers in the Tnn'np Administration.

e. ln or about February 2017, Cohen began negotiating the terms of a “strategic
alliance” with Squire Patton Boggs. On or about March 4, 2017, Squire Patton Boggs emailed
Cohen a “strategic alliance agreemen .” linder the terms of the agreement, Cohen agreed to
generate business for the law iirm, and Squire Patton Boggs agreed to pay to Cohen “an annual
strategic alliance fee of $500,000, payable in twelve (12) equal monthly installments.” Squire
Patton Boggs' also agreed to provide Cohen with “dedicated and segregated office space in [Squirc
Patton Boggs’s] New York and Washington D.C. oftices, which office space shall be physically
separate from [Squire Patton Boggs’s] oti:'lces and have locked doors and its own locked file
cabinets.” On or about April 3, 2017, Squire Patton Boggs announced on its website that is had
formed a “strategie alliance” with Michael D. Cohen & Associates and would “jointly represent

clients.”

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20, Despite the significant amount of money that Cohen received into the Essential
Consultants Account and the MDC&A Account, and the cash balance in both accounts, Cohen did
not disclose that information to Sterling or Melrose. Speciiically, based on my review of documents
provided by - (as noted above, Cohcn’s accountant at the thne), my participation in an

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have learned the following:

 

meeting, Cohen told - in sum and snbstance, that he had set tip a law practice called Michael
D. Cohen & Associates P.C., and a consulting company called Essential Consultants LLC. Cohen
told -, in sum and substance, that he expected tn earn $75,000 per month in connection with
his law practicc, and that he expected gross revenues for the consulting business tc be between live
and six million dollars annually.

b. In or about Octoher 2017, if not earlier, -vas preparing a personal iinanciai
statement for Cohen. On cr about Octobcr 6, 2017, -sent an email to Cohen in which '-
Wrote that “[a]ttac.hed is a draii: of the new PFS as of September 30, 2017” and attached a draft of
the September 2017 Finanoial Staternent. The draft statement reflected that as of September 30,
201?, Cohen had only $1,25 0,000 in cash, total assets of approximately $33,43 0,000 (comprised of
taxi medallion interests, real estate interests, and his personal residence and property), and liabilities
of approximately $45,630,000, leaving linn purportedly over $lZmillion in debt. In the same email,
-luestioned Cohen, in sum and substance, about the fact that the financial statement did not
list any value associated with either the Essential Consultants Account or the MDC&A Account:

“[w]e did not add any value for you[r] two operating entities - Michael D. Cohen & Asscciates

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rm.._.,.

 

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POC [sic] and Essential Consultants LLC. Plcase advise whether or not these should be disclosed
and what value.”

c. On or about October 6, 2017, Cohen called -3y telephone-ewhich is reflected
on toll records for Cohen’s cellphone-and told - in sum and snbstance, not to include
Essential Consultants or MDC&A in the Septernber 201 ? Financial Statement because they had no
value. On or about October 6, 2017, following the call with-Cohen, using the Cohen
§Ecoun_hert_o-email 'witlrthe' answer “[l]oolcs-good-te-me.’;€ohen-never.directed _________ _______ __ __;
-to make any changes to his cash position as listed in the September 201'_,Jr Pinancial l
Statement. ln a letter dated October 6, 2017, addressed to -, Cohen stated, “l have reviewed l
the attached statement of financial condition and find it to be correct and consistent with the |
representations that I made to your flrrn. The attached is an accurate reflection of my assets,
liabilities and net worth (delicit) as of September `30, 201?.” Attached to that letter was the
Septcmber 2017 Finanoial Statement, which, as noted above, was then transmitted to Sterling in
connection with the proposed taxi medallion transaction between Sterling, Cohen, and 1_

21. Based on my review of a report of an hiterview with Sterling Employee-l, l have
learned that Cohen did not disclose his income stream from Essential Consultants to Sterling
Employee»l or, to his knowledge anyone else at Sterling. According to Sterling Ernployee-l,
knowledge of such an income stream would have affected Sterling’s demands during the
negotiations, particularly With respect to the amount of a principal paydown of Cohen’s debt.

Cohen Understated His Available Cash

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22. In addition to withholding the existence of his Essential Consultants income ii'orn l

Sterling and Melrose, it appears that Cohen also substantially understated his available cash and l
cash equivalents in his huancial disclosures Specifically, lkncw from my review of the Septernber §
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201? Finaucial Statement that Cohen provided to Sterling that Cohen represented that he had
$1,250,000 in cash as of Septeniber 30, 2017. l also know that on or about .lanuary 30, 2018, in a
telephone call With Sterling Employee-B, and on February l, 2018, in an email to Sterling
Employee-S, Cohen represented that he did not have more than $1,250,000 in cash. But, i_i‘om my
review cfa summary of bank records that were scheduled by forensic accountants, l have learned

that Cohen had approximately '$5,000,000 in cash and cash equivalents as of September 30, 2017.

 

Additionally,_a's of`Febrlia_ry_l`,` `ZUl`B,_Col!en_had_approximately-'$6,000,000-in-cash'and_ cash_ _

equivalents Specitically, tl.'om my review ofthe account schedule and bank records, I have learned
the following:

a. Cohen has three checking and/or savings accounts at Capital One Bank, one of
which is in his wife’s name. As of Septcrnber 30, 2017, Cohen had $l,IDS,-‘SSD.BS in his savings
account, and $1;262,982.29 in total in the three accounts at Capital One Banlc. As ot` February l,
2018, Cohen had a total of $l ,3 89,245.?8 in these accounts

b. Cohen has three accounts at Morgan Stanley in his name. As of September 30,
201 ?, the combined total in cash and cash equivalents in those three accounts was $1,2?0,600.41.
As ochbruary 1, 2018, Cohen had $1,284.996.13 in these accounts

c. As ofSeptember BU, 2017, Cohen had $260,689.18 in an account at Signatm‘e Bank.
As ofFebruary l, 2018, Cohen had $261,51‘?.55 in this account.

d. In addition to the Essential Consultants Account and MDC&_A. Account at F_irst
Republic, Cohen also had two joint checking accounts with Laura Cohen at First Repuhlic. ln total,
as of September 30, 201'}'_. Cohen had at least $1,8?6,209_27 in total in his four accounts at First

Republic. As ofFebruary l, 2018, Cohen had $3,332,992.95 in these accounts

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e. Cohen has an account at Bethpage Credit Union with $25,931,39 in it as of
Septelnber 30, 2017.

t`. As of September 30, 2017, Cohen had $l ?,542.54 in accounts at Sterling.

g. Cohen has two accounts at TD Bank-one in his name and one held jointly with his
Wife. Cohen also has a safety deposit box at TD Bank-+Subj ect Prernises-B_ The safety deposit

box was opened on December 13, 2017 in the names of Michael and Laura Cohen.

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at Capital One Banlc, City National Banl<, Signature Banlt, Sterling Bank, Bethpage Credit Union,
First _Republic, and Morgan Stanley. As of February 1, 2018, Cohen had $6,268,732.59 in his
accounts at Capital One Banlc, City National Bank, Signature Bank, First Republic, and Morgan
Stanley.lS'

23. Accordingly, based on the foregoing, it appears that Cohen’s written and oral
representations to Sterling and Melrose that he did not have more than $1,250,00(] were false, and
that Cohen withheld information regarding approximately $5 million in iiunds Bom Sterling and
Melrose in order to secure favorable terms in his renegotiation ot` his medallion loan. Based on
my participation in an interview with Sterling Employee-Z, and my review of reports of interviews
with Sterling Employee-l and two Melrose employees, it is my understanding that that Sterling
and Melrose would view Cohen’s understating of his assets as material to its decision whether t_o

renegotiate Cohen’s medallion loans and on what tenns, or to its decision whether approve of the
transfer ot` those loans to -

19 Based on my review of the account schedules described above, I know that, as of the date of this
afiidavit, the account balances for TD Banlt have not yet been included in the schedule for either
date and the account balances for Sterling National Banlc and Bethpage Credit Union have not yet
been included in the schedule for February 1, 2018. Thus, to the extent that these accounts have
positive balances, Cohen’s total balances in fact were even higher on these dates.

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Cohen Has Unreoorted Interest lncome

 

24. It appears that Cohen also hid from Sterling interest income that he was receiving in h
connection with a six million dollar loan he made to another individual. Specitieally, I know from |
my review of the May 2017 Financial Statement and September 2017 Financial Statement that
Cohen provided to Sterling that Cohen did not disclose that he had made a note receivable in the
amount of approximately $6 million, or that he was earning approximately $60,000 per month in

___ `d_ mt’erest”income“in"connection~wili:rthat-loan--.- -But,~h-'em-my-reviewo£ a_summary_of.baulc.records__ __ _______

that were reviewed by another law enforcement agent, my review of property records and l

 

documents obtained pursuant to the Cohen Email Warrants, and my participation in an interview

math-l have learned the following

a. Based on my review of property records, I have learned that on or about March 12,
2012, Cohen agreed to lend __lPP-\`Oxjmately l
$2,000,000.2° It appears that the promissory note was unsecured by any real property On or about
April 28, 2014, Cohen and- amended the promissory note, and restructured the loan to ll
increase the principal amount to approximater $5,000,000. Undcr the terms of the amended l
promissory notc, the loan was secured hy_ apartment in _, Florida. On l
or about April B, 2015, Cohen and -restated the promissory note to increase the principal |

amount to $6,000,000.21

b. Based on my review of a copy of the restated ncte, which was obtained pursuant to

the Cohen Email Warrants, I have learned that under the terms of the amended and restated l

 

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21 The note states that the loan` ls to _ husband and Wlfe

jointly and severally For ease of reference, l refer simply to‘ ‘-1ercin.

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promissory note, Cohen’s loan to _s an interest-only loan, and that the principal balance
of the loan bears interest at an annual rate of 12.25 percent I also know that the amended and
restated promissory note includes a schedule of payments that require -to pay Cohen
approximately $61,250 per month beginning in April 2015 and ending in April 2019. The note also
requires ma-»epey the panelpal balance er s6,000,000 en Aprll zs, 2019.

c. Based on my review of bank records, I have learned that, consistent with the terms

~ot` the~amended_and-restated promissory »neteT---has*made--monthly_-payments_of__.

approximately $61,250 since April 2015. Specii`lcally, based on my review of records maintained
by Capital One Bank, l have learned that nom April 2015 to October 2015, Cohen received checks
horn an entity called_. totaling $61,250 per month, which he
deposited into his personal bank account at Capital One Bank.22 lt appears from my review of bank
records and public sources that :-is the owner of l_

Froln my review of records maintained by Capital One Banlr, l have also learned that since October
2015, Cohen has received checks nom an entity called l_. totaling
561,250 per month, which he deposited into his personal bank account at Capital One Banlc. lt
appears ii'om my review of bank records and public sources that -s also the owner of l-
_ln total, it appears that Cohen receives approximately $735,000 per year
in interest payments from -

d. Based on my review of Cohen’s May 2017 and September 2017 Financial
Statements, my review of his 2015 and 2016 tax returns obtained via subpoena and from the Cohen

Email Warrants, and my participation in an interview with - l have learned that Cohen did

 

22 ln April 2015, Cohen received a pro-rated payment For all months thereafter, the total payment
equaled $61,250, but -)hen made the payment in multiple checks

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not disclose this interest income he was receiving from -to Sterling or Melrose, or list it
on his tax returns. I have also learned that while this interest income is taxable, Cohen did not tell
--his accountant-»-about the income, and -only learned about the income because he
began doing _taxes in .'l[)l'l".23

25. - Accordingly, based on the foregoing, it appears that Cohcn’s representations to
Sterling and Melrose that he did not have more than $l,250,000 were false, and that Cohen
Mation relating-ftl `tlie"ititDst_income~lre“ is receiving i':`rom---in- order to
secure favorable terms in his renegotiation oi` his medallion loan.

cohen ned a side Ageemem was -

26. As set forth in detail below, during the course of Cohen’s negotiations to sell his
interest in taxi medallions and the associated debt to _ Cohen not only
misrepresented his Enancial position to Sterling, but also failed to disclose a side agreement he
had negotiated with- it appears that -.greed to pay an above-market price
for Cohen’s taxi cab medallions, and in exchange Cohen agreed to pay -lpproximately
$3.8 million in cash. Speciflcally, from my review of documents produced pursuant to a subpoena
by Sterling, and my participation in interviews with Sterling Employee-l, Sterling Employee-»Z,
and Sterling Ernployee~B, l have learned, among other things, the following:

a. On or about Septemher 5, 2017, an executed term sheet was circulated by Sterling
Employee~l to Cohen and - The term sheet listed Cohen’s address as the address for
Subject Prernises-l. According to the term sheet, _would borrow $20,000,0{]0

horn Sterling and Mehose, to be secured by the medallions that -was to acquire from

 

23 Accordingly, this interest income-which should have been reported as such on Cohen’s tax
retm'ns--is included herein in calculations of Cohen’s true cash position.

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Cohen. At a price of $20 million for thirty-two taxi medallions, the proposed transaction valued
each medallion as worth .$625,000. The term sheet also contemplated a $1,265,913 pay-down of
the principal balance ot` the loan. The term sheet made no mention of a $3.3 million payment from
Cohen to _ or any other form of payment or iinancial transaction between the parties

b. Addit`lonally, an internal Sterling credit memorandum, dated October 4, 2017,
describing the terms of the Cohen--transaction and the new loan to `_did

not menti€n any p`ayments_h_'om'Colrerrto“_including--a~$?:e§"million_payment._Ihd_ _ __

memorandum also noted that the “loan amount of $2UMM indicates a SGZSM purchase price per
medallion” but “it is recognized that this is not in line with current market values.” lndeed,
according to an internal Sterling memorandum dated February 5, 2018, in the month ot` lanuary
201 S, taxi medallions sold for amounts ranging from $120,000 to $372,0[}{}. According to Sterling
Employee-] and Sterling Employee~Z, they were never told that _igreed to a purchase
price of $625,000 in exchange for a hnnp sum payment from Cohen, or that Cohen would make
any payment to -

c. On or about January '30, 2018, Sterling Employee»B asked Cohen whether Cohen
had a side agreement with _to pay -a sum of money for entering into the
medallion transaction Sterling Employee-3 asked Cohen about such au arrangement because,
according to Sterling Employee-Ii, the price that - was paying for each medallion
appeared to be well above the market price. Cohen stated, in sum and substance, that he had no
side agreement-_and never had a side agreement-»with -

27. While Cohen and_ did not disclose any payment from Cohen to
_in communications with Sterling, it appears that such a payment was contemplated

lndeed, based on my review ot` records maintained by -and my participation in an interview

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with -I have learned the following, in substance and in part, regarding the proposed side
payment from Cohen to-

a. On or about September 19, 2017,- prepared a memorandum for Cohen
omnoa, =‘soio or NYC Modanioo manos aaa nom Assmopaoo” cho “-Momoraodum").

The -Mernorandum summarized the proposed transaction between Cohen and _

in part, as follows: “Michael and Laura Cohen will transfer ownership of their 13 NYC medallion

n entities to a liuyer who wdl assume their bBlt’indebtetlness;upon- the [Sohensi]-paying downthe_

door portfolio ortho 13 ooaaos by $500,000 and o cash payment to rho noyor or $:J,,soo,ooo.mt
b. According to -Cohen told him the parameters of the deal, including the
payment of $3,800,000 to - but-iid not know where Cohen was going to obtain
$3,800,000 to pay - As noted above, Cohen had more than $5,000,000 in cash and
cash equivalents as of Septernber 2017., but had only disclosed in his September 201’? Financial
Statement that he had '$l .25 million in cash.
28. Based on my review of records maintained by Sterling (as Well as Melrose, the bank

with the participating interest in the loans} and reports of interviews of representatives of Sterling

(and Melrose), l have seen no evidence that Sterling, Melrose, or any other financial institution
involved in the potential deal with Cohen and -was aware of the planned $3.8 million

side payment from Cohen tc-

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24 The reference to thirteen medallions appears to be an error by - Cohen and his wife
together owned sixteen corporations which in turn owned 32 taxi medallions.

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C. Probahle Cause Justifying Search of the Subject Prernises and Subject Devices

45. Based on the foregoing, my review of records produced pursuant to subpoenas and
the Cohen E'mail Warrants, and the iCloud Warrant, and my training and experience there is
probable cause to believe that the Subject Premises and Subject Devices have been used in
furtherance of the Subject OH`enses and are likely to contain instrumentalities evidence, and fruits
of the Subject Offenses. Speci:tically, there is probable cause to believe that Cohen permanently
resides at Subject Prcmises~l and, at least in part, works at both Subject Prernises~l and Subject
Premises~Z, and that those locations contain evidence relating to the Sterling taxi medallion

transaction, Cohen’s assets, Cohen’s consulting work for Essential Consultants LLC, and his

_ Additionally, there is probable cause to believe that Subject Premises»li
contains evidence ofCohen’s assets and_ Finally, there is probable cause

to believe that Subject Premises-4, in which Cohen is temporarily residing, contains electronic

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devices, including Subject Device-l and Subject Device-Z, which, in turn, contain evidence of the
Subject let`enses, such as evidence relating to the Sterling taxi medallion transaction, Cohen’s
assets, Cohcn’s consulting work for Essential Consultants I_J..C, and _

46. First, there is probable cause to believe that Cohen lives and operates his businesses,
at least in part, at Subject Premises-l. Specit`lcally, ii'om my review of properw records, lknow

that Michael Cohen and Laura Cohen own (in unst) Subject Premises-l. From my review of

 

 

Cohen’s tax returns, l know lie`lists_liiWrimair§Fresidence-as-S'ubjcct-Premiscs*l._Additionally, __ _____.

nom my review of emails produced pursuant to the Cohen Email Warrants, llmow that Cohen
routinely refers to Subj ect Premises-l as his home, For examplc, on or about September 28, 2017
and October 6, 2017, Cohen emailed individuals that his home address is the address for Subject
Premises-l . I also know from my review cf emails that Cohen receives package delivery
notifications that list Cohen’s address as the address for Subject Premises-l_ Cohen has also
provided the address of Subject P1'emises-l as the address for Essential Consultants and Michael
D. Cohen & Associatcs, P.C. For example, the certificates of incorporation and account opening
documents at First Republic for both entities list their addresses as the address for Subject
Premises-l. See supra ‘|Hl lS(b), lS(d). The consulting agreement between Essential Consultants
and AT&T also indicated the address for Essential Consulta`nts is the address for Subject Premises-
1. See suproil l9(c).
4?. There is also probable cause to believe that Subject Premises-l is likely to contain
instrumentalities evidence, and B'uits of the Subject Offenses. Speciflcally, from my review of
emails produced pursnautto subpoena and the Cohen Email Warrants and iCloud Warrant, as well

as my training and experience I know the following:

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a. According to records maintained by Sterling, the address for all of Cohen’s_taxi
medallion lJLCs is the address for Subject Premises-l. See supra '[[ 16(c). Additionally, the
medallion loan documents indicate that any mailings related to the loans should be sent to Subj ect
Prernises-l. See itt Based on my training and experience, as Well as my review of public sources,
l lcnow that individuals keep records of properties and assets in which they have ownership

interests Accordingly, l submit that Subject Prernises-l likely contains evidence of Cohen’s

_ownershfp"of the tail medalli'oTl?LC's,_ the*i'evenue"thatrthose-medal-lions-generate, and-the_

transaction with Sterling in 2014 to re-t`inance the medallion loans that were then with Capital One
Banlr.

b. From my review ot` records maintained by Sterling, I also know that Sterling
addressed documents relating to the -transaction and Cohen’s attempts to modify the
terms of the medallion loans to Subject Prernises-l. For instance, Sterling addressed the
transaction term sheet, see supra il 16(1), and its demand letter and notice of default, see supra 1|
l6(q), to Subject Premises-l. Accordingly, Subj ect Premises-l likely contains evidence
concerning the -transaction and Cohen‘s negotiations with Sterling. Some of those
records-snch as records relating to a payment from Cohen to --were concealed nom
Sterling and cannot be obtained via subpoena to Sterling. Additionally, even where documents
were sent to Cohen by Sterling (and therefore are available from Sterling via subpoena), the fact
that they may be found in Subject Premises-l will be relevant to Cohen’s possession or knowledge
of the documents

c. Frorn my review of records maintained by First Repnblic, l know that Cohen
provided the address for Subject Premises-l as the mailing addresses for the Essential Consultants

Account and MDC&A Account, See supra ll'[[ lB(b), 18(e). Accordingly, it is likely that Subject

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Premises-l contains records relating to the Essential Consultants Account and MDC&A Account,
including, among other things, account opening documents, bank statements, documents provided
as part of the know-your-customer process, any notes made by Cohen when he was opening the
accounts, wire transfer records, and canceled checks. Even where these records can be obtained
from First Republic, the fact that they may be found in Subject Premises-l will be relevant to,

among other things, Cohen’s ownership of the accounts, or his knowledge of transactions or the

 

 

existence of hinds in accounts
d. Based on my review of records maintained by Capital One Bank, TD Banlc, Morgan
Stanley, City National Banlc, Signature Bank, and Bethpage Credit Union, i know that Cohen
provided the address for Subject Prernises-l as the mailing for his accounts at each of these
Enancial institutions Accordingly, it is likely that Subject Premises-l contains records relating to
these accounts, including, among other things, bank statements that list account balances. The
existence of these records in Subj ect Premises-l will be relevant to, among other things, Cohen’s
ownership of the accounts and his knowledge of the balances in these accounts
e. Additionally, Cohen may have records of other bank accounts or assets that were
not disclosed to Sterling and are not presently known by law enforcement For example, as
described above, Cohen has received interest income since 2015 that he has not disclosed to
Sterling or paid taxes on. Also, on Cohen’s August 2014 Financial Statement, see supra 1[ l6(e),
he disclosed $10,000,000 in “investrnents in overseas entities.”30 The value of these investments
was omitted from subsequent financial statements. Howevcr, for the reasons outlined above, there

is probable cause to believe that Cohen omitted the value of those investments from his 2017

 

30 Based on my participation in an interview with Sterling Employee-3, l have learned that
Cohen told Sterling Employee-S that the reference to “invesnnents in overseas entities” on his
2014 Financial Staternent was to serve merely as a “placeholder” for potential future investments

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Enancial statements in order to understate his assets As Subject Premises-l is Cohen’s primary
residence and he uses 83ij ect Premises-l as the mailing address for bank records, there is probable
cause to believe that account statements for unknown bank accounts or assets concealed from
Sterling are likely to be found in Subject Premises-l.

f. Based on my review of records maintained by AT&T and produced pursuant to the

Cohen Email Warrants, llcnow that the address Cohen provided to AT&T for Essential Consultants

 

l is the address for §_dbj*e'ct §r€mises»l'l"$ee supra 1119(€)._Therefore;there is~probable-cause~to__-_

believe that Subject Premises-l will content evidence concerning the operation of Essential
Consultants cr money that Cohen received, through Essential Consultants, from AT&T.
Additionally, because Cohen used the address for Subject Premiscs-l -for at least one consulting
arrangement involving Essential Consultants, there is probable cause to believe that Subject
Premises~l may contain records of other consulting arrangements that Cohen, through Essential
Consultants, has with other individuals or entities

g. Based on my review of records maintained try-recounting tirm, and emails
produced pursuant to the Cohen Email Warrants, l have learned that '-accounting iirm sent
documents to Subject Pren:iises-l and used the address for Subject Premises-l as the address listed
on Cohen’s personal and corporate tax returns See supra 1[ 16(11). For instance, on or about
Octobcr 6, 2017, an employee at -accounting firm emailed Cohen that she had sent
Cohen’s September 2017 Financial Statement by FedEx to Cohen’s attention Accordingly_.

Cohen’s tax records are likely to be found in Subject Prernises-l.

h. Based on my review ofbank records and publicly-available documents Ilmow that

 

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i. Based on my review of emails produced pursuanttc the Cohen Eniail Warrants and

iCloud Warrant, 1 know that Cohen used at least one Apple iPhonc, an Apple iPad Mini, and a

 

manner Pro re access his iCloud account Basedealawrenson-ecause-reeoraepmviaea-by - _ 1__"._._
Applc pursuant to the iCloud Warrant, l know that electronic devices linked to Cohen’s iCloud
account were used at Subject Ptemises-l to, among other things, place telephone calls and backup
'n`ies to Cohen’s iCloud account Accordingly, there is probable cause to believe that Subject
Premises-l contains electronic devices, including certain Apple products, that for reasons
discussed below are liker to contain evidence cf the Subject Ot’fenses.

j. Based on my review of emails produced pursuant to the Cohen Ernail Warrants, l
understand that Subject Prcmises-l recently sustained water damage to certain parts cf the
premises, and that Cohen has engaged contractors to perform certain remediation work on the
premises In addition, as set forth above, I believe that Cohen and his family are temporarily
residing at Subject Premiscs-4 in the Loew’s Regency Hotel, which is approximately two blocks
from Subject Prernises-l. However, based on my review of a work order sent to Cohen’s email

by a contractor, I' understand that the Hrst phase ofthe work order called for the connector to “Paclc

& Reniove all items & furnishings in Living Room, Kitchen, Sons Room & Dining Rocrn” and f

store them off-site. In addition, based on my review of drawings sentto Cohen by the contractor,
it appears that the work is primarily being done in these rcoms. Thus, l believe that the

construction »-to the extent it is still ongoing - would not necessarily have caused Cohen to move

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all documents or evidence responsive to the warrant out ofSubj ect Premises-l, because it does not
appear that work is being done to the portion of Subject Premises-l, such as a home office or
Cohcn’s own room, where such documents or evidence would most likely be t`ound.31

48. Second, there is probable cause to believe that Cohen uses Subject Premises»Z as
ofEce space, and also that Subject Premises-Z contains certain electronic dcvices. Specitlcally,

from my review ofthe “stratcgic alliance agreement" between Squire Patton Boggs and Cohen,

_ '___dely_r€vieiiii" ofthe ii`r`é§s_r`elea`s'é on `Sq`ui'rePattim*Bog`gs’s 'wehsite;'l*knovrthat*€ohcn"has-an~_~' err

office at Subject Prcmises»?.. See supra 1[1] lS(cl), l9(e). Indeed, I have learned that pursuant to
Cohen's agreement with the law t`nTn, he has “dedicated and segregated office space” in Squire
Patton Boggs’s offices on the 23rd floor of 30 Rockefeller Plaza, and that the space is “physically
separate” from the iirm’s offices and has “1ocked doors and its own locked tile cabinets.” See
supra ‘[1 19(e). Additionally, I know that under the terms of the agreement, Cohen agreed to
“arrange for [his] own computer server system that is not connected to [Squire Patton Boggs’s]
computer network system.” I know from my participation in an interview with -who met
Cohen at Subject Premises-$l in 2017, that Subject Premises-2 is an office with a door, it appears
to be used only by Cohen, and it contains, among other things, a computer and paper files,
According to -when -saw Cohen at Subject Prernises~Z, he had two cellular
telephones in Subject Premises-Z. l also know ii‘om my review of emails produced pursuant to the

Cohen Enlail Warrants that Cohen uses the address for Subject Premises~?. in the signature block

 

31 As noted below, based on my training and experience, I believe that individuals who travel or
stay in hotels for short-term periods commonly bring some items with them, such as portable
electronic devices or sensitive items, meaning that Cohen has likely taken some evidence horn
Subject Premises-l to Subject Premises-4. Nevertheless, given the temporary nature of Cohen’s
stay at Subject Premises-4 and the scope of the work being done at Subject Premises-l, I behave
it is unlikely that Cohen has taken all evidence that would be subject to seizure out of Subject
Premises-l.

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on his emails. Based on my review of notes of a call between Cohen and First Republic Employee~
2 (which notes were taken by another First Republic employee, who was participating in the call
and taking notes], I know that, on or about November 15, 201?, Cohen told First Republic
Employee-Z that he had a new office at 30 Rock. Moreover, I know from an article in Vam'!y Faz'r
published on or about February 14, 2018, that Cohen was interviewed by the magazine in Subject
Premises-2 in or about February 2018.

' 49€'"` ThW:"is_almb_aleaus"e to' believe that SubjectPremises=Z' is'likely`"-to-contain
instrumentalities, evidence, and fruits of the Subject Offenses. Specirically, from my review of
emails produced pursuant to subpoena and the Cohen Ernail Warrants and iCloud Warrant, as well
as my training and experience, Iknow the following:

a. According to records maintained by Sterling, when Cohen was entailing with
Sterling Employee-B in 2018 about a modification to his existing loan from Sterling, Cohen listed
his address in his email as the address for Subject Premises-Z. See supra 1[ llS(t), 16(11).
Accordingly, Subject Premises-Z likely contains evidence concerning Cohen’s loan modification
negotiations with Sterling.

b. Based on my review of records obtained pursuant to the Cohen Email Warrants, l
know that the address Cohen provided to KAI and BTA for Essential Consultants is the address
for Subject Premises-Z. See supra 111[ `l9(a), 19(b). Theret`ore, there is probable cause to believe
that Subject Prernises-Z will contain evidence concerning the operation of Essential Consultants
or money that Cohen received, through Essential Consultants, from KAI and BTA, among other
entities with which Cohen had a consulting arrangement Additionally, based on my review of
emails sent in 2018 that were obtained pursuant to the Cohen Ernail Warrants, I know that Cohen

continues to enter into consulting arrangements through Essential Consultants, and agreements

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relating to those arrangements indicate that Essential Consultants is located at Subject Premises-
2. Additionally, because Cohen used the address for Subject Premises-Z for multiple consulting
arrangements involving Essential Consultants, there is probable cause to believe that Subject
Premises& may contain records of other unknown consulting arrangements that Cohen has with

other individuals or entities.

c. Based on my review of records maintained by -mcounting iirm, and emails

 

produced pursuant to the Cohen `Einail'Wmll"a_s"ntv paltic'ipati'on-in-an-interview~with
-l have learned that -visited Subject Premises~?. to meet with Cohen about his taxes.
See supra ‘[[ ZU(a). At that meeting, -:liscussed with Cohen whether Cohen should disclose
Essential Consultants on his personal financial statement to banks According, there is probable
cause to believe that Subject Premises-Z will contain evidence relating to Cohen’s taxes, or notes
of his conversation with - Moreover, the fact that Cohen used Subject `Premises~Z for a
meeting regarding his personal financial matters provides probable cause to believe that documents
and information regarding his finances will be found in Subject Premises-Z.
d. Based on my participation in an interview with -l know that Cohen maintains
a computer in Subject Premises-Z. From my review of IP data produced pursuant to a subpoena
and pen register to Google, it appears that Cohen is logging into his Gmail account from Subj ect
Premises-?.. Accordingly, there is probable cause to believe that Subject Prernises-2 contains
electronic devices, that for reasons discussed below are likely to contain evidence of the Subject
Ot‘fenses.
e. Based upon my training and experience l have learned that individuals who
maintain businesses typically keep records relating to the business-such as contracts with clients

and records of payments-_at the business’ identitied location 1 am not aware ot` any addresses

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associated with Essential Consultants other than Subject Prernises-l and Subject Prernises»Z.
Accordingly, there is probable cause to believe that Subject Prernises-l and Subject Prernises-?.
will contain business records for Essentia] Consultants.

50. Third, there is probable cause to believe that Subject Premises-3 is lilcer to contain
instrumentalities evidence, and fruits of the Subject Offenses. ln particular:

a. As noted above, Cohen has two bank accounts at TD Bank. In or about November

2017, as Cohen was recelvlng substantial incon‘Etroin consultim'lt=tvhich'lte"did'not"discl'ose
to Sterling-Cohen opened the safety deposit box at TD Bank, which is Subject Prernises~B. ln
light of the aforementioned evidence that Cohen conceals assets, including assets at TD Banlc,
there is probable cause to believe that Subject Prernises-'3 contains financial assets, objects of value
and/or documents relating to such assets or objects of value that Cohen likely did not disclose to
Sterling. lndeed, based on my training and experience, I ann aware that people often conceal

valuable items in safety deposit boxes Accordiugly, there is probable cause to believe that Subject

Prernises-S will contain evidence of the Bank Fraud Offenses.

 

 

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51. Based on my review ofemails obtained pursuantto the Cohen Erna:il Warrants and
cell phone location information, I believe that Cohen is temporarily residing in Subject Prernises-
4. See supra 1[1[ S(d). 'I`here is also probable cause to believe that Subject Prernises-4 contains

instrumentalities and evidence of the Subject Offerlses, including, the following'.

 

 

33 As noted above, Subject Preniises-S is approximately ive inches by ten inches. Accordingly, 1
do not believe that it would Ht a large volume ofhard copy documents; however, a small number
of hartl--cop§,7 documents,. or a large volume of documents contained on a flash drive or other
portable storage device, would tit in Subj ect Prernises~?».

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b. As described above, at the time Cohen moved to Subject Premises~4, he was also
in the lmidst of ongoing negotiations with Sterling regarding the refinancing of his medallion debts.
Por example on l unitary 3 0, 2018, Cohen had a lengthy Phone call with Sterling Employee-B about
his finances and the proposed restructuring, and on February l, 2018, Cohen sent an email to
Sterling Ernployee»3 claiming that he did not have more than $1.25 million in cash. See supra 1111

16(u). Thus, there is probable cause that Cohen took at least some documents and evidence relating

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consult them in connection with these negotiations

c. As described above, Cohen used at least one Apple iPhone, an Apple iPad Mini,
and a MacBook Pro to access his iCloud account, and these electronic devices linked to Cohen’s
iCloud account were used at Subject Premises-l - Cohens’ permanent residence - to place
telephone calls and backup files to Cohen’s iCloud account See supra 1111 47(i). Although Cohen’s
stay at Subject Premises~_¢l is temporary, based on roy training and experience l know that
individuals who travel or stay in hotels for short-term periods commonly bring portable electronic
devices with them, such as cellular phones, tablets, or laptops. Accordingly, there is probable
cause to believe that Subject Premises~4, where Cohen currently appears to be residing, contains
electronic devices, including Subject Device-l, Subject Device-Z, andr'or certain Apple products,
that for the reasons discussed herein are likely -to contain evidence of the Subject 0ft`enses.

d. Moreover, as set forth above, based on cellphone location information l know that
Subject Device-l and Subject Device-Z were in the vicinity of Subject Premises-4 as recently as
this morning (April S, 2018). As set forth above, there is probable cause to believe that Cohen
used the Subject Devices in hirtherance of the Subject Offenses, including to communicate with

Sterling employees regarding the medallion transaction, with First Republic employees regarding

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the Essential Consultants Account, with his accountant regarding his finances, and with

  

52. Although Cohen appears to be residing currently in Subject Premises-4, it is

unknown whether Cohen will be physically present within Subject Premises~4 at the moment the

warrant sought herein are executed IfCohen is within Subject Premises-4 at that moment, Subject

Device-l and Subject Device-?. ~ his cellphones »- will likely also be within Subject Premises-4.

 

 

lt`Cohen is not within Subject Premises-¢i_at th_atin`oni€ifthe_devim'ill'lilcely'be on his person,

wherever he is located (which, based on location data for Subject Device-l and Subject Device-Z

as recently as today, is lilcer to be in the Southern District ofNew York). As such, this warrant

seeks separate authority to seize Subject Device~]. and Subject Devicc-Z, in the event that those

devices are not located within Subject Premises~4 (or another Subject Premises) at the moment the

warrants sought herein are executed

D. Probable Cause Justifying Search of ESI

53. Based on the foregoing, there is probable cause to believe that Subject Premises-l,

Subject Premises-2 and Subject Premises~4 contain electronic devices that are likely to contain

evidence, huits, and instrumentalities of the Subject Offenses (and, as set forth above, that Subject

Deviee-l and Subject Device-2 arc themselves electronic devices that are likely to contain

evidence of the Subject Ot"fenses). Specifically, based on my review of information produced

pursuant to the Cohen En:lail Warrants, the iCloud Warrant, and subpoenas, as well as pen register
data, l submit that there is probable cause that Subject Premises-l contains an Apple iPad Mini, a
MacBook Pro, and has, at various times, contained Apple cellphones; similarly, there is probable

cause that Subject Premises-2 contains a computer and has, at various times,

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contained Apple

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cellphones. These devices are likely to include evidence, fruits, and instrumentalities of the
Subj ect 0ft`enses for the following reasons:

a. As described throughout this aflidavit, Cohen used email to send and receive
communications related to the Subject Oft`enses. ln particular, Cohen used email to send and

receive communications with Sterling, First Republic:- the entities to which he is providing

consulting services-among others. While some of these emails have

 

already been bbt`ain€d_via subpoenas and'searcli'warran*t's, `I know ti'on'i_ruy'traininguird_experien'ce' '

that individuals can and do delete emails from their Internet-based inboxes but retain copies of
those emails on their hard drives. I also know that individuals often have multiple email accounts,
some of which may not be known to law enforcementl and as a result electronic devices can be a
unique repository of all emails relevant to certain Subj ect Oft`enses. Indeed, ii'om my involvement
in this investigation, l know that Cohen had an email account with the 'I`rump Organization, but
the USAO and FBI have not been able to obtain the contents of that account to date. Thus, emails
relevant to the Subject Oft`enses arc likely stored on electronic devices in Subject Premises-l,
Subject Premises~Z and/or Subj ect Premises-4-

b. Additionally, Subject Premises-l, Subject Premise-Z and Subject Premises-4 likely
contain electronic copies of documents relevant to the Subj ect Ofi"enses. hideed, l know ii'on‘l my
training and experience that individuals often retain copies of important documents on their
computers or other electronic devices capable of storing information, including cellphones (such
as the Subject Devices) and tablets Here, there are a number of documents that Cohen has likely
retained that will be relevant to the Subject Ot"t`euses. F or example, electronic devices may include

documentation of Cohen’s true net worth, a listing of his assets, an accounting of his available

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cash-, consulting agreements with third parties, and l_

among other evidence of the Subject Offenses.

c. Third, l know from my review of emails obtained pursuant to the Cohen Email
Warrants that Cohen sent up online banking with Pirst Republic. Based on my training and
experience, llcnow that individuals who set up online banking often receive electronic notices

concerning financial transactions and, on occasion, save records of their linancial transactions to

 

their devices. Accordingly, _tliei"e is probamlie?e_tha`t`€`dhén"s electronl'c_devices
contain evidence of banking activity, including the existence of bank accounts or assets that Cohen _

did not disclose to Sterling or Melrose.

d. Fourth,1 from my review of records produced by Apple, I know that Cohen

 

communicates using text message as well as encrypted communications applications These
applications that Cohen has downloaded onto a phone include, but arc not limited to, WhatsApp,
Signal, and Dust. llcnow from my review of toll records and text messages that, in particular,
Cohen communicated with -lsing these encrypted applications Accordingly, there is
probable cause to believe that Cohen’s cellphones » the Subj ect Devices _ will contain encrypted
messages that are not otherwise accessible relating to the Subject Offenses. rt
54. Based on my training and experiences I know that individuals who engage in
iinancial crimes commonly use computers to communicate with co-conspirators, keep financial
ledgers, and retain fraudulent documents As a resultj they often store data on their computers l
related to their illegal activity, which can include logs of online or cellphone-based “chats” with l
co-conspirators; email correspondence; contact information of co~conspirators, including
telephone numbers, email addresses, and identiiiers for instant messaging and social medial

accounts; bank account numbers; and/or records of uses of funds.

 

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55.

Based on my training and.experience, I also know that, where computers are used

in furtherance of criminal activity, evidence of the criminal activity can often be found months or

even years alter it occurred This is typically true because:

56.

Electronic iles can be stored on a hard drive for years at little or no cost and users thus
have little incentive to delete data that may be useful to consult in the ithure.

Even when a user does choose to delete data, the data can often be recovered months
or years later with the appropriate forensic tools. When a tile is “deleted” on a horne

_cornp_uter, the data contained in the tile does not actually disappear, but instead remains

 

 

on the hard drive, in “slack space,” until it is overwridcn' by new data that cannot be
stored elsewhere on the computer. Similarly, files that have been viewed on the Internet
are generally downloaded into a temporary Internet directory or “cache,” which is only
overwritten as the “cache” fills up and is replaced with more recently viewed Internct
pages. Thus, the ability to retrieve from a hard drive or other electronic storage media
depends less on when the Ele was created or viewed than on a particular user’s
operating system, storage capacity, and computer habits.

In the event that a user changes computers, the user will typically transfer files ii'om
the old computer to the new computer, so as not to lose data, ln addition, users often
keep backups of their data on electronic storage media such as thumb drives, flash
memory cards, CD-ROMs, or portable hard drives.

Based on the foregoing, I respectfully submit there is probable cause to believe that

Cohen engaged in the Subj ect OH`enses, and that evidence of this criminal activity is likely to be

found in the Subject Premises, on computers and electronic media found in the Subject Premises,

and on the Subject Devices. ln particular, there is probable cause to believe that the Subject

Prernises and Subj ect Devices will contain evidence, ii'uits, and instrumentalities of violations of

the Subj ect Offenses, as more nllly described in Section ll of Attachments A, B, C, D, E and F to

the proposed warrants, including the following:

a. Evidence necessary to establish the occupancy or ownership of the Subject

Premises, including without limitation, utility and telephone bills, mail envelopes, addressed

correspondence, bank statements, identification documents, and keys.

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b. Evidence relating to Sterling, Melrose, and!or taxi medallions.
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c. Evidence relating to; a plan, proposal, or agreement for Cohen and/or entities
associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilitics, to others, including to _ ndr‘or entities associated with him.

d. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

e. Evidence relating to Essential Consultants, LLC, including any documents that

 

 

indicate the nature and purpose of payments made td§'_fr_oHMtiEl*Chnspultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

f. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen &. Associates,
or evidence ofthe purpose of accounts opened in the name ofMichael D. Cohen & Associates.

g1 Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through

entities, including tax returns, personal financial statements and bank records

h. Evidence relating to agreements, loans, and/or financial transactions between

Cohen. and_ and any payments by-n Cohen.

 

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p. Communications with others, mcluding-and/or other accountants,

relating to Cohen’s bank aceounts, taxes, debts, and/or finances;

q. Cornmunications, records, doeuruents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial instinition,' the nature of any business or entity associated With an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that iinancial institution ;

1'. Evidenc:e of Cohen’s intent as it -mlates tothe Subjectl)fi`enses under investigation
I[I. P'recedures for Searching ESI

A-. Exeention of Warrant for ESI

57. Federal Rnle of Criminal Procedure 41 (e`)(Z)(B) provides that a Wan'ant to search

for and seize property “may authorize the seizure of electronic storage media or the seizure or

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copying of electronically stored information . . . for later revievv.” Consistent With Rule 41, this
application requests authorization to seize any computer devices and storage media and transport
them to an appropriate law enforcement facility for review. This is typically necessary for a number
of rcasons:

l First, the volume of data on computer devices and storage media is often impractical
for law enforcement personnel to review in its entirety at the search location.

» Second, because computer data is particularly vulnerable to inadvertent or intentional

modification or destruction, cdmputer devlces are idEally_ex`aiiih"i_etl_iu a_connt§ll'ed
environment such as a law enforcement laboratory, Where trained personnel, using
specialized sottware, can make a forensic copy of the storage media that can be
subsequently reviewed in a manner that does not change the underlying data.

c Thjrd, there are so many types of computer hardware and software in use today that it
can be impossible to bring to the search site all of the necessary technical manuals and
specialized personnel and equipment potentially required to safely access the
underlying computer data.

¢ Fourth, many factors can complicate and prolong recovery of data from a computer
device, including the increasingly common use of passwords, enclyption, or other
features or configurations designed to protect or conceal data on the computer, Which
often take considerable time and resources for forensic personnel to detect and resolve

58. As discussed herein, Squire Patton Boggs is a functioning law firm that conducts

legitimate business unrelated to Cohen’s commission of the Subject Offenses. Subject Premiscs-
2 is an office located inside of Squirc Patton Boggs’s New York cft`lce. ln order to execute the
warrant in the most reasonable fashion, law enforcement personnel Will attempt to investigate on
the scene of what computers or storage media, ifany, must be seized or copied, and What computers
or storage media need not he seized or..copied..Law enforcement personnel will speak with _Squire
Patton Boggs personnel on the scene as may be appropriate to determine which files and electronic
devices Within Subject Premiscs~Z belong to or were used by Cohen. While, based on the

forcgoing, it does not appear that Cohen shared electronic devices or a server with Squire Patton

Boggs, where appropriate law enforcement personnel will copy data, rather than physically seize

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computers, to reduce the extent of any disruption of Squire Patton Boggs’s operations H`, after
inspecting the seized computers oH~site, it is determined that some or all of this equipment is no
longer necessary to retrieve and preserve the evidence, the Government will return it.

59. Additionally, because Cohen is an attorney, and claims to serve as a personal
attorney for Trnmp, the review of evidence seized from the Subject Premises and Subject Devices

will be conducted pursuant to established screening procedures to ensure that the law enforcement

 

personnel involved in the investigation, including attorneys fd`r th`e“G`r')ve'rtnnenl; collect evidence__

in amanner reasonably designed to protect any attorney-client or other applicable privilege When
appropriate, the procedures will include use of a designated “frlter team,” separate and apart from
the investigative team, in order to review potentially privileged communications and determine
which communications to release to the investigation and prosecution team.

B. Accessing ESI on the Subject Devices
60. As described above, the Subject Devices are both Apple brand devices.

61. I know from my training and experience, as Well as from information found in
publicly available materials including those published by Apple, that some models of Apple
devices such as iPhones and iPads offer their users the ability to unlock the device via the use of a
fingerprint or thumbprint (collectively, “fingerprint”) in lieu of a numeric or alphaunmeric
passcode or password. This feature is called Toucb ID. I also know that the Apple iPhone X offers
its users the ability to unlock the device via the use of facial recognition (through infrared and
visible light scans) in lieu of a nmneric or alphanumeric passcode or password. ”[his feature is
called Face [D.

62. lf a user enables Toucb l]) on a given Apple deviee, he or she can register up to 5
fingerprints that can be used to unlock that device. The user can then use any of the registered

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fingerprints to unlock the device by pressing the relevant finger(s) to the device’s Touch ID sensor,
which is found in the round button (often referred to as the “home” button] found at the bottom
center of the front of the device. lf a user enables Face lD on a given Apple device, he or she can
unlock the device by raising the iPhone to his or her face, or tapping the screen. ln my training
and experience, users oprple devices that offer Tonch ID or Face lD often enable it because it is

considered to be a more convenient way to unlock the device than by entering a numeric or

 

alphanumeric passcode or password, as well as_anioie scenicwa to protecTtEdevicc-.‘:’s_conténts{ '

63. In some circumstances, Toucb ID or Face ID cannot be used to unlock a device that
has either security feature enabled, and a passcode or password must be used iostead. These
circumstances include: (l) when the device has just been turned on or restartcd; (2) when more
than 48 hours has passed since the last time the device Was unlocked; (3) when the passcode or
password has not been entered in the last 6 days, and the device has not been unlocked via Toucb
lD in the last 8 hours or the device has not been unlocked via Face [D in the last 4 hours; (4) the
device has received a remote lock command; or [5) five unsuccessful attempts to unlock the device
via Touch ID or Face lD are made.

64. The passcodes or passvvords that would unlock the Subject Devices are not known
to law enforcement Thus, it will likely be necessary to press the fingers of the user of the Subject
Devices to the devices’ Touch lD sensor, or hold the Subject Devices in front of the user’s face to
activate the Face 1`D sensor, in an attempt to unlock the devices for the purpose of executing the
search authorized by this warrant, Attempting to unlock the relevant Apple devices via Toucb ID
With the use of the Engerprints of the user, or via Face ID by holding the device in front of the
user’s face, is necessary because the government may not otherwise be able to access the data

contained on those devices for the purpose of executing the search authorized by this warrant

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65. Based on these facts and my training and experience, it is likely that Cohen is the
user of the Subject Devices, and thus that his fingerprints are among those that are able to unlole
the Subj ect Devices via Toucb ID or his face is able to unlock the Subject Devices via Face lD.

66. Although l do not know which of a given user’s 10 fingerprints is capable of
unlocking a particular device, based on my training and experience l know that it is common for a

user to unlock.a Touch [D-enabled Apple device via the fingerprints on thumbs or index fingers

 

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within the five attempts permitted by Toucb [D, this will simply result in the device requiring the
entry of a password or passcode before it can be unlocked.

67. I also know from my training and experience5 and my review of publicly available
materials published by Apple that Apple brand devices, such as the Subject Devices, have a feature
that allows a user to erase the contents of the device remotely. By logging into the Internet, the
user or any other individual who possesses the user’s account information can take steps to
completely wipe the contents of the device, thereby destroying evidence of criminal conduct, along
with any other information on the device. The only means to prevent this action is to disable the
device’s ability to connect to the luternet immediately upon seizurc, which requires either access
to the device itself to alter the scttings, ortho usc of specialized equipment that is not consistently
available to law enforcement agents at every arrest

68. Due to the foregoing, l request that the Court authorize law enforcement to press
the fingers (including thumbs) of Cohen to the Toucb lD sensors the Subj ect Devices, or hold the
Subject Devices in front of Cohen’s face, for the purpose of attempting to unlock the Subject

Devices via Touch ll) or Face ]D in order to search the contents as authorized by this warrant

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C. Review of ES]

69. Following seizure of any computer devices and storage media and!or the creation
of forensic image copies, law enforcement personnel (including, in addition to law enforcement
officers and agents, and depending on the nature of the ESI and the status of the investigation and
related proceedings, attorneys for the government attorney support staff, agency personnel

assisting the government in this investigation, and outside technical experts under government

 

control) wlll `reviE'vv`tlie`ESIE)Htain_ed-the_mih `for information 'responsive'to' tli'e' vval'ra]it._""

70. In conducting this review, law enforcement personnel may use various techniques
to determine Which liles or other ESI contain evidence or fruits of the Subject Offenses. Such
techniques may include, for example:

0 surveying directories or folders and the individual files they contain (analogous to
looking at the outside cfa tile cabinet for the markings it contains and opening a drawer
believed to contain pertinent tiles);

o conducting a tile-by-file review by “opening” or reading the first few “pages” of such
files in order to determine their precise contents (analogous to performing a cursory

examination of each document in a tile cabinet to determine its relevance);

0 “scanning” storage areas to discover and possibly recover recently deleted data or
delibelately hidden Eles; and

¢ performing electronic lceyword searches through all electronic storage areas to
determine the existence and location of data potentially related to the subject matter of
the investigationa"; and

n reviewing metadata, system infonnation, configuration Hles, registry data, and any
other information rei]ecting how, when, and by Whom the computer Was used.

 

34 Keyword searches alone are typically inadequate to detect all relevant data. For one thing,
lteyword searches work only for text data, yet many types of files, such as images and videos, do
not store data as searchablc text. Moreover, even as to text data, there may be information properly
subject to seizure but that is not captured by a keyword search because the infonnaticn does not
contain the keywol'ds being searched.

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71. Law enforcement personnel will make reasonable efforts to restrict their search to
data falling within the categories of evidence specified in the warrant Dependjng on the
circumstances, however, law enforcement personnel may need to conduct a complete review of all
the ESI from seized devices or storage media to evaluate its contents and to locate all data
responsive to the warrant

D. Return of ESI

 

7_2.__lf the GEv-ernment determines that th`e`elEiti*oiiie"tlevices‘are~nerlonger necessary-_

to retrieve and preserve the data, and the devices themselves are not subject to seizure pursuant to
Federal Rule of Criminal Procedure 41(0), the Govennnent will return these items, upon request
Cornputer data that is encrypted or unrcadable will not he returned unless law enforcement
personnel have determined that the data is not (i) an instrumentality of the oH`ense, (ii) a huit of

the criminal activity, (iii) contraband, (iv) otherwise umawhluy possessed, or (v) evidence of the

Subject Offenses.

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IV. Conclusion and Ancillary Provisions

73. Based on the foregoing, l respectfully request the court to issue a Warrant to seize
the items and information specified in Attachments A, B, C, D, E and F to this affidavit and to the

Search and Seizure Warrants.
74. In light of the confidential nature of the continuing investigation, l respectfully

request that this affidavit and all papers submitted herewith be maintained under seal until the

Court orders otherwise

 

Special Agent
‘ 1 FBI

Sworn to before me on
Sth day of April, 2018

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iioN. HENRY B. PITMAN
curran sTArns MAGISTRATE JUDGE

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AO 93 (SDNY Rev. 05/10) Search and Seizure Warrant .

UNITED STATEs Dt_srntcr CoURT

for the
Southern District of New York l

ln the Matter of the Search of

(Brief?y describe the property to be searched
or identl']jl the person by name and address)

Case No.

Loews Regency Hotel, 540 Park Avenue, Room 1728,
New York, New York 10065, and any closed
containers/items contained therein, See Attachment D

 

- sEARGH.AnD_sEIzuREeWARRAnL . ~» » er

To: - Any authorized law enforcement officer

 

' An application by a federal law enforcement officer or antatto"rney’for'the*govelnment'requestsetheesearch'~~~YA- »»»»»
of the following person or property located in the Southern District of New YO rl<

(identr:fj' the person or describe the property to be searched and give its location)f
Loews Regency Hotel, 540 Parl< Avenue, Room 1728, New Yorl<, New Yorl< 10065, and any closed containers/items

contained therein, See Attachment D

 

The person or property to be searched, described above, is believed to conceal (idezmjj) the person or describe the

property to be seized)f
See Attachment D

l find that the affidavit(s), or any recorded testhnony, establish probable cause to search and seize the person or
property. ' ' ' ,

You ARE coMMANDED re execute this weren en er before Li “' le}“' l% '
(not to exceed 14 days)

il in the daytime 6 :00 a.m. to 10 p.m. |j at any time in the day or night as l find reasonable cause has been
established .

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property .
taken to the person nom whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was tal{en. ‘

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an

inventory as required by law and promptly return this warrant and inventory to the Clerk of the Coult.

Upon its retuln, this Warrant and inventory should be filed under seal by the Clerk of the Coult.
USMJ]nitia]s

lj l find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (eXcept for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
Searcth 01‘ SeiZ€d (check the appropriate box) l:lfOI‘ dayS (not to exceed 30).
l:luntil, the facts justifying the later specific date of

Date andtimeissued: £’if®‘"i§ 7;§{{ %zes'“\~ [i(l!{ ii?,“h€;-; § Q;"i'¢f\w\

f Judge ’s signature

CiTy and S'fa'f€! New York, NY Hon. fiean B. Pitman, U.S. Madlstrate Judde
. Prz`nted name and title

 

 

AO 93 (Rev. 01/09) Search and Seizure Warrant (Pa`ge 2)

 

Return

 

Case No.: Date and time warrant executed:

 

 

Copy of warrant and inventory left with:

 

lnventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

 

 

Certification

 

to the Court.

l declare under penalty of perjury that this inventory is correct and was returned along with the original warrant

 

Date:

 

Erecutz'ng ojicer ’s signature

 

 

Priin‘ed name and title

 

 

 

 

ATTACHl\/.|ENT ])

I. Premises to be Searched_~Subject Premises~4

The premises to be searched (“Subject Premr`ses-4”) are described as follows, and include
electronic devices, and all locked and closed containers found therein:

Room 1728 located inside the Lo ews Regency Hotel at 540 Park Avenue, New York, New
York 10065. The building is a luxury hotel located on Park Avenue and 61st Street. Subject
_Premises~4 is located on the 17th floor of the hotel. »

I[._It`e'ms;t“o»B e»Seized

A. Evidence, Fruits, and Instrumentalities of the Subj ect Offenses

 

The items to be seized from Subj ect Premises-4 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy, as it pertains to the other Subject Off`enses), 1005
(false bank entries),' 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign
contributions) (the “Subject Offenses”), described as follows: '

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from lanuary 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or

liabilities, to others, including tc_and/or entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
. with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e, Evidence of income to l\/fichael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of 1\/lichae1 D. Cohen & Associates. ;

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from lanuary 1,

2013 to the present.
e Evidence relating to aereements, loans, and/or Hnaneial transactions between

Cohen and and/or entities controlled by

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and any payments by -to Cohen, from January

    

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o. Communr`cations with others, including-and/or other accountants, .
relating to Cohen’s bank accounts, taxes, debts, and/or finances, nom January 1, 2013 to the

present.

p, Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a

financial institution; the source of funds flowing into an account; or the purpose or nature of any

` financial transactions involving that financial institution, from January 1, 2013 to the present

q. Evidence of Cohen’s intent as it relates to the Subject Off`enses under investigation

B. Search and Seizure of Electronically Stored Information

The items to be seized nom Subject Prernises~4 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section II.A of this Attachment above, including, but not limited to, a MacBook Pro,
any other desktop and laptop computers, any Apple iPhone or other cellphone or smartphone

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belonging to Michael Cohen or in his possession, an Apple iPad Mini, portable hard drives, disk
drives, thumb drives, and personal digital assistants fn lieu of seizing any such computer devices
or storage media, this warrant also authorizes the~copying of such devices or media for later review.

The items to be seized from Subject Premises~4 also include:

l. Any items or records needed to access the data stored on any seized or copied `
computer devices or storage media, including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information

2. Any items or records that may facilitate a forensic examination of the computer
_‘__F"' ' ' - devi€es_"or_stora"ge-media,_includingmny-hndwar‘eor‘~software-manuals'or~other;information_~
concerning the configuration of the seized or copied computer devices or storage media.

 

wine *_'~ M~~~»**3'.*n+A-ny~evidenceconeerninget»heeidentitieseorelo cations ofthose persons ,with, access.to,
control over, or ownership of the seized or copied computer devices or storage media.

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government attorney support staff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive

to the warrant

In conducting this review,‘ law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

¢ surveying various file “directories” and the individual files they contain (analogous to
lo oking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

- opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

~ scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files ;

o performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related

to the subject matter of the investigation; and

o reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

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2017.03.02

 

Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
II.A and Il.B of this Attachment However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its

contents and to locate all data responsive to the warrant.

Add_itionally, review of the items described in this Attachment shall be conducted pursuant to
established procedures designed to collect evidence in a manner reasonably designed to protect
any attomey-client or other applicable privilege When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to

address_potential;plfi_\).ileges' ~4 ~~~~~ w

 

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IV. Conclusion and Ancillary Provisions l

73. Based on the foregoing, l respectfully request the court to issue a warrant to Seize
the items and information specified in Attachments A, B, C, D, E and`F to this affidavit and to the
Search and Seizure Warrants.

74. 1 In light of the confidential nature of the continuing investigation, l respectfully
request that this affidavit and all papers submitted herewith be maintained under Seal until the

Court orders otherwise.

 

 

Speoial Agent
FBI

Sworn to before me on

ssi day OrAprn 2013 !?/ // L/’ / ”" ’/i

 

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HON HENRYB PITMAN
linnTF‘ D STATEb niAGlSTKATE iUDGE

 

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AO 93 (SDNY Rev. 05/10) Search and Seizure Warrant

UNITED STATES DISTRICT CoURT

for the
Southern District of New York

18MAG 2968

Case No

ln the Matter of the Search of

(Briefly describe the property to be searched
or identijj) the person by name and address)

Loews Regency Hotel, 540 Park Avenue, Room 1628,
New York, New York 10065, and any closed
containers/items contained therein, See Attachment A

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of New York

(identijj) the person or describe the property to be searched and give its location)f
Loews Regency Hotel, 540 Park Avenue, Room 1628 (a suite encompassing rooms 1628, 1629, and 1630)
(collectively, “Room 1628"), New York, New York 10065, and any closed containers/items contained therein, See
Attachment A
The person or property to be searched, described above, is believed to conceal (identijj) the person or describe the

property to be seizeaDZ

 

See AttachmentA , a ` a

l find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
Pl‘OPerty ‘ ‘

 

YOU ARE COMMANDED to execute this warrant on or before iri d 52

ry (nm.‘ to exceed 13 days) y
d in the daytime 6:00 a.m. to 10 p.m. IJ at any time in the day or night as l find reasonable cause has been
established . ,,

Unless delayed notice is authorized below, you must give a copy of the warrant and areceipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to the Clerk of the Court.
ij Upon its retuln, this warrant and inventory should be filed under seal by the Clerk of the Court

 

USMJ In1t1als

Ij l find that immediate notification may have an adverse result listed 1n 18 U. S. C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be `
Searcth 01‘ Seized (check the appropriate box) ijOr dayS (not to exceed 30). . ‘ ‘ \` r y "

Cluntil, the facts justifying, the later specific date bf

 

' 1 7 8 ? 1 /”?’ ~ v ," "
Date and time issued: if `“ii'“" 5 § f ANM…,/~i neff rating zia , m

go § g fiz;f?? M Judge' ssignature ' f \
City and Stat€! New York. NY Hon Henrv B. Pitman U. S Maglstrate Judde

 

 

Printed name and t1tle

 

AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: ` Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the Court.

Date:

 

Executin o cer’s si nature
g

 

Printed name and title

 

 

 

 

ATTACHMENT A
I. Premises to be Searched_Subject Premises-4

The premises to be searched (“Subject Premises'-4”) are described as follows, and include
electronic devices, and all locked and closed containers found therein:

Room 1628 (a suite encompassing rooms 1628, 1629, and 1630) (collectively, “Room
1628”), located inside the Loews Regency Hotel at 540 Park Avenue, New York, New York
10065. The building is a luxury hotel located on Park Avenue and 6lst Street. Subject Premises-
4 is located on the 16th floor of the hotel.

II. Iterns to Be Seized

 

A. Evidence, Fruits, and Instrumentalities of the Subject Offenses`

The items to be seized from Subject Premises-4 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy, as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign
contributions) (the “Subject Offenses”), described as follows:

a. Evidence relating to Sterling National Bank Melrose Credit _Union, and/or taxi
medallions, from January 1, 2013 to the present

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer anv interest in taxi medallions, and any associated debts or
liabilities, to others, including to _and/or entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose. '

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates.

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from ianuary 1,
2013 to the present

g. Evidence relating to agreements, loans, and/or financial transactions between

Cohen and _and/or entities controlled by _
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, and any payments by-to Cohen, from ianuary

l, 2012 to the present

 

o. Communications with others, including-and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from ianuary l, 2013 to the
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from ianuary l, 2013 to the present.

q. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation,

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises-4 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section II.A of this Attachment above, including, but not limited to, a MacBook Pro,
any other desktop and laptop computers, any Apple iPhone or other cellphone or smartphone

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2017.08.02

 

belonging to Michael Cohen or in his possession,~ an Apple' iPad Mini, portable hard drives, disk
drives, thumb drives, and personal digital assistants ln lieu of seizing any such computer devices
or storage media, this warrant also authorizes the copying of Such devices or media for later review.

The items to be seized from Subject Premises-4 also include:

1. Any items or records needed to access the data stored on any seized or copied
computer devices or storage media, including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information

2. Any items or records that may facilitate a forensic examination of the computer
devices or storage media, including any hardware or software manuals or other information
concerning the configuration of the seized or copied computer devices or storage media.

 

3. Any evidence concerning theidentities or locations of those persons with access to,
control over, or ownership of the seized or copied computer devices or storage media,

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, _in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency
4 personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive
to the warrant

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

0 Surveying various file “directories” and the individual files they contain (analogous to
looking at the outside.of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

0 opening or cursorily reading the first few “pages” of Such files in order to determine
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2017.08.02

 

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address potential privileges

 

2017.08.02

 

AO 93 (SDNY Rev. 05/10) Search and Seizure Warrant

 

UNITED STATES DISTRICT CoURT

for the
Southern District of New York

In the Matter of the Search of

(Briejiy describe the property to be searched

or identify the person by name and address) Case NO_

Loews Regency Hotel, 540 Park Avenue, Room 1628,
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property to be seizeaQZ

' See Attachment A

l find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

YOU ARE COMMANDED to execute this warrant on or before //l"'°° i (;>"`_` fig
` (not to exceed 14 days)

il in the daytime 6:00 a.m. to 10 p.m. ij at any time in the day or night as 1 find reasonable cause has`been
established

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to the Clerk of the Court.

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l USMJ lnitiais

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i:luntil, the facts justifying, the later specific date of

Date and time issued: bl/('i '”i"i§ 7 iii ¢;";1.”\, /¢'7{ ii{f\i"/ iii Qi`\'i"`\°"\

l l Judge ’s signature

City and Stat€! New York. NY Hon. Henrv B. Pitman, U.S. l\/|aciistrate Judqe

Printed name and title

 

AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(S) seized:

 

Certification

 

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2017.08.02

 

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2017.03.02

 

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2. Any items or records that may facilitate a forensic examination of the computer
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2017.08.02

 

